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 8
                                   UNITED STATES BANKRUPTCY COURT
 9
                       CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
10
     In re                                                Case No. 8:19-bk-12411-ES
11
     ORANGE COUNTY BAIL BONDS, INC.,                      Chapter 11
12
                       Debtor and Debtor-In-Possession.   MOTION TO (1) DISMISS DEBTOR’S
13                                                        CHAPTER 11 BANKRUPTCY OR, IN THE
                                                          ALTERNATIVE, TO CONVERT CASE TO
14                                                        CHAPTER 7; AND (2) OBJECTION TO
                                                          AMENDED PETITION ELECTING
15                                                        SUBCHAPTER V; MEMORANDUM OF
                                                          POINTS AND AUTHORITIES;
16                                                        DECLARATIONS OF DAN ESCAMILLA
                                                          AND D. EDWARD HAYS IN SUPPORT
17
                                                          Date: May 7, 2020
18                                                        Time: 10:30 a.m.
                                                          Ctrm: 5A
19                                                        Address: 411 W. Fourth St.
                                                          Santa Ana, CA 92701
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 1 TO THE HONORABLE ERITHE A. SMITH, UNITED STATES BANKRUPTCY COURT

 2 JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE, AND ALL INTERESTED

 3 PARTIES:

 4            Legal Service Bureau, Inc., dba Global Fugitive Recovery (“Global”), a judgment creditor of
 5 Orange County Bail Bonds (“Debtor”), the debtor in possession in the above-captioned, Chapter 11

 6 bankruptcy case, hereby files this motion for the entry of an order dismissing the Debtor’s

 7 bankruptcy case. In support, Global respectfully represents as follows:

 8 1.         Summary of Argument
 9            Bankruptcy cases filed in an attempt to gain an advantage in a two-party dispute are subject
10 to dismissal for having been filed in bad faith. Moreover, a case may be dismissed because of

11 substantial or continuing loss or diminution of the estate and the absence of a reasonable likelihood

12 of rehabilitation. Here, Debtor operates a bail bonds business with a single judgment creditor,

13 Global, making up over 95% of the creditor body. Debtor scheduled a combined $10,371.84 in

14 unsecured claims owed to non-insider creditors which are undisputed or unrelated to claims of

15 Global. By the bar date, such claims totaled only approximately $20,000.

16            In the more than nine months that this case has been pending, Debtor has operated at a
17 significant loss. Specifically, Debtor currently only has $40,000 of cash but has incurred unpaid

18 administrative claims exceeding $360,000. Such administrative claims, if allowed, will consume the

19 value of Debtor’s assets that should be getting used to fund distributions to creditors. Such gross

20 diminution in value of the Estate mandates dismissal or conversion. Debtor cannot continue to spend

21 the value of the Estate’s assets for the primary benefit of its principals.

22            Debtor’s case involves a classic two-party dispute between the Debtor, on the one hand, and
23 it contract service provider, Global, on the other hand, and is a case that simply does not belong in

24 Chapter 11 bankruptcy. This court must decide whether to allow the Debtor’s principals— Mr. and

25 Mrs. Miller—to continue leveraging their positions as Debtor’s insiders for their own personal gain

26 and at the expense of Global or, alternatively, to end the gamesmanship by either dismissing this

27 chapter 11 case or converting it to chapter 7.

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 1 2.         Statement of Facts
 2            A.       Contract Between Global and Debtor Which Resulted in a Judgment
 3                     Against Debtor.
 4            Debtor is a bail bond company. Debtor’s 95% creditor is Legal Service Bureau Inc. dba
 5 Global Fugitive Recovery (“Global”). Global is a bail fugitive recovery business that contracts with

 6 licensed bail bond companies to effectuate the capture and arrest of fugitives who forfeit bail and

 7 flee. See, Declaration of Dan Escamilla ("Escamilla Dec."), ¶4.

 8            On August 26, 2014, Global and Debtor, acting under signature of Bail Agent Leslie Anne

 9 Miler DOI License #1841035, entered into an Agreement for Services (“Agreement”) to return a bail
   fugitive, out on a $1 million bail bond, into custody so that Debtor and its bail surety would not have
10
   to pay the forfeited bond to the California Superior Court. Id., ¶5.
11
           At the time of the contract execution, Debtor’s manager, Robert Miller, represented to
12
   Global’s president, Dan Escamilla, that Debtor held adequate collateral through a trust deed recorded
13
   on the home of Parwin Saddozai and through several other Orange County properties, to pay
14
   Global’s fee under the Agreement, which was potentially as high as 50% of the bail bond, or
15
   $500,000.00. In issuing the $1 million bail bond, Debtor was acting as a bail agent for its surety,
16
   American Contractors Indemnity Company (“American”) Id., ¶6.
17
           Global, through the personal efforts of its principal Dan Escamilla, located the bail fugitive in
18
   the Philippines and, in collaboration with the U.S. Marshal Service, successfully returned the
19 fugitive to the United States, resulting in successful performance of the Agreement, Id., ¶7. The

20 Agreement was successfully completed on January 28, 2015, when the fugitive was returned to the

21 United States and delivered to the custody of the San Bernardino County Sheriff’s Department. Id.,

22 ¶7.

23            On February 1, 2015, Global invoiced Debtor $300,000 pursuant to the terms of the
24 Contract. Despite successfully orchestrating the capture of the fugitive pursuant to the Agreement,

25 Debtor failed to pay Global for its services. Id., ¶8.

26            When the indemnitor of the bail bond, Parwin Saddozai, (“Ms. Saddozai”) the mother of the
27 fugitive, learned of her son’s capture, she immediately ceased all payments under a bail contract to

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 1 Debtor. In turn, Debtor breached its separate contract with Global to pay for its fugitive recovery

 2 services. Id., ¶9.

 3            B.       State Court Breach of Contract Lawsuit Initiated by Global Against
 4                     Debtor
 5            On April 12, 2017, after over two years of unsuccessful collection efforts which never even

 6 resulted in Debtor making nominal payments, Global filed suit against Debtor in the Superior Court

 7 for the State of California, County of Orange. Id., ¶10.

 8            A short time later, this action was consolidated with another lawsuit brought against Debtor

 9 by the fugitive’s mother and bail bond indemnitor, Ms. Saddozai, who had sued Debtor in an

10 attempt to extinguish the lien on her home and escape liability to Debtor for monies owed under the

11 bail bond agreement, including Global’s bill for fugitive recovery services under the Agreement.

12 Id., ¶11.

13            Although the two cases were consolidated, separate verdicts were ultimately issued because

14 the contract for services between Global and Debtor were separate and independent from the bail

15 bond agreement between Debtor and Ms. Saddozai. Id., ¶12.

16            On October 31, 2018, a judgment issued in favor of Global and against Debtor in the

17 amount of $327,750.00 with costs and interest to be determined by motion ("Judgment"). A true

18 and correct copy of the Judgment is attached to the Escamilla Dec. as Exhibit "1."

19            On July 18, 2018, prejudgment interest was awarded by Minute Order in the amount

20 of $118,163.64 ("2018 Minute Order"). A true and correct copy of the 2018 Minute Order is

21 attached to the Escamilla Dec. as Exhibit "2."

22            On March 19, 2019, attorney’s fees and costs were added to the prior prejudgment interest

23 and awarded in favor of Global and against Debtor in the amount of $185,381.08. ("2019 Minute

24 Order"). A true and correct copy of the 2019 Minute Order is attached to the Escamilla Dec. as

25 Exhibit "3." The total judgment against Debtor, held by Global, as of the Petition Date is

26 $545,879.25. A true and correct copy of the claims register in Bankruptcy Case No.9:19-bk-12411-

27 ES, wherein Global’s claim is noted as Claim No. 6, is attached to the Hays Dec. as Exhibit “14.”

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 1            C.       State Court Appeal filed by Debtor.
 2            On December 24, 2018, Debtor filed an appeal of Global’s judgment. Debtor failed to post
 3 any bond to obtain a stay of execution pending its appeal (“State Court Appeal”). Id., ¶17.

 4            On December 28, 2018, Ms. Saddozai, in the case styled as Saddozai v. Orange County Bail
 5 Bonds, filed a cross-appeal of the judgment against Ms. Saddozai. Subsequently, on April 2, 2019,

 6 the cross appeal was dismissed, and a partial remittitur issued as to Ms. Saddozai’s appeal. A true

 7 and correct copies of the Dismissal of Parwin Saddozai and Partial Remittitur as to Parwin Saddozai

 8 are attached to the Escamilla Dec. as Exhibits “4” and “5.”

 9            On April 17, 2019, Ms. Saddozai filed a voluntary petition for relief under Chapter 13 of 11
10 U.S.C. § 101 et seq. Hays Declaration, ¶10 . Notwithstanding the dismissal of Ms. Saddozai from the

11 State Court appeal five (5) days later on April 22, 2019, Debtor’s counsel sought and obtained a stay

12 of Debtor’s appeal proceedings based on Ms. Saddozai’s bankruptcy and has continued to keep this

13 stay in place by filing status reports with the State Court as to Ms. Saddozai’s bankruptcy case, with

14 the most recent status report having been filed on March 20, 2020. True and correct copies of the

15 appellate docket for case no. G047149 and the 4/22/2020 notice of stay of proceedings filed by

16 Debtor’s counsel are attached to the Escamilla Dec. as Exhibit “6” and “7.”

17            Apparently unaware that Ms. Saddozai is no longer a party to the action, the Court of Appeal
18 granted the stay request and based on subsequent status reports by Debtor’s counsel as to Ms.

19 Saddozai’s bankruptcy has allowed the stay to remain in place. See, Escamilla Dec. Ex. 6; see also

20 True and correct copies of the notices of status of bankruptcy filed on November 26, 2019 and

21 March 20, 2020, are attached to the Escamilla Dec. as Exhibit “8” and “9.”

22            D.       Creditor’s Suit Initiated by Global Against the Principals of Debtor
23            On April 23, 2019, Global filed a Complaint for Creditor’s Suit/Creditor’s Bill in Equity in
24 Aid of Enforcement of Judgment [Declaratory Relief Re: Imposition of Alter Ego Liability] against

25 Debtor’s principals, Leslie Anne Miller and Robert L. Miller, seeking to establish alter ego liability

26 for the judgment against Debtor’s principals (“Creditor Suit”). A true and correct copy of the docket

27 for the Creditor Suit is attached to the Escamilla Dec. as Exhibit “10.”

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 1            On May 28, 2019, an Answer to Complaint was filed by Robert L. Miller and Leslie Anne
 2 Miller in this Creditor Suit. Id., ¶22.

 3            On September 18, 2019, a Notice of Removal to the bankruptcy court was filed by Debtor in
 4 the Creditor’s Suit. Id., ¶11; see also Adversary Case No. 8:19-ap-01187 (“Adversary”), a true and

 5 correct copy of the Adversary docket is attached to the Hays Dec. as Exhibit “11.”

 6            On November 27, 2019 this Court granted Global’s Motion for Order Remanding Adversary
 7 Proceeding Back to State Court. Hays Dec., Ex. 11, Dk. No 26.

 8            E.       Debtor’s Commencement of its Chapter 11 Bankruptcy Case
 9            On June 21, 2019, Debtor filed a voluntary petition for relief under Chapter 11 of 11 U.S.C. §
10 101 et seq. Debtor’s stated goal for the chapter 11 case was “[f]oreclos[ing] upon the Saddozai

11 Residence so it may continue with the operation of its business without the fees and costs attendant

12 to litigation” A true and correct copy of the Bankruptcy Case Docket is attached to the Hays Dec. as

13 Exhibit “12”; See, Dk. No. 40, Chapter 11 Status Report, ¶ B2. By filing the Chapter 11 case, Debtor

14 implies, it is solvent, but Debtor claims “[it] does not have the funds to pay [Global] the $511,381.08

15 total judgment without foreclosing on the Saddozai Residence.” Id., at ¶ 3:10.

16            On December 20, 2019, as Dk. No. 82, Debtor filed its disclosure statement describing its
17 chapter 11 plan of reorganization (“Disclosure Statement” or “DS”).

18            On December 20, 2019, as Dk. No. 83, Debtor filed its Chapter 11 Plan of Reorganization
19 (“Plan”).

20            The Plan was unconfirmable on its face because it improperly attempted to Gerrymander
21 Global into a separate class. Additionally, the Disclosure Statement failed to provide any

22 information regarding changes to California law that ends the bail industry in California and likely

23 will put Debtor out of business unless a referendum in November 2020, successfully repeals the law

24 ending bail that has already been passed but has been stayed pending the results of the referendum.

25            On February 19, 2020, Subchapter V to the Bankruptcy Code by the Small Business
26 Reorganization Act of 2019 (“SBRA”) became effective. Pub. L. No. 116-54, 133 Stat. 1079 (2019).

27            Knowing that it could not confirm a plan over Global’s objections and after Global had stated
28 its intention to file a competing plan, Debtor filed an Amended Petition (“Amended Petition”) on

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 1 March 3, 2020. See, Hays Dec. Ex. 12, Dk. No. 99. Through the Amended Petition, the Debtor states

 2 that it is a “small business debtor” and elects to proceed under “Subchapter V” of Chapter 11. This

 3 amended petition was filed nearly nine (9) months after this case has been languishing.

 4            Debtor’s Statement of Financial Affairs1 shows that its “gross revenue from business” has
 5 been on a very steep decline:

 6            Calendar year of 2017         $660,649.88
 7            Calendar year of 2018         $188,116.17
 8            1/1/19 through 7/19/19        $34,500.00
 9            At the time of the filing of the SOFA, in July 2019, Debtor was on track to realize annual
10 gross revenues from its business in 2019 of less than $55,200.00.

11            A review of the pleadings in this case, reveals in fact that Debtor realized net revenue in 2019
12 of approximately $27,000. See, Hays Dec. Ex. 12, Dk. No. 86 operating report for the period ending

13 on December 31, 2019. Moreover, the most recently filed monthly operating report, shows that from

14 1/1/2020 to 1/31/2020 the net revenue from the business was approximately $13,000. See, Hays Dec.

15 Ex. 12, Dk. No. 93 operating report for the period ending on January 31, 2020 (“Operating Report”).

16            According to this recent Operating Report, Debtor has made only approximately $40,000
17 during the pendency of this case and it only has this much money because it hasn’t paid all of its

18 expenses. In other words, Debtor’s case is operationally insolvent and the value of its assets are

19 being diminished with no proper purpose for the existence of this bankruptcy.

20            F.       Debtor’s Continuing Operation as a California Bail Bond Agency
21                     Given the Impending Bail Reform in This State
22            As admitted by Debtor’s principal during his 341a testimony, the bail bond industry is
23 undergoing massive changes and may become obsolete due changes to California law that have

24 already occurred. See, Escamilla Dec., ¶24. Specifically, California Senate Bill 10 (“SB10”)2 has

25 been signed into law, changing California’s pretrial release system from a money-based system to a

26 risk-based release and detention system. Id. In short, SB10 will assume that a person can be released

27

28   1
         See, Dk. No. 29, pp. 4 (“SOFA”).
     2
         Sen. Bill No. 10, approved by Governor, Aug. 28, 2018 (2018 Reg. Sess.) ch. 244, § 3.
                                                       7
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 1 on his or her own recognizance or supervised own recognizance with the least restrictive

 2 nonmonetary condition or combination of conditions that will reasonably assure public safety and

 3 the defendant’s return to court. Although SB10 has been signed into law by the Governor, the law

 4 has been stayed, pending a referendum that is to be put to vote in November 2020, which may repeal

 5 SB10.3 Nonetheless, the current state of the law is that SB10 has passed. A true and correct copy of

 6 an SB10 summary posted by the California Court system is attached as Exhibit "13," to the

 7 Escamilla Dec.

 8            In other words, if SB10 is not repealed by the referendum, people charged with crimes will
 9 not need to post bail unless their release poses a specific risk to the public. Escamilla Dec., ¶24.

10 Simply stated, unless this bill is overturned by the voters through a referendum set for a vote in the

11 November 2020 election, SB-104 eliminates the money bail system in California and will force

12 Debtor out of business after the November 2020 election. Given the support of bail reform

13 advocates such as California Supreme Court Chief Justice Tani Cantil-Sakauye,5 it is unlikely that

14 the November 2020 referendum will succeed in nullifying the law that ends bail.

15 3.         Legal Argument
16            A.       A Debtor’s Chapter 11 Case May Be Dismissed For Cause
17            Section 1112(b) of the Bankruptcy Code provides:
18            “on request of a party in interest, and after notice and a hearing, the court shall
19            convert a case under this chapter to a case under chapter 7 [11 USCS §§ 701 et seq.]
20            or dismiss a case under this chapter [11 USCS §§ 1101 et seq.], whichever is in the
21            best interests of creditors and the estate, for cause ….
22 11 U.S.C.S. § 1112.

23 / / /

24

25
   3
     See https://www.sos.ca.gov/elections/ballot-measures/qualified-ballot-measures/ as of February 06,
26 2020.
   4
     https://leginfo.legislature.ca.gov/faces/billTextClient.xhtml?bill_id=201720180SB10
27 5 California Supreme Court Chief Justice Tani Cantil-Sakauye has been a public advocate of bail
   reform and was a major behind-the-scenes figure in SB10’s last-minute revision giving judges more
28 authority to decide who goes free and who stays in jail while awaiting trial.
   https://calmatters.org/commentary/war-over-bail-bonds-has-only-just-begun/
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 1            A movant seeking relief under 11 U.S.C.S. § 1112(b) bears the initial burden of proving by a
 2 preponderance of the evidence that “cause” exists. Sullivan v. Harnisch (In re Sullivan), 522 B.R.

 3 604, 614 (9th Cir. BAP 2014). Thereafter, a “[d]ebtor bears the burden of proving that the petition

 4 was filed in good faith.” Leavitt v. Soto (In re Leavitt), 209 B.R. 935, 940 (B.A.P. 9th Cir. 1997)

 5 (citing In re Powers, 135 B.R. 980, 997 (Bankr. C.D. Cal. 1991)).

 6            Section 1112(b)(4) contains a non-exhaustive list what could constitute “cause,” including
 7 “substantial or continuing loss to or diminution of the estate and the absence of a reasonable

 8 likelihood of rehabilitation.” 11 U.S.C. §1112(b)(4)(A). Although lack of good faith is not expressly

 9 mentioned in Section 1112(b) of the Bankruptcy Code as “cause” for dismissal, it has been

10 incorporated into the Bankruptcy Code by judicial interpretation. See, Marsch v. Marsch (In re

11 Marsch), 36 F.3d 825 (9th Cir. 1994). In fact, Section 1112(b) affords courts broad discretion in

12 deciding whether cause exists and does not define what constitutes “cause” warranting dismissal.

13            As set forth in the legislative history of Section 1112, “[t]he court will be able to consider
14 other factors as they arise, and to use its equitable powers to reach an appropriate result in individual

15 cases.” H. Rep. 595, 95th Cong., 1st Sess. 406 (1977). “The test is whether a debtor is attempting to

16 unreasonably deter and harass creditors or attempting to effect a speedy, efficient reorganization on a

17 feasible basis.” In re Arnold, 806 F.2d 937, 939 (9th Cir. 1986). Thus, Ninth Circuit law establishes

18 that “lack of ‘good faith,’ or existence of ‘bad faith,’ in commencing or prosecuting a bankruptcy

19 case, constitutes ‘cause’ for dismissing the bankruptcy case pursuant to). In re Walter, 108 B.R. 244,

20 247 (Bankr. C.D. Cal. 1989).

21            The Fifth Circuit has identified several factors which would assist a court in determining
22 whether a case has been commenced in “good faith,” including, without limitation: (1) the debtor has

23 one asset; (2) there are generally no employees except for the principals; (3) there is little or no cash

24 flow; (4) there are no available sources of income to sustain a plan of reorganization; (5) there are

25 few, if any, unsecured creditors whose claims are relatively small; (6) the debtor and one creditor

26 have proceeded to a stand-still in state court litigation, and the debtor has lost or has been required to

27 post a bond which it cannot afford; and (7) there are allegations of wrongdoing by the debtor. Little

28 Creek Dev. Co. v. Commonwealth Mortgage Corp. (In re Little Creek Dev. Co.), 779 F.2d 1068,

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 1 1073 (5th Cir. 1986). The Ninth Circuit Court of Appeals has adopted the Little Creek factors.

 2 Marsch v. Marsch (In re Marsch), 36 F.3d 825, 828 (9th Cir. 1994). As one bankruptcy court in the

 3 Ninth Circuit has stated, “the established rule is that the determination of good faith depends upon

 4 the bankruptcy court’s on-the-spot evaluation of the debtor’s financial condition, motives, and

 5 local financial realities.” In re Boynton, 184 B.R. 580, 583 (Bankr. S.D. Cal. 1995) (granting

 6 dismissal motion where debtor was not a “viable company that provides jobs as an operating

 7 business.”).

 8                     i.    Filed In Bad Faith, Debtor’s Chapter 11 Case is A Concerted
 9                           Delay Tactic to Forestall Collection Efforts By Global And Not
10                           For Any Legitimate Reorganization Purpose
11            As the Supreme Court has observed, chapter 11 embraces the “two recognized policies [of]
12 preserving going concerns and maximizing property available to satisfy creditors.” Bank of America

13 Nat’ l Tr. & Sav. Ass’ n v. 203 N. LaSalle St. P’ ship, 526 U.S. 434, 435 (1999). On the other hand,

14 many troubled businesses are simply not viable and the costs of the reorganization process may

15 outweigh the benefits. A motion seeking relief under Section 1112(b) permits the court to evaluate

16 whether the process is worth the effort, or, conversely, whether the process continues simply because

17 the parties are forced to participate. In providing examples of when courts find bad faith, the

18 Bankruptcy Appellate Panel for the Ninth Circuit stated:

19            [t]he debtor has one asset, such as a tract of undeveloped or developed real property.
              The secured creditors' liens encumber this tract. There are generally no employees
20            except for the principals, little or no cash flow, and no available sources of income
              to sustain a plan of reorganization or to make adequate protection payments
21            pursuant to 11 U.S.C. sections 361, 362(d)(1), 363(e), or 364(d)(1). Typically, there
              are only a few, if any, unsecured creditors whose claims are relatively small…
22            Alternatively, the debtor and one creditor may have proceeded to a standstill in state
              court litigation, and the debtor has lost or has been required to post a bond which it
23            cannot afford. Bankruptcy offers the only possibility of forestalling loss of the
              property….
24

25 In re Can-Alta Properties, Ltd., 87 B.R. 89, 91 (9th Cir. BAP 1988) (citing Matter of Little

26 Creek Development Co., 779 F.2d 1068, 1073 (5th Cir. 1986).

27            So, in determining bad faith, courts may look to the legitimate interests of the Debtors’
28 equity holders. In determining bad faith, courts often focus on the relationship of the participants

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 1 and regularly find bad faith where the filing of a chapter 11 petition is used as an attempt to

 2 gain a litigation advantage. See e.g., In re Walter, 108 B.R. 244, 248-501 (Bankr. C.D. Cal.

 3 1989); In re Silberkraus, 253 BR 890, 905-906 (Bankr. C.D. Cal. 2000) aff’d 336 F.3d 864 (9th

 4 Cir. 2003). In the Ninth Circuit, a petition may be dismissed as filed in bad faith where the

 5 debtor filed a chapter 11 petition for the purposes of invoking the automatic stay as a

 6 replacement for a supersedeas bond for an appeal of a judgment. See, In re Marsch, 36 F.3d 825

 7 (9th Cir. 1994).

 8            In Marsch, the Ninth Circuit held that a petition was correctly dismissed for bad faith
 9 where it “was filed solely to delay collection of the judgment and avoid posting an appeal bond,

10 even though debtor had the ability to satisfy the judgment with nonbusiness assets.” Id. at 831;

11 see also, In re Leavitt, 171 F.3d at 1225 (finding that the timing of debtor's bankruptcy petition,

12 filed within two weeks of judgment, demonstrated that the debtor's primary motive was

13 avoidance of the judgment). In this type of as situation, absence of other unsecured creditors may

14 also support a finding of bad faith. See, e.g., Chinichian v. Campalongo (In re Chinichian), 784

15 F.2d 1440, 1445 (9th Cir. 1986); Silberkraus, 253 B.R. 890 (Bankr. C.D. Cal. 2000). Here, the

16 Debtor’s case fits comfortably within the traditional paradigm of bad faith filings.

17            First, it is no coincidence that, within eleven (11) days after answering Global’s Complaint
18 for Creditor Suit against Debtor’s principals, Leslie Anne Miller and Robert L. Miller, Debtor

19 commenced its Chapter 11 bankruptcy case, staying the proceedings five (5) days later and

20 subsequently removing this Creditor Suit to the bankruptcy court. See, Escamilla Dec., ¶23. While

21 this Court remanded this adversary proceeding back to the Orange County Superior Court on

22 November 27, 2019, the obstructive purpose of the Chapter 11 proceedings was obvious and served

23 its purpose of delaying the Creditor’s Suit for nearly six (6) months. See, Hays Dec. Ex. 11, Dk. No.

24 26.

25            Debtor and Global have proceeded to a stand-still in state court litigation. Specifically,
26 Debtor (a) lost the State Court Action brought for breach of contract by Global and (b) had a non-

27 stayed Judgment entered against it. When Global attempted to enforce the Judgment, Debtor filed an

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 1 appeal. In a tactic intended to avoid posting the required bond to appeal the Judgment,6 Debtor filed

 2 this chapter 11 case. The bottom line is that this case is an archetypal two-party dispute: it arises as a

 3 result of the pre-petition litigation between Global and Debtor. See In re St. Paul Self Storage Ltd.

 4 Partn., 185 B.R. 580, 583 (9th Cir. BAP 1995) (a two-party dispute “strongly suggests Debtor's

 5 intent to use the bankruptcy code as a means to escape to a forum which it perceive[s] to be more

 6 friendly”).

 7            Moreover, with the actions Debtor has taken in this court, have made it evident that its
 8 principals’ purpose in filing this bankruptcy, was to use the bankruptcy court to gain a litigation

 9 advantage and to use property of the estate to fund such gamesmanship. For example, Debtor

10 removed to the state court litigation Global commenced against its principals, Robert and Leslie

11 Miller – non-debtors- and sought to enforce a stay against those parties. See, Hays Dec. Ex. 11, Dk.

12 Nos. 1, 5, 13, 14, 22. It was only due to opposition by Global that the stay was not enacted against

13 the Millers.

14            Second, Debtor has only one asset (i.e., cash generated by its account receivables). But
15 Debtor’s only available source of income, state bail bonds, will end in November 2020 and after that

16 there will be no available sources of income to sustain a plan of reorganization. Plainly, in

17 November 2020, Debtor will no longer have an “ongoing business” to support a plan of

18 reorganization.

19            Third, Debtor has no real employees, other than perhaps Robert Miller and his family
20 members. In fact, Debtor acknowledges while this bankruptcy case proceeds (and an appeal of the

21 Judgment is pending), its principal, Robert Miller, is continuing to draw a lavish annual salary of

22 $180,000.00, as well as paying his own personal health insurance with an annual premium of

23

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   6
     In California, a party seeking to appeal from a judgment entered in state court must post a bond to
26 forestall enforcement and collection of the judgment pending the appeal. See Cal. Code Civ. Proc. §
   917.1. The purpose of the statute is "to protect the judgment won in the trial court from becoming
27 uncollectible while the judgment is subjected to appellate review" and to preserve for the "successful
   litigant . . . an assured source of funds to meet the amount of the money judgment, costs and
28 prejudgment interest after postponing enjoyment of a trial court victory." Grant v. Superior Court,
   225 Cal.App.3d 929, 934, (1990).
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 1 $13,585.08,7 son’s personal health insurance with an annual premium of $5,248.44,8 and his wife’s

 2 personal health insurance with an annual premium of $9,668.04, 9 making the total annual depletion

 3 of Debtor’s estate caused by its principals to be $208,501.56.

 4            Moreover, Debtor continues to accrue and pay (some but not all) annual rent of $60,000.00 to
 5 a building owned by Debtor’s principal, Robert Lee Miller and continues to use estate funds to fund

 6 litigation against Global. No motion to assume Debtor’s lease was ever filed effectively leaving Mr.

 7 Miller as the landlord with all the leverage regarding Debtor’s ability to remain in its present

 8 location. Such gross mismanagement is a breach of fiduciary duty.

 9            In the two years preceding the filing of bankruptcy, and rather than make nominal payments
10 to Global to avoid the filing of a breach of contract action and the incurring of legal fees by Global

11 on its $327,750.00 invoice, Debtor has also made political and charitable contributions totaling

12 $4,450.00.10

13            On top of that administrative professional fees for Debtor’s counsel have ballooned to almost
14 $200,000. To add insult to injury, Debtor filed a motion for employ and pay out of estate funds

15 appellate counsel. See, Hays Dec. Ex. 12, Dk. No. 110.11 Such fees, however, do not offer any

16 benefit to Debtor’s other creditors whose claims total only $20,000. Instead, Debtor seeks to

17 improperly use assets -- that should go to pay creditors -- to fund its efforts to avoid making

18 payments to creditors. The hearing on Global’s objection to Debtor’s employment of appellate

19 counsel is set for hearing on May 21, 2020. Debtor has consistently treated its creditors unfairly and

20 inequitably by favoring insiders and funding administrative professional fees at the cost of paying its

21 creditors.

22            Fifth, Global’s claim makes up more than 95% of the liquidated non-insider creditor body.
23 All of the others, with the exception of the misleading claim of the bail surety which supplies Debtor

24

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     7
     Notice of Setting/Increasing Insider Compensation of Robert Miller (ECF 14).
26   8
     Notice of Setting/Increasing Insider Compensation of James William Miller. See, ECF 37.
   9
27 Notice of Setting/Increasing Insider Compensation of Leslie Anne Miller. See, ECF 15.
   10
      See Summary of Amended Schedules, Master Mailing List, and/or Statements. See, ECF, 29, ¶9.1.
28 11 Global has filed a request for hearing and objection to the Application. The hearing on the
   Application is set for May 21, 2020, at 10:30 am. See, Hays Dec. Ex. 12, Dk. No. 116.
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 1 with its bail bonds,12 are relatively small and total only approximately $20,000.13 The dubious filing

 2 of a proof of claim by Debtor for the bail surety when the surety didn’t file a claim and while freely

 3 admitting the Debtor doesn’t owe anything to the surety is further evidence of bad-faith. At a recent

 4 341(a) meeting of creditors on March 26, 2020, Debtor’s principal, Robert Miller admitted that

 5 Debtor has no liability to the surety. Hays Dec., ¶15.

 6            Accordingly, a canvas of the circumstances in Debtor’s case support a finding that Debtor
 7 filed its bankruptcy petition in bad faith. Since Debtor is winding down its business in anticipation of

 8 the end of the bail industry in November 2020, and no creditors other than Global to protect, the

 9 commencement of the bankruptcy case by Debtor was undoubtedly motivated by the Debtor’s desire

10 to prevent or, at a minimum, delay the enforcement of the Judgment, not by any genuine desire or

11 intent to reorganize Debtor’s financial affairs.

12            Debtor’s utilization of the bankruptcy process to avoid the enforcement of the Judgment and
13 to circumvent the requirement to post an appeal bond to stay the enforcement of the Judgment

14 pending appeal was in bad faith, and constitutes “cause” under 11 U.S.C. § 1112(b) to dismiss

15 Debtor’s bankruptcy case. Global respectfully requests that the Court not acquiesce to Debtor’s

16 scheme, but that the Court recognize Debtor’s bad faith and enter an order dismissing Debtor’s

17 bankruptcy case.

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24   12
        While Debtor’s Chapter 11 has disclosed contingent unliquidated claim of $7,831,800.00 to
     American Contractors Indemnity Company (a bail bond surety), this claim simply represents bail
25   bonds which have been written and each has, or should have its own collateral (posted by the
     indemnitor) for the surety to seize in the event that the bonded criminal defendant fails to appear for
26   his or her hearing. Bail agents limit their liability by requiring collateral to write bonds and Debtor is
     no different. Even if the bonds do become due, they will not be the liability of Debtor, Inc., but
27   rather of the licensed bail agent (Leslie Anne Miller) and the surety and only if the Millers are not
     successful in their fugitive recovery efforts to return the bonded defendant(s) to Court within 180
28   days, or 360 days if a motion for extension is brought. Declaration of Dan Escamilla, ¶27.
     13
        Hays Dec., Ex. “14.”
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 1            B.       There is a “…Continuing Loss to or Diminution of the Estate and the
 2                     Absence Of A Reasonable Likelihood Of Rehabilitation,”
 3                     Establishing Cause for Dismissal under § 1112(b)(4)(A)
 4            Under § 1112(b)(4)(A), a movant must establish both (1) a substantial and continuing loss to
 5 or diminution of the estate and (2) absence of a reasonable likelihood of rehabilitation. Here both

 6 criteria exist.

 7                     i.    Substantial and Continuing Loss to or Diminution of the Estate
 8                           is Established by the Extraordinary Drop in Debtor’s Gross
 9                           Revenue From 2017 to 2019.
10            Under, Section 1112(b)(4), a case may be dismissed because of substantial or continuing loss
11 or diminution of the estate and the absence of a reasonable likelihood of rehabilitation. The general

12 principle is a debtor should not be able to dissipate assets and incur administrative expenses for no

13 good purpose. Per the leading authority on bankruptcy, subsection (b)(4) contains within it 2

14 requirements:

15            “First, it tests whether, after the commencement of the case, the debtor has suffered
              or continued to experience a negative cash flow, or, alternatively, declining asset
16            values. Second, it tests whether there is any reasonable likelihood that the debtor, or
              some other party, will be able to stem the debtor’s losses and place the debtor’s
17            business enterprise back on solid financial footing within a reasonable amount of
              time. Both tests must be satisfied in order for cause to exist under this subparagraph
18            to dismiss or convert the case under section 1112(b)(4)(A).
19            This standard asks two questions. First, does the debtor have a negative cash flow or
              declining asset values? This includes looking at the financial history of the debtor and
20            determining if a pattern of decline exists. Second, will the debtor or another party be
              able to “stop the bleeding” and return the debtor to solid financial footing within a
21            reasonable amount of time? The first question must be answered in the affirmative
              and the second in the negative for cause to exist.”
22

23 7 Collier on Bankruptcy P 1112.04 (16th 2020). Emphasis added.

24            To satisfy the first prong, a movant may demonstrate “that the debtor continues to incur
25 losses or maintains a negative cash-flow position after the entry of the order for relief” or that the

26 debtor's assets have declined in value since the case was commenced. 3685 San Fernando Lenders,

27 LLC v. Cross Equities, LLC (In re USA Commercial Mortg., Co.), 452 Fed. Appx. 715, 724 (9th Cir.

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 1 2011) Emphasis added. The “continuing loss” element of may be satisfied by showing a loss that

 2 will (a) “materially negatively impact the bankruptcy estate and the interest of creditor” or (b)

 3 “dwindling liquidity, or illiquidity resulting in unpaid postpetition debts which usually constitute

 4 administrative expenses that will take priority over prepetition claims.”14

 5            Debtor’s “gross revenue from business” reflected in the Statement of Financial Affairs
 6 provides irrefutable proof that the Debtor’s estate is subject to continuing diminution:

 7            Calendar year of 2017          $660,649.88
 8            Calendar year of 2018          $188,116.17
 9            1/1/19 through 7/19/19         $34,500.00
10            At the time of the filing of this form in July 2019, Debtor was on track to realize gross
11 revenues from its business of less than $55,200.00, down from $660,649.88 just two (2) years

12 before. The diminution of Debtor’s estate is accelerated by Debtor continuing to pay $5,000 in

13 monthly rent to an office building held by its principal, through an LLC, and the Debtor’s continuing

14 efforts to pay whatever revenue is left for the salary of its principal, which was approved at a lavish

15 $15,000 per month. During the approximate nine months since this case was filed, the Debtor has

16 been operating at a loss. Although its most recent MOR for the month ending on January 31, 2020,

17 reflects cash of approximately $40,000, Debtor’s principal admitted at the March 26, 2020, meeting

18 of creditors that there are substantial unpaid administrative expenses including.

19                    (a) Lease –estimated at $60k; (b) insider compensation – estimated at $120k;
20                     (c) Debtor’s counsel’s fees - $140k thru December 2019 and currently projected to be
21                     another $35k; (d) Appellate counsel- nothing yet but to be incurred once application
22                     is approved; (e) bookkeeper- $2,600; and (f) CPA - $2,800. TOTAL- $360,400
23                    The monthly rent for the approximate 900 square foot office that Debtor operates out
24                     of is purportedly $5,000. Yet, the other building tenants pay the following: (a) 575
25                     square foot office with private bathroom for $1,200 a month; (b) 600 square foot
26

27
   14
      Hassen Imports P'ship v. City of W. Covina (In re Hassen Imports P'ship), 2013 Bankr. LEXIS
28 3870, at *13 (9th Cir. BAP 2013) (quoting 7 Collier on Bankruptcy ¶ 1112.04 [6] [a] [i] (Alan N.
   Resnick & Henry J. Sommer eds., 16th ed. 2012)).
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 1                     office with signage on side of building for $1,500 a month; and (c) second floor 4000
 2                     square feet with master lease being $12,500 in the name of Jacob Brower who sublets
 3                     to other tenants. Debtor’s rent is thus 4-5 times more than other tenants and Debtor
 4                     has not paid all rent that has become due post-petition.
 5 Hays Dec., ¶16.

 6            Assets of the estate are being diminished by the Debtor through the combined expenditures
 7 for this Chapter 11 proceeding, the prosecution of the State Court Appeal, and the expenses of

 8 maintaining the Debtor’s principals and non-monetary assets.

 9            The facts of the In re Boynton, 184 B.R. 580, 583 (Bankr. S.D. Cal. 1995) (“Boynton“) are
10 comparable to the facts in this case. In Boynton, the vast majority of the debtors’ assets were liquid

11 in an investment account, which assets were being utilized by the debtors to continue to pay their

12 own living expenses and to pay the expenses of prosecuting their appeal of an adverse judgment in

13 favor of the IRS (without posting a bond). The court in Boynton noted that, if the debtors lost their

14 appeal in substantial measure, they would be unable to pay the judgment in full, from present assets.

15 Hence, there was no downside to the debtors’ pursuit of the appeal, which, in effect, was being

16 prosecuted using the funds that the IRS otherwise already would have seized. The court found that,

17 in practical effect, the IRS was funding the appeal against itself while it was prevented from seizing

18 those funds and while the debtors avoided the requirement of an appeal bond.

19            The Debtors have a substantial income stream of financed bail bonds which would have been
20 available to satisfy Global’s Judgment, but have been used by the Debtor to be used to pay its

21 principal’s living expenses, the health insurance of the principal and family members, and the costs

22 of pursuing an appeal of the Judgment. As a result, Global is essentially funding the appeal against

23 itself while it is prevented from seizing the Debtors’ assets and while the Debtors avoid the

24 requirement of an appeal bond. Given the similarity of facts to the Boynton case, Global submits

25 that the Court in this case should reach the same conclusion reached by the court in the Boynton case

26 –Debtor’s bankruptcy case was filed in bad faith, therefore warranting the dismissal of the case.

27 / / /

28 / / /

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 1                     ii.    Given the Impending Bail Reform in California Through SB-
 2                           10, Which Became Law in August of 2019 and Which Will
 3                           Likely Be Implemented After the November 2020 Election,
 4                           Debtor Cannot Prove A Reasonable Likelihood of
 5                           Rehabilitation
 6            For the second prong of § 1112(b)(4)(A), rehabilitation is a different and higher standard
 7 than reorganization, which is usually measured by the ability to confirm a plan. Hassen, 2013 Bankr.

 8 LEXIS 3870, at *14 (citing In re Creekside Senior Apartments, 489 B.R. at 61) The key inquiry is

 9 whether the debtor's business prospects justify continuance of the reorganization effort. Id.

10            Debtor, like all bail bond agencies, is largely funded by its accounts receivable since nearly
11 all bail bonds are subject to in-house financing. Debtor has no other assets. Thus, the “estate” of

12 Debtor is comprised almost entirely of its accounts receivable. But the accounts receivables are

13 continuing to dwindle down as bail reform continues to emerge in California.

14            On April 13, 2020, as a result of the COVID-19 pandemic, the Judicial Council amended the
15 Rules of Court and pursuant to authority provided by California Governor Gavin Newsom,

16 implemented an Emergency Bail Schedule. A true and correct copy of the Amendment to the

17 California Rules of Court, which contains the Emergency Bail Schedule, is attached to the Escamilla

18 Dec. as Ex. “15.” This Emergency Bail Schedule reduces bail on all misdemeanor and felony offense

19 to $0, with just thirteen (13) exceptions.15 This order is expected to significantly curtail the operation

20 of all bail agencies operating in California. Id., ¶26.

21            Part of this Court’s analysis should recognize that the bail industry has been severely
22 impacted by the Emergency Bail Schedule and may soon be extinct in California. While the

23 referendum process has temporarily stayed its extinction, the success of this referendum is extremely

24 slim. Thus, Debtor cannot reasonably rely on this potential source of capital to fund any plan of

25

26   15
     Ex. 15, pgs. 191-193. The thirteen (13) enumerated exceptions include serious felonies (CA Pen.
27 Code  1192.7(c)) and violent felonies (CA Pen. Code 667.5(c)), Resisting an executive officer (a
   misdemeanor), violating a protective order, witness intimidation (if a felony), spousal rape, battery
28 of a cohabitant, criminal threats (if a felony), stalking, failure to register as a sex offender, DUI, DUI
   causing injury, looting and felon in possession of a firearm.
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 1 reorganization.

 2            History shows that there is a slim chance that the referendum will pass. From 9/9/08 through
 3 9/9/18, the date that the bail referendum qualified for the November, 2020 ballot, out of twenty-four

 4 (24) referendums that were filed, only two (2) passed into law. In addition, the opposition to this

 5 referendum by bail reform advocates such as California Supreme Court’s Chief Justice Tani Cantil-

 6 Sakauye, virtually guarantees that whatever the result of the referendum, the bail reform movement

 7 will continue and the bail bond industry in California will soon end as it recently has in New Jersey,

 8 New Mexico and New York. The Court should presume that because SB-10 (Bail Reform) has been

 9 signed into the law, effectively ending Debtor’s service industry of bail bonds, there is no reasonable

10 likelihood of Debtor’s rehabilitation.

11            Where a court finds that no reasonable possibility of reorganization exists, it should not be
12 compelled to wait a certain period of time, to the detriment of creditors, before ordering conversion

13 or dismissal of a case. Stage I Land Co. v. U.S. Dept. of H.U.D., 71 B.R. 225, 231 (D. Minn. 1986)

14 (debtor’s chapter 11 case should be dismissed at the outset for cause where no reasonable possibility

15 of a reorganization exists). In addressing the reasonable likelihood of the rehabilitation causal

16 element, the court in In re Great American Pyramid Joint Venture stated that, in ascertaining

17 whether the grounds for conversion or dismissal set forth are satisfied, a court “must determine

18 whether the causes of the debtors’ continuing losses can be corrected,” and emphasized that “the

19 purpose of the laws of Congress relating to bankruptcy are to encourage financial restructuring and

20 to encourage payments to creditors.” In re Great American Pyramid Joint Venture, 144 B.R. at 791.

21            Here, the losses cannot be corrected since the business of bail bonds is winding down in the
22 State of California and Debtor’s business will be forced to close in November 2020, after the stay

23 imposed by the ballot referendum expires (given the substantial likelihood that the referendum does

24 not pass).

25            C.       Debtor’s Election to Proceed Under Subchapter V is Evidence of Bad
26                     Faith
27            On March 3, 2020, Debtor filed an Amended Petition (“Amended Petition”) in this case. See,
28 Hays Dec. Ex. 12, Dk. No. 99. Through the Amended Petition, the Debtor states that it is a “small

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 1 business debtor” and elects to proceed under “Subchapter V” of Chapter 11. For the reasons stated

 2 herein, the Court should strike the Amended Petition.

 3            On June 21, 2019, Debtor filed a voluxntary petition under Chapter 11 (“Original Petition”)
 4 this case and an order for relief was entered. The Debtor did not designate itself as a “small business

 5 debtor” in its Original Petition. Some 256 days after the Debtor filed its Original Petition, the Debtor

 6 filed its Amended Petition electing Subchapter V treatment as a small business debtor.

 7            Subchapter V was added to the Bankruptcy Code by the Small Business Reorganization Act
 8 of 2019 (“SBRA”). Pub. L. No. 116-54, 133 Stat. 1079 (2019). In general, the SBRA added a new

 9 “Subchapter V” to Chapter 11 of the Bankruptcy Code, codified in 11 U.S.C. §§ 1181-1195. The

10 SBRA became effective on February 19, 2020, 243 days after the Debtor filed this bankruptcy case.

11 Nothing in the SBRA enabling statute indicates that the SBRA was intended to have retroactive

12 effect—i.e., that the SBRA should apply to pending bankruptcy cases. See, Pub. L. No. 116-54, § 5,

13 133 Stat. 1079 (2019). Moreover, Rule 1020 of the Federal Rules of Bankruptcy Procedure

14 (“FRBP”) provides an objection to the amendment can be made:

15             “(b) Objecting to Designation. Except as provided in subdivision (c), the United
              States trustee or a party in interest may file an objection to the debtor's statement
16            under subdivision (a) no later than 30 days after the conclusion of the meeting of
              creditors held under §341(a) of the Code, or within 30 days after any amendment to
17            the statement, whichever is later.”
18 FRBP 1020.

19            On March 27, 2020, the first 341(a) meeting of creditors since the Amended petition was
20 held. As a further basis for dismissal of the case, Global objects to the Amended Petition. The

21 objection on this ground is timely as it is being filed within the later of 30 days of the initial 341(a)

22 meeting of creditors since the Amended Petition was filed. Hays Declaration, ¶17.

23            To permit the Debtor to now elect “Subchapter V” status at this stage of the bankruptcy case
24 would create a procedural quagmire and likely create “cause” to dismiss or convert the Debtor’s

25 case. For example, the debtor in a Subchapter V case must file a plan of reorganization within 90

26 days after the order for relief. 11 U.S.C. § 1189(b). Here, an order for relief under Chapter 11 was

27 entered in the Debtor’s case on June 21, 2019, when the Debtor filed its Original Petition. 11 U.S.C.

28 § 301(b). The 90-day period for the Debtor to file a plan (if the Debtor’s case were permitted to

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 1 proceed under Subchapter V) expired on September 19, 2020. The Debtor did not file a plan by

 2 September 19, 2020. As a result, the Debtor’s bankruptcy case would be subject to dismissal or

 3 conversion to Chapter 7 for “cause” if the Debtor were now permitted to proceed as a

 4 Subchapter V case. See 11 U.S.C. § 1112(b)(4)(J) (defining “cause” as including failure to file a plan

 5 within the time fixed by the Bankruptcy Code).

 6            As another example, the Court must hold a mandatory status conference in a Subchapter V
 7 case within 60 days after an order for relief, and a debtor must file a status report no later than 14

 8 days prior to the status conference. 11 U.S.C. § 1188(a), (c). The 60-day period for holding a

 9 mandatory status conference (if the Debtor’s case were permitted to proceed under Subchapter V)

10 expired on August 20, 2019. The Court did not hold a status conference by August 20, 2019, and the

11 Debtor (understandably) did not file a status report within 14 days before August 6, 2019. It is too

12 late now to hold the mandatory status conference if the Debtor’s case proceeds under Subchapter V.

13            While courts across the country have reached varying conclusions regarding whether a case
14 pending on the effective date of the SBRA can amend its petition, Global suggests that the proper

15 result was reached in In re Double H Transportation LLC. A true and correct copy of the In re

16 Double H Transportation LLC order is attached to the Hays Dec. as Exhibit “17.” In In re Double H

17 Transportation LLC, the Court permitted the election and then dismissed the case because the

18 aforementioned deadlines had already expired. Id. For these reasons, the Court should either strike

19 the Amended Petition or dismiss the case.

20            D.       The Proof is the Plan – Which on its Face was Unfeasible
21            If Debtor is running at a loss, any plan it proposes will be unconfirmable. Debtor’s most
22 recent operating report that has been filed was for the period ending on January 31, 2020

23 (“Operating Report”). A true and correct copy of the Operating Report is attached as Exhibit “16,"

24 to the Hays Dec. The case was filed on June 21, 2019. Hays Decl., ¶18. In the more than six months

25 covered by the operating report, the Debtor has only netted $41,000 from operations. This sum, per

26 Mr. Miller’s testimony at the most recent 341(a) meeting of creditors, does not account for payment

27 of administrative expense for Debtor’s bankruptcy counsel totaling approximately $175,000, and

28 appellate counsel, insider compensation of $120,000, lease arrearages of $60,000 to be paid to Mr.

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 1 Miller’s LLC, or other alleged priority and administrative expense claims estimated that will have

 2 to be paid on the Effective Date. Hays Dec., ¶18. By Mr. Miller’s own testimony, this will exceed

 3 $360,000. Id., at ¶18.

 4            Under the terms of its last filed Plan, the Debtor was proposing to pay all of the various
 5 classes of unsecured creditors in full through quarterly payments for an indefinite period of time.

 6 Yet, there was no indication regarding how long Debtor estimated it will take to pay such claims in

 7 full. After considering all of the projected administrative and priority payments of $360,000, the

 8 Debtor has yet to make any profit. And, this does not account for the impact of the Emergency Bail

 9 Schedule or SB10's on the bail bond industry. As such, unsecured creditors will never receive any

10 distributions. The longer this case remains in Chapter 11, the more creditors are being prejudiced by

11 Debtor’s principal spending money that should otherwise be getting used to pay creditors.

12            Further, as set forth in the previous Plan, Debtor’s equity was to retain their shares and
13 ownership while it continues to try to get Global’s claim reversed on appeal. The last filed plan,

14 however, did not provide for any contribution of new value. Instead, a footnote said that Mr. Miller

15 reserved the right to amend the Plan to provide for a contribution of new value. In other words, Mr.

16 Miller did not want to have to pay anything to retain his shares and control of the Debtor. Now, after

17 successfully delaying progress in this case until SBRA became effective, Mr. Miller continues in his

18 efforts to retain ownership without having to face the Absolute Priority Rule.

19            In short, there is slim to nil chance that Debtor will in fact fund 100% payments to all
20 creditors. There is also no indication of what Debtor will do when the Emergency Bail Schedule, or

21 if SB10 or any other law, negatively impacts revenues, how Debtor can afford to continue paying

22 insider compensation at the rate of $15,000 per month when it leaves a monthly net profit of only

23 approximately $4,000 which is grossly insufficient to pay all other administrative claims which

24 continue to balloon.

25            Lastly, per the last filed Plan, Global’s Claim was impermissibly separately classified from
26 other unsecured general claims without any legitimate business justification. There is absolutely no

27 justification provided for such Gerrymandering. Because there are no legitimate reasons in fact or

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 1 law, the separate classification is for an improper purpose – i.e. creating a consenting impaired class

 2 that does not consist of insiders.

 3            In sum, Debtor may have built up $40,000 in cash but the reality is the post-petition
 4 administrative expenses far exceed these increase revenues. Debtor has been drained of its money

 5 with the Millers at its helm. Had this case been liquidated early on maybe creditors would have

 6 received something. But under a Chapter 11, creditors have not and will get anything. This Chapter

 7 11 case serves only one purpose – to take the money that can and should be paid to creditors and

 8 instead allows the Debtor spend such money doing everything it can to stay Global’s judgment,

 9 delay its obligation for payment to Global and hope for a reversal on appeal.

10            E.       Court Must Determine Between Dismissal, Conversion, or the
11                     Appointment of a Trustee
12            If this court finds that cause exists, it must then decide whether dismissal or conversion better
13 serves the interests of creditors and the estate. Shulkin Hutton, 552 F.3d at 960-61; Superior Siding

14 & Window, 14 F.3d at 242. As mentioned above, Debtor remains in possession and its principal

15 continues to take a lucrative salary and pay for the personal health insurance of himself along with

16 his wife and son, all from the dwindling bail premiums that are continuing to serve as revenue for

17 the business. Debtor and its principals have “thumbed their nose” at Global and no efforts have been

18 made to begin payments to Global for services provided in 2014, and which were the subject of a

19 2015 invoice which evolved into a judgment on October 31, 2018 that as of the petition date totals

20 $545,879.25. See, Hays Dec., Ex. 14, Claim No. 6. Global contends this case should be dismissed

21 outright. Alternatively, Global requests the case be converted to chapter 7, to allow chapter 7 trustee

22 to administer Debtor’s foreclosure rights against the Saddozai residence and pursue insiders for

23 avoidance actions.

24 4.         Conclusion
25            This entire proceeding was orchestrated to evade payment to Global on account of its
26 Judgment and because Global represents 95% of total funds owed to all the creditors. From paying

27 insiders post-petition where they were not being paid prepetition, to paying monthly rent that is 3

28 times more than any other rent being paid for a similar space in the same building owned by

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 1 Debtor’s principal, to incurring administrative expenses that far exceed the income of the Debtor, to

 2 proposing an unconfirmable plan knowing that the bail bonds industry, which is the source of

 3 Debtor’s income, is coming to a screeching close, to seeking a stay for non-debtor parties.

 4 Everything has been contorted to afford Debtor and its principals the luxury of time at the expense of

 5 creditors. Based on the continuing diminution of Debtor’s estate, the manner in which its principal is

 6 continuing to drain revenue from the business, and the likely prospect for the cessation of continuing

 7 new business after November, 2020, leaving only any remaining accounts receivables to collect,

 8 Global contends that a finding of a bad faith filing of Chapter 11 by Debtor and dismissal of

 9 Debtor’s Chapter 11 action is compelled by the facts and in the best interests of the creditors and the

10 remaining estate.

11

12 Dated: April 16, 2020                          MARSHACK HAYS LLP
13
                                                  By: /s/ D. Edward Hays
14                                                    D. EDWARD HAYS
                                                      LAILA MASUD
15                                                    Attorneys for Creditor,
                                                      LEGAL SERVICE BUREAU, INC.
16                                                    dba GLOBAL FUGITIVE RECOVERY
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 1                                     Declaration of D. Edward Hays
 2            I, D. EDWARD HAYS, say and declare as follows:
 3            1.       I am an individual over 18 years of age and competent to make this Declaration. If
 4 called upon to do so, I could and would competently testify as to the facts set forth in this

 5 Declaration.

 6            2.       The facts set forth below are true of my personal knowledge.
 7            3.       I am an attorney at law duly admitted to practice before this Court and all courts
 8 of the State of California.

 9            4.       I am a partner in the law firm of Marshack Hays LLP, attorneys of record for the
10 Legal Service Bureau, Inc. dba Global Fugitive Recovery (“Global,” “LSB”, or “Creditor”).

11            5.       I reviewed the underlying bankruptcy case dockets prior to execution of this
12 Declaration to refresh my memory as to the dates on which particular documents were filed.

13            6.       I make this Declaration in support of the Motion to Dismiss the Chapter 11
14 Bankruptcy Case of Orange County Bail Bonds, Inc. (“OCBB” or “Debtor”).

15            7.       On June 21, 2019, Debtor filed a voluntary petition for relief under Chapter 11 of
16 11 U.S.C. § 101 et seq. A true and correct copy of the Bankruptcy Case Docket is attached here

17 as Exhibit “12”. Debtor’s Statement of Financial Affairs showed that its “gross revenue from

18 business” has been on a very steep decline:

19            Calendar year of 2017           $660,649.88
20            Calendar year of 2018           $188,116.17
21            1/1/19 through 7/19/19          $34,500.00
22            8.       At the time of the filing of the SOFA, in July 2019, Debtor was on track to realize
23 annual gross revenues from its business in 2019 of less than $55,200.00.

24            9.       A true and correct copy of the claims register in Bankruptcy Case No.9:19-bk-
25 12411-ES, wherein Global’s claim is noted as Claim No. 6, is attached here as Exhibit “14.”

26            10.      On April 17, 2019, Ms. Parwin Saddozai filed a voluntary petition for relief under
27 Chapter 13 of 11 U.S.C. § 101 et seq.

28 / / /

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 1            11.       On September 18, 2019, a Notice of Removal to the bankruptcy court was filed by
 2 Debtor in the Creditor’s Suit commencing Adversary Case No. 8:19-ap-01187 (“Adversary”).

 3 On November 27, 2019 this Court granted Global’s Motion for Order Remanding Adversary

 4 back to State Court. A true and correct copy of the docket for Adversary Case No. 8:19-ap-01187

 5 (“Adversary”), evidencing the aforementioned filings is attached here as Exhibit “11.”

 6            12.       On February 19, 2020, Subchapter V to the Bankruptcy Code by the Small
 7 Business Reorganization Act of 2019 (“SBRA”) became effective. Pub. L. No. 116-54, 133 Stat.

 8 1079 (2019).

 9            13.       A review of the pleadings in the Bankruptcy Case, reveals that Debtor realized net
10 revenue in 2019 of approximately $27,000.

11            14.       I have been present at numerous 341(a) meetings of creditors ("341(a)") including
12 those held on July 23, 2019, March 27, 2020, and April 6, 2020, at which time, I asked Debtor's

13 principal Robert Miller, a series of questions related to Debtor's financial circumstances and

14 business. My office requested the audio from the 341(a) meeting of creditors which we will in turn

15 have transcribed and provide to the Court -if needed- vis-à-vis, a supplemental declaration in

16 support of any reply brief to any opposition to this Motion.

17            15.       At one of those 341(a) meeting of creditors, Debtor’s principal, Robert Miller
18 testified that Debtor has no liability to the surety.

19            16.       At the most recent 341(a) meeting of creditors since the case was amended to be a
20 case under Subchapter V, Mr. Miller testified to the following:

21                     Incurred unpaid expenses consist of the following: (a) Lease –estimated at $60k;
22                      (b) insider compensation – estimated at $120k; (c) Debtor’s counsel’s fees - $140k
23                      thru December 2019 and currently projected to be another $35k; (d) Appellate
24                      counsel- nothing yet but to be incurred once application is approved; (e) bookkeeper-
25                      $2,600; and (f) CPA - $2,800. TOTAL- $360,400
26                     The monthly rent for the approximate 900 square foot office that Debtor operates out
27                      of is purportedly $5,000. Yet, the other building tenants pay the following: (a) 575
28                      square foot office with private bathroom for $1,200 a month; (b) 600 square foot

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 1                     office with signage on side of building for $1,500 a month; and (c) second floor 4000
 2                     square feet with master lease being $12,500 in the name of Jacob Brower who sublets
 3                     to other tenants. Debtor’s rent is thus 4-5 times more than other tenants and Debtor
 4                     has not paid all rent that has become due post-petition.
 5            17.      The first 341(a) meeting of creditors since the Amended Petition was filed was
 6 held on March 27, 2020. As a further basis for dismissal of the case, Global objects to the

 7 Amended Petition. The objection on this ground is timely as it is being filed within the later of

 8 30 days of the initial 341(a) meeting of creditors since the Amended Petition was filed.

 9            18.      Debtor’s most recent operating report that has been filed was for the period
10 ending on January 31, 2020 (“Operating Report”). A true and correct copy of the Operating

11 Report is attached here as Exhibit “16." In the more than six months covered by the operating

12 report, the Debtor has only netted $41,000 from operations. This sum, per Mr. Miller’s testimony

13 at the most recent 341(a) meeting of creditors, does not account for payment of administrative

14 expense for Debtor’s bankruptcy counsel totaling approximately $175,000, and appellate

15 counsel, insider compensation of $120,000, lease arrearages of $60,000 to be paid to Mr.

16 Miller’s LLC, or other alleged priority and administrative expense claims estimated that will

17 have to be paid on the Effective Date. By Mr. Miller’s own testimony, this will exceed $360,000.

18            19.      While courts across the country have reached varying conclusions regarding
19 whether a case pending on the effective date of the SBRA can amend its petition, Global

20 suggests that the proper result was reached in In re Double H Transportation LLC. A true and

21 correct copy of the In re Double H Transportation LLC order is attached here as Exhibit “17.”

22            I declare under penalty of perjury that the foregoing is true and correct. Executed on April
23 16, 2020.

24                                                             /s/ D. Edward Hays
                                                               D. EDWARD HAYS
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                                                          27
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 1                                      Declaration of Dan Escamilla
 2            I, DAN ESCAMILLA, say and declare as follows:
 3            1.       I am an individual over 18 years of age and competent to make this Declaration. If
 4 called upon to do so, I could and would competently testify as to the facts set forth in this

 5 Declaration.

 6            2.       The facts set forth below are true of my personal knowledge.
 7            3.       I am the principal and majority shareholder of Legal Service Bureau, Inc. dba Global
 8 Fugitive Recovery (“LSB” or "Global" or “Creditor”). Global is a bail fugitive recovery business

 9 that contracts with licensed bail bond companies such as Orange County Bail Bonds (“OCBB” or

10 “Debtor”) to effect the capture and arrest of fugitives who forfeit bail and flee. I have held a law

11 degree since 2000. I have been a bail fugitive recovery agent since 2007 and a licensed bail agent

12 since 2010. I have been the chair of the Fugitive Recovery Section of the California Bail Agents

13 Association (“CBAA”) since 2015. As a result, I am familiar with the ever-evolving California law

14 relating to the bail bonds industry as they directly affect the bail bond industry. As a result, I am

15 familiar with the changes in California law relating to the bail bonds industry as they directly affect

16 my business.

17            4.       Debtor is a bail bond company. Debtor’s 95% creditor is Legal Service Bureau Inc.
18 dba Global Fugitive Recovery (“Global”). Global is a bail fugitive recovery business that contracts

19 with licensed bail bond companies to effectuate the capture and arrest of fugitives who forfeit bail

20 and flee.

21            5.       On August 26, 2014, Global and Debtor, acting under signature of Bail Agent Leslie
22 Anne Miler DOI License #1841035, entered into an Agreement for Services (“Agreement”) to

23 return a bail fugitive, out on a $1 million bail bond, into custody so that Debtor and its bail surety

24 would not have to pay the forfeited bond to the California Superior Court.

25            6.       At the time of the contract execution, Debtor’s manager, Robert Miller, represented
26 to Global’s president, Dan Escamilla, that Debtor held adequate collateral through a trust deed

27 recorded on the home of Parwin Saddozai and through several other Orange County properties, to

28 pay Global’s fee under the Agreement, which was potentially as high as 50% of the bail bond, or

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 1 $500,000.00. In issuing the $1 million bail bond, Debtor was acting as a bail agent for its surety,

 2 American Contractors Indemnity Company (“American”)

 3            7.       Global, through my personal efforts, located the bail fugitive in the Philippines and,
 4 in collaboration with the U.S. Marshal Service, successfully returned the fugitive to the United

 5 States, resulting in successful performance of the Agreement. The Agreement was successfully

 6 completed on January 28, 2015, when the fugitive was returned to the United States and delivered

 7 to the custody of the San Bernardino County Sheriff’s Department.

 8            8.       On February 1, 2015, Global invoiced Debtor $300,000 pursuant to the terms of the
 9 Contract. Despite successfully orchestrating the capture of the fugitive pursuant to the Agreement,

10 Debtor failed to pay Global for its services.

11            9.       When the indemnitor of the bail bond, Parwin Saddozai, (“Ms. Saddozai”) the
12 mother of the fugitive, learned of her son’s capture, she immediately ceased all payments under a

13 bail contract to Debtor. In turn, Debtor breached its separate contract with Global to pay for its

14 fugitive recovery services.

15            10.      On April 12, 2017, after over two years of unsuccessful collection efforts which
16 never even resulted in Debtor making nominal payments, Global filed suit against Debtor in the

17 Superior Court for the State of California, County of Orange.

18            11.      A short time later, this action was consolidated with another lawsuit brought against
19 Debtor by the fugitive’s mother and bail bond indemnitor, Ms. Saddozai, who had sued Debtor in

20 an attempt to extinguish the lien on her home and escape liability to Debtor for monies owed under

21 the bail bond agreement, including Global’s bill for fugitive recovery services under the

22 Agreement.

23            12.      Although the two cases were consolidated, separate verdicts were ultimately issued
24 because the contract for services between Global and Debtor were separate and independent from

25 the bail bond agreement between Debtor and Ms. Saddozai.

26            13.      On October 31, 2018, a judgment issued in favor of Global and against Debtor in the
27 amount of $327,750.00 with costs and interest to be determined by motion ("Judgment"). A true

28 and correct copy of the Judgment is attached here as Exhibit "1."

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 1            14.      On July 18, 2018, prejudgment interest was awarded by Minute Order in the amount
 2 of $118,163.64 ("2018 Minute Order"). A true and correct copy of the 2018 Minute Order is

 3 attached as Exhibit "2."

 4            15.      On March 19, 2019, attorney’s fees and costs were added to the prior prejudgment
 5 interest and awarded in favor of Global and against Debtor in the amount of $185,381.08. ("2019

 6 Minute Order"). A true and correct copy of the 2019 Minute Order is attached here as Exhibit "3."

 7            16.      The total judgment against Debtor, held by Global, as of the Petition Date is
 8 $545,879.25.

 9            17.      On December 24, 2018, Debtor filed an appeal of Global’s judgment. Debtor failed
10 to post any bond to obtain a stay of execution pending its appeal (“State Court Appeal”).

11            18.      On December 28, 2018, Ms. Saddozai, in the case styled as Saddozai v. Orange
12 County Bail Bonds, filed a cross-appeal of the judgment against Ms. Saddozai. Subsequently, on

13 April 2, 2019, the cross appeal was dismissed, and a partial remittitur issued as to Ms. Saddozai’s

14 appeal. True and correct copies of the Dismissal of Parwin Saddozai and Partial Remittitur as to

15 Parwin Saddozai is attached here as Exhibits “4” and “5.”

16            19.      Notwithstanding the dismissal of Ms. Saddozai from the State Court appeal five (5)
17 days later on April 22, 2019, Debtor’s counsel sought and obtained a stay of Debtor’s appeal

18 proceedings based on Ms. Saddozai’s bankruptcy and has continued to keep this stay in place by

19 filing status reports with the State Court as to Ms. Saddozai’s bankruptcy case, with the most recent

20 status report having been filed on March 20, 2020. True and correct copies of the appellate docket

21 for case no. G047149 and the 4/22/2020 notice of stay of proceedings filed by Debtor’s counsel are

22 attached here as Exhibit “6” and “7.”

23            20.      Apparently unaware that Ms. Saddozai is no longer a party to the action, the Court of
24 Appeal granted the stay request and based on subsequent status reports by Debtor’s counsel as to

25 Ms. Saddozai’s bankruptcy has allowed the stay to remain in place. True and correct copies of the

26 notices of status of bankruptcy filed on November 26, 2019 and March 20, 2020 in the court of

27 Appeal are attached here as Exhibit “8” and “9.”

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 1            21.      On April 23, 2019, Global filed a Complaint for Creditor’s Suit/Creditor’s Bill in
 2 Equity in Aid of Enforcement of Judgment [Declaratory Relief Re: Imposition of Alter Ego

 3 Liability] against Debtor’s principals, Leslie Anne Miller and Robert L. Miller, seeking to establish

 4 alter ego liability for the judgment against Debtor’s principals (“Creditor Suit”). A true and correct

 5 copy of the docket for the Creditor Suit is attached here as Exhibit “10.”

 6            22.      On May 28, 2019, an Answer to Complaint was filed by Robert L. Miller and Leslie
 7 Anne Miller in this Creditor Suit.

 8            23.      It is no coincidence that, within eleven (11) days after answering Global’s Complaint
 9 for Creditor Suit against Debtor’s principals, Leslie Anne Miller and Robert L. Miller, Debtor

10 commenced its Chapter 11 bankruptcy case, staying the proceedings five (5) days later and

11 subsequently removing the Creditor Suit to the bankruptcy court.

12            24.      The bail bond industry is undergoing massive changes and may become obsolete due
13 changes to California law that have already occurred. Specifically, California Senate Bill 10

14 (“SB10”)16 has been signed into law, changing California’s pretrial release system from a money-

15 based system to a risk-based release and detention system. Id. In short, SB10 will assume that a

16 person can be released on his or her own recognizance or supervised own recognizance with the

17 least restrictive nonmonetary condition or combination of conditions that will reasonably assure

18 public safety and the defendant’s return to court. Although SB10 has been signed into law by the

19 Governor, the law has been stayed, pending a referendum that is to be put to vote in November

20 2020, which may repeal SB10.17 Nonetheless, the current state of the law is that SB10 has passed.

21 A true and correct copy of an SB10 summary posted by the California Court system is attached here

22 as Exhibit "13."

23            25.      In other words, if SB10 is not repealed by the referendum, people charged with
24 crimes will not need to post bail unless their release poses a specific risk to the public. Simply

25 stated, unless this bill is overturned by the voters through a referendum set for a vote in the

26

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     16
       Sen. Bill No. 10, approved by Governor, Aug. 28, 2018 (2018 Reg. Sess.) ch. 244, § 3.
28   17
       See https://www.sos.ca.gov/elections/ballot-measures/qualified-ballot-measures/ as of February
     06, 2020.
                                                     31
                                         DECLARATION OF DAN ESCAMILLA
     4816-5632-4535, v. 1
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 1 November 2020 election, SB-1018 eliminates the money bail system in California and will force

 2 Debtor out of business after the November 2020 election. Given the support of bail reform

 3 advocates such as California Supreme Court Chief Justice Tani Cantil-Sakauye,19 it is unlikely that

 4 the November 2020 referendum will succeed in nullifying the law that ends bail.

 5            26.      On April 13, 2020, as a result of the COVID-19 pandemic, the Judicial Council
 6 amended the Rules of Court and pursuant to authority provided by California Governor Gavin

 7 Newsom, implemented an Emergency Bail Schedule. A true and correct copy of the Emergency

 8 Bail Schedule is attached here as Exhibit “15.” This Emergency Bail Schedule reduces bail on all

 9 misdemeanor and felony offense to $0, with just thirteen (13) exceptions.20 This order is expected

10 to significantly curtail the operation of all bail agencies operating in California.

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24      https://leginfo.legislature.ca.gov/faces/billTextClient.xhtml?bill_id=201720180SB10
     19
        California Supreme Court Chief Justice Tani Cantil-Sakauye has been a public advocate of bail
25   reform and was a major behind-the-scenes figure in SB10’s last-minute revision giving judges more
     authority to decide who goes free and who stays in jail while awaiting trial.
26   https://calmatters.org/commentary/war-over-bail-bonds-has-only-just-begun/
     20
        The thirteen (13) enumerated exceptions include serious felonies (CA Pen. Code 1192.7(c)) and
27   violent felonies (CA Pen. Code 667.5(c)), Resisting an executive officer (a misdemeanor), violating
     a protective order, witness intimidation (if a felony), spousal rape, battery of a cohabitant, criminal
28   threats (if a felony), stalking, failure to register as a sex offender, DUI, DUI causing injury, looting
     and felon in possession of a firearm.
                                                            32
                                        DECLARATION OF DAN ESCAMILLA
     4816-5632-4535, v. 1
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 1            27.      While Debtor’s Chapter 11 has disclosed contingent unliquidated claim of
 2 $7,831,800.00 to American Contractors Indemnity Company (a bail bond surety), this claim simply

 3 represents bail bonds which have been written and each has, or should have its own collateral

 4 (posted by the indemnitor) for the surety to seize in the event that the bonded criminal defendant

 5 fails to appear for his or her hearing. Bail agents limit their liability by requiring collateral to write

 6 bonds and Debtor is no different. Even if the bonds do become due, they will not be the liability of

 7 Debtor, Inc., but rather of the licensed bail agent (Leslie Anne Miller) and the surety and only if the

 8 Millers are not successful in their fugitive recovery efforts to return the bonded defendant(s) to

 9 Court within 180 days, or 360 days if a motion for extension is brought.
10            I declare under penalty of perjury that the foregoing is true and correct. Executed on April
11 16, 2020.

12

13                                                  _________________________
                                                          DAN ESCAMILLA
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                                SUPERIOR COURT OF CALIFORNIA,
                                    COUNTY OF ORANGE
                                  CENTRAL JUSTICE CENTER
                                         MINUTE ORDER
DATE: 07/18/2018                    TIME: 10:00:00 AM              DEPT: C25
JUDICIAL OFFICER PRESIDING: Sheila Fell
CLERK: Myra Nakata
REPORTER/ERM: None
BAILIFF/COURT ATTENDANT: Corinne Mika

CASE NO: 30-2015-00816859-CU-MC-CJC CASE INIT.DATE: 10/26/2015
CASE TITLE: Saddozai vs. American Contractors Indemnity Company
CASE CATEGORY: Civil - Unlimited   CASE TYPE: Misc Complaints - Other

EVENT ID/DOCUMENT ID: 72825804
EVENT TYPE: Motion - Other
MOVING PARTY: LEGAL SERVICE BUREAU, INC.
CAUSAL DOCUMENT/DATE FILED: Motion - Other to Determine Prejudgment Interest, 06/06/2018

APPEARANCES
Robert O. Owen, from Rutan & Tucker, LLP, present for Plaintiff(s).
Joseph A. Walker, from The Walker Law Firm, A Professional Corporation, present for Cross -
Defendant,Plaintiff(s).
Krista L. DiMercurio, from Magarian & Dimercurio, APC, present for Defendant,Cross - Complainant(s).
Hearing held.
The Court hears oral argument and confirms the tentative ruling as posted on the Internet. Court's
tentative ruling as posted on the Internet remains and now becomes the final order of the Court as
follows:

Determine Prejudgment Interest
Legal Services Bureau, Inc. dba Global Fugitive Recovery has shown it is entitled to prejudgment
interest; The parties do not oppose the amount of daily prejudgment interest or the commencement date
to calculate the prejudgment interest; Grant daily prejudgment interest in the amount of $89.79
commencing 3/25/2015.

Parties waive notice.

____________________________

Note: Ex Parte communication in the form of a letter was received in the courtroom on 7/17/2018 from
plaintiff/cross defendant Parwin Saddozai. The Court did not review the document and the document
was returned to counsel of record for Parwin Saddozai this date.




DATE: 07/18/2018                              MINUTE ORDER                                    Page 1
DEPT: C25                                                                                Calendar No.


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                                SUPERIOR COURT OF CALIFORNIA,
                                    COUNTY OF ORANGE
                                  CENTRAL JUSTICE CENTER
                                          MINUTE ORDER
DATE: 03/06/2019                    TIME: 10:00:00 AM              DEPT: C25
JUDICIAL OFFICER PRESIDING: Sheila Fell
CLERK: Rick Burns
REPORTER/ERM: None
BAILIFF/COURT ATTENDANT: Corinne Mika, None

CASE NO: 30-2015-00816859-CU-MC-CJC CASE INIT.DATE: 10/26/2015
CASE TITLE: Saddozai vs. American Contractors Indemnity Company
CASE CATEGORY: Civil - Unlimited   CASE TYPE: Misc Complaints - Other

EVENT ID/DOCUMENT ID: 72983457
EVENT TYPE: Motion for Attorney Fees
MOVING PARTY: LEGAL SERVICE BUREAU, INC.
CAUSAL DOCUMENT/DATE FILED: Motion for Attorney Fees, 12/20/2018

APPEARANCES
Robert O. Owen, from Rutan & Tucker, LLP, present for Plaintiff(s).
William J. Campbell, from Fitzgerald & Campbell, APLC, present for Appellant,Cross -
Defendant,Plaintiff(s).
Krista L. DiMercurio, from Magarian & DiMercurio APLC, present for Appellant,Cross -
Complainant,Defendant(s).
Court having read and considered the Moving Papers and having heard oral argument rules as follows:

MOTION FOR ATTORNEY FEES:

Some fees seemed excessive; Grant attorney fees in the amount of $67,217.44 plus prejudgment
interest in the amount of $118,163.64.

Defendant will submit a proposed amended judgment.
Entered: 6/MAR/2019/9




DATE: 03/06/2019                              MINUTE ORDER                                    Page 1
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                                                       EXHIBIT 8, PAGE 123
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                                                       EXHIBIT 8, PAGE 125
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                                                       EXHIBIT 8, PAGE 128
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                                                      EXHIBIT 9
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Court of Appeal, Fourth Appellate District, Division Three                    Court of Appeal, Fourth Appellate District, Division Three
          Kevin J. Lane, Clerk/Executive Officer                                        Kevin J. Lane, Clerk/Executive Officer
Electronically RECEIVED on 3/20/2020 on 10:57:12 AM                       Electronically FILED on 3/20/2020 by M. Castaneda, Deputy Clerk




                       IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                                FOURTH APPELLATE DISTRICT, DIVISION THREE


                 ORANGE COUNTY BAIL BONDS, et al, ) Appellate No.: G057149
                                                  )
                                                  )
                            Appellants,           ) Superior Court No.: 30-2015-00816859
                        vs.                       )
                                                  )
                                                  )
                 PARWIN SADDOZAI, et al,          )
                                                  )
                            Respondents.          )
                                                  )
                                                  )
                                                  )
                                                  )
                                                  )
                                                  )


                                    On Appeal from the Orange County Superior Court,
                                                The Honorable Sheila Fell


                                   NOTICE OF STATUS OF BANKRUPTCY CASE




                                                              MARK D. MAGARIAN - #164755
                                                              KRISTA L. DIMERCURIO - #255774
                                                              MAGARIAN & DIMERCURIO
                                                              A Professional Law Corporation
                                                              315 N. Puente Street, Suite A
                                                              Brea, California 92821
                                                              Tel: 714-415-3412
                                                              Fax: 714-276-9944
                                                              Mark@Magarianlaw.com
                                                              Krista@Magarianlaw.com
                                                              Attorneys for Appellants,
                                                              ORANGE COUNTY BAIL BONDS,
                                                              INC. and AMERICAN
                                                              CONTRACTORS INDEMNITY
                                                              COMPANY




                                                                1
                                                                                        EXHIBIT 9, PAGE 132
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            TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD

     HEREIN:

            PLEASE TAKE NOTICE THAT: Pursuant to Order of this Court,

     dated March 10, 2020, Appellant ORANGE COUNTY BAIL BONDS

     (“Appellant”) hereby provides the following status at to the Voluntary

     Petition under Chapter 13 (which has been converted to a Chapter 7) of the

     United States Bankruptcy Code (“Bankruptcy Petition”) filed by

     Respondent PARWIN SADDOZAI (“Debtor”) on April 17, 2019: the

     Bankruptcy Petition remains pending in the United States Bankruptcy

     Court, Central District of California, Santa Ana Division. A true and

     correct copy of the bankruptcy case docket, through today, is attached

     hereto as Exhibit “1” and incorporated herein by this reference.




     Dated: March 20, 2020                     MAGARIAN & DIMERCURIO
                                               A PROFESSIONAL LAW
                                               CORPORATION


                                               __________________________
                                               KRISTA L. DIMERCURIO
                                               Attorney for Appellants,
                                               ORANGE COUNTY BAIL
                                               BONDS, INC. and AMERICAN
                                               CONTRACTORS INDEMNITY
                                               COMPANY




                                          2

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                               PROOF OF SERVICE
                           (Pursuant to CCP § 1013 et. seq.)


            I, Krista L. DiMercurio, am over the age of 18 years and a resident
     of the United States, employed in the County of Orange, State of
     California, and not a party to this action. My business address is 315 N.
     Puente St., Ste. A, Brea, California 92821.

            On March 20, 2020, I served:

                    NOTICE OF STATUS OF BANKRUPTCY CASE

     by PRIORITY MAIL by placing a true and correct copy in a sealed
     envelope with postage thereon fully prepaid in Brea, California and
     addressed as follows:

     Parwin Saddozai
     42 Pendant
     Irvine, CA 92620

     Robert Owen
     Rutan & Tucker
     611 Anton Blvd Ste 1400
     Costa Mesa, CA 92626-1998

            I declare that I am readily familiar with the business practice of
     collection and processing of correspondence for mailing with the United
     States Post Service at Brea, California, and know that the correspondence
     was deposited and placed for collection and mailing on that date following
     ordinary business practices.

            I declare under penalty of perjury that the foregoing is true and
     correct to the best of my knowledge.

            Executed on this 20th day of March, 2020, at Brea, California.



                                               ___________________________
                                               KRISTA L. DIMERCURIO



                                           3

                                                                EXHIBIT 9, PAGE 134
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                              EXHIBIT 1




                                            4

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                                                          CONVERTED, NODISMISS, NoAutoDisch


                                        U.S. Bankruptcy Court
                               Central District of California (Santa Ana)
                               Bankruptcy Petition #: 8:19-bk-11419-ES
                                                                                     Date filed:   04/17/2019
Assigned to: Erithe A. Smith                                                  Date converted:      07/08/2019
Chapter 7                                                                        341 meeting:      01/22/2020
Previous chapter 13                                                 Deadline for filing claims:    11/25/2019
Original chapter 13                                      Deadline for objecting to discharge:      01/31/2020
Voluntary                                           Deadline for financial mgmt. course (db):      10/21/2019
No asset                                            Deadline for financial mgmt. course (jdb):     10/21/2019


Debtor                                                 represented by Freddie V Vega
Mohammad I. Niazi                                                     Legis Law PC
42 Pendant                                                            2101 E 4th St Ste A120
Irvine, CA 92620                                                      Santa Ana, CA 92705
ORANGE-CA                                                             844-618-6705
SSN / ITIN: xxx-xx-0884                                               Email: mrvega@freddievegalaw.com

Joint Debtor                                           represented by Freddie V Vega
Parwin Saddozai                                                       (See above for address)
42 Pendant
Irvine, CA 92620
ORANGE-CA
SSN / ITIN: xxx-xx-8105

Trustee
Amrane (SA) Cohen (TR)
770 The City Drive South Suite 3700
Orange, CA 92868
714-621-0200
TERMINATED: 07/08/2019

Trustee
Karen S Naylor (TR)
4343 Von Karman Avenue, Suite 300
Newport Beach, CA 92660-2098
(949) 748-7936

U.S. Trustee                                           represented by Michael J Hauser
United States Trustee (SA)                                            411 W Fourth St Suite 7160
411 W Fourth St., Suite 7160                                          Santa Ana, CA 92701-4593
Santa Ana, CA 92701-4593                                              714-338-3417
(714) 338-3400                                                        Fax : 714-338-3421
                                                                      Email: michael.hauser@usdoj.gov

                                                                      EXHIBIT 9, PAGE 136
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 Filing Date               #                                     Docket Text

                       1                  Chapter 13 Voluntary Petition Individual . Fee Amount
                       (61 pgs)           $310 Filed by Mohammad I. Niazi, Parwin Saddozai (Vega,
                                          Freddie) WARNING: See docket entry NOS.9&10 for
                                          corrections. PER LBR 9011-1(D)Block Ink Holographic or
                                          Typed Signatures are not allowed. 72 Hours Notice issued
                                          for Addendum to VP due/ 4/22/2019. ALSO MISSING
                                          DEBTOR'S HOLOGRAPHIC SIGNATURE AND
                                          DEFICIENT FOR: Declaration About an Individual
                                          Debtors Schedules (Form 106Dec) due 5/1/2019 Statement
                                          of Financial Affairs due 5/1/2019. Chapter 13 Calculation
                                          of Your Disposable Income due 5/1/2019. Statement of
                                          Related Cases due 5/1/2019. Master Mailing List of
                                          Creditors due 5/1/2019. Chapter 13 Plan due 5/1/2019.
                                          Incomplete filing due 5/1/2019. Modified on 4/18/2019
04/17/2019                                (Roque, Jewell). . (Entered: 04/17/2019)

                       2                  Rights and responsibilities agreement between chapter 13
                       (6 pgs)            debtors and their attorneys Filed by Debtor Mohammad I.
                                          Niazi, Joint Debtor Parwin Saddozai. (Vega, Freddie)
04/17/2019                                (Entered: 04/17/2019)

                       3                  Certificate of Credit Counseling Filed by Debtor
04/17/2019             (1 pg)             Mohammad I. Niazi. (Vega, Freddie) (Entered: 04/17/2019)

                       4                  Certificate of Credit Counseling Filed by Joint Debtor
04/17/2019             (1 pg)             Parwin Saddozai. (Vega, Freddie) (Entered: 04/17/2019)

                       5                  Statement About Your Social Security Number (Official
                                          Form 121) Filed by Debtor Mohammad I. Niazi, Joint
                                          Debtor Parwin Saddozai. (Vega, Freddie) (Entered:
04/17/2019                                04/17/2019)

                       6                  Declaration by Debtor as to Whether Debtor(s) Received
                       (5 pgs)            Income From an Employer Within 60 Days of Petition
                                          (LBR Form F1002-1) Filed by Debtor Mohammad I. Niazi,
                                          Joint Debtor Parwin Saddozai. (Vega, Freddie) (Entered:
04/17/2019                                04/17/2019)

                                          Receipt of Voluntary Petition (Chapter 13)(8:19-bk-11419)
                                          [misc,volp13] ( 310.00) Filing Fee. Receipt number
                                          48895116. Fee amount 310.00. (re: Doc# 1) (U.S. Treasury)
04/17/2019                                (Entered: 04/17/2019)

                       8                  Meeting of Creditors with 341(a) meeting to be held on
                       (3 pgs)            05/22/2019 at 10:00 AM at RM 1-154, 411 W Fourth St.,
                                          Santa Ana, CA 92701. Confirmation hearing to be held on
                                                                  EXHIBIT 9, PAGE 137
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                                          06/25/2019 at 01:30 PM at Crtrm 5A, 411 W Fourth St.,
                                          Santa Ana, CA 92701. Proof of Claim due by 06/26/2019.
04/17/2019                                (Vega, Freddie) (Entered: 04/17/2019)

                       7                   Request for courtesy Notice of Electronic Filing (NEF)
                       (1 pg)              Filed by Smith, Valerie. (Smith, Valerie) (Entered:
04/18/2019                                 04/18/2019)

                                           Set Case Commencement Deficiency Deadlines (ccdn) (RE:
                                           related document(s)1 Voluntary Petition (Chapter 13) filed
                                           by Debtor Mohammad I. Niazi, Joint Debtor Parwin
                                           Saddozai) Statement of Related Cases (LBR Form F1015-2)
                                           due 5/1/2019. Verification of Master Mailing List of
                                           Creditors (LBR Form F1007-1) due 5/1/2019. Incomplete
                                           Filings due by 5/1/2019. (Roque, Jewell) (Entered:
04/18/2019                                 04/18/2019)

                                           Set Case Commencement Deficiency Deadlines
                                           (def/deforco) (RE: related document(s)1 Voluntary Petition
                                           (Chapter 13) filed by Debtor Mohammad I. Niazi, Joint
                                           Debtor Parwin Saddozai) Declaration About an Individual
                                           Debtors Schedules (Form 106Dec) due 5/1/2019. Statement
                                           of Financial Affairs (Form 107 or 207) due 5/1/2019.
                                           Chapter 13 Plan (LBR F3015-1) due by 5/1/2019. Chapter
                                           13 Statement of Your Current Monthly Income and
                                           Calculation of Commitment Period (Form 122C-1) Due:
                                           5/1/2019. Chapter 13 Calculation of Your Disposable
                                           Income (Form 122C-2) Due: 5/1/2019. Incomplete Filings
04/18/2019                                 due by 5/1/2019. (Roque, Jewell) (Entered: 04/18/2019)

                       9                   Notice of Dismissal of Case If Required Documents Are
                       (1 pg)              Not Filed Within 72 Hours (BNC) . (Roque, Jewell)
04/18/2019                                 (Entered: 04/18/2019)

                       10                  Notice to Filer of Error and/or Deficient Document
                                           Document filed without holographic signature. THE
                                           FILER IS INSTRUCTED TO RE-FILE THE
                                           DOCUMENT WITH THE PROPER SIGNATURES.
                                           (RE: related document(s)1 Voluntary Petition (Chapter 13)
                                           filed by Debtor Mohammad I. Niazi, Joint Debtor Parwin
04/18/2019                                 Saddozai) (Roque, Jewell) (Entered: 04/18/2019)

                       11                  Case Commencement Deficiency Notice (BNC) (RE:
                       (1 pg)              related document(s)1 Voluntary Petition (Chapter 13) filed
                                           by Debtor Mohammad I. Niazi, Joint Debtor Parwin
04/18/2019                                 Saddozai) (Roque, Jewell) (Entered: 04/18/2019)

                       12                  ORDER to comply with bankruptcy rule 1007/3015(b) and
                       (1 pg)              notice of intent to dismiss case (BNC) (RE: related
                                                                   EXHIBIT 9, PAGE 138
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                                        document(s)1 Voluntary Petition (Chapter 13) filed by
                                        Debtor Mohammad I. Niazi, Joint Debtor Parwin Saddozai)
04/18/2019                              (Roque, Jewell) (Entered: 04/18/2019)

                       13                Addendum to voluntary petition Voluntary Petition with
                       (67 pgs)          Holographic Signatures Filed by Debtor Mohammad I.
                                         Niazi, Joint Debtor Parwin Saddozai. (Vega, Freddie)
04/19/2019                               (Entered: 04/19/2019)

                       14                BNC Certificate of Notice (RE: related document(s)8
                       (4 pgs)           Meeting (AutoAssign Chapter 13)) No. of Notices: 7.
04/20/2019                               Notice Date 04/20/2019. (Admin.) (Entered: 04/20/2019)

                       15                BNC Certificate of Notice (RE: related document(s)11 Case
                       (2 pgs)           Commencement Deficiency Notice (BNC)) No. of Notices:
04/20/2019                               1. Notice Date 04/20/2019. (Admin.) (Entered: 04/20/2019)

                       16                BNC Certificate of Notice (RE: related document(s)12
                       (2 pgs)           ORDER to comply with bankruptcy rule 1007/3015(b) and
                                         notice of intent to dismiss case (Ch 7/13) (BNC)) No. of
                                         Notices: 1. Notice Date 04/20/2019. (Admin.) (Entered:
04/20/2019                               04/20/2019)

                       17                BNC Certificate of Notice (RE: related document(s)9
                       (2 pgs)           Notice of Dismissal of Case If Required Documents Are
                                         Not Filed Within 72 Hours (VAN-197) (BNC)) No. of
                                         Notices: 2. Notice Date 04/20/2019. (Admin.) (Entered:
04/20/2019                               04/20/2019)

                       18                Chapter 13 Plan (LBR F3015-1). Property value is listed at
                       (20 pgs)          an amount EQUAL to or GREATER THAN the Secured
                                         Amount Claimed: 1 included. with Proof of Service Filed by
                                         Debtor Mohammad I. Niazi, Joint Debtor Parwin Saddozai
                                         (RE: related document(s) Set Case Commencement
                                         Deficiency Deadlines (def/deforco) (RE: related
                                         document(s)1 Voluntary Petition (Chapter 13) filed by
                                         Debtor Mohammad I. Niazi, Joint Debtor Parwin Saddozai)
                                         Declaration About an Individual Debtors Schedules (Form
                                         106Dec) due 5/1/2019. Statement of Financial Affairs
                                         (Form 107 or 207) due 5/1/2019. Chapter 13 Plan (LBR
                                         F3015-1) due by 5/1/2019. Chapter 13 Statement of Your
                                         Current Monthly Income and Calculation of Commitment
                                         Period (Form 122C-1) Due: 5/1/2019. Chapter 13
                                         Calculation of Your Disposable Income (Form 122C-2)
                                         Due: 5/1/2019. Incomplete Filings due by 5/1/2019.). (Vega,
05/01/2019                               Freddie) (Entered: 05/01/2019)

                                         ***Statistics Reporting*** Motion for Valuation of
                                         Security (CM27). (RE: related document(s) 18 ) Chapter 13
                                                                 EXHIBIT 9, PAGE 139
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                                          Plan (LBR F3015-1) (AutoDocket, User) (Entered:
05/02/2019                                05/02/2019)

                       19                  Trustee's Notice to the debtor(s) that the case may be
                       (2 pgs)             dismiss or converted at the confirmation hearing (batch) .
05/07/2019                                 (Cohen (TR), Amrane (SA)) (Entered: 05/07/2019)

                       20                  Declaration Setting Forth Postpetition, Preconfirmation
                       (7 pgs)             Payments On: 1. Deeds of Trust (or Mortgages), 2. Leases
                                           of Personal Property; 3. Purchase Money Security Liens on
                                           Personal Property with Proof of Service Filed by Debtor
                                           Mohammad I. Niazi, Joint Debtor Parwin Saddozai. (Vega,
05/22/2019                                 Freddie) (Entered: 05/22/2019)

                       21                  Declaration RE Filing of Tax Returns and Payment of
                       (6 pgs)             Domestic Support Obligations (Preconfirmation) with Proof
                                           of Service Filed by Debtor Mohammad I. Niazi, Joint
                                           Debtor Parwin Saddozai. (Vega, Freddie) (Entered:
05/22/2019                                 05/22/2019)

                       22                  Request for courtesy Notice of Electronic Filing (NEF)
                       (1 pg)              Filed by Parker, Katie. (Parker, Katie) (Entered:
05/31/2019                                 05/31/2019)

                       23                  Objection to Confirmation of Plan Filed by Creditor
                       (30 pgs)            WELLS FARGO BANK, N.A. (RE: related document(s)18
                                           Chapter 13 Plan (LBR F3015-1). Property value is listed at
                                           an amount EQUAL to or GREATER THAN the Secured
                                           Amount Claimed: 1 included. with Proof of Service Filed by
                                           Debtor Mohammad I. Niazi, Joint Debtor Parwin Saddozai
                                           (RE: related document(s) Set Case Commencement
                                           Deficiency Deadlines (def/deforco) (RE: related
                                           document(s)1 Voluntary Petition (Chapter 13) filed by
                                           Debtor Mohammad I. Niazi, Joint Debtor Parwin Saddozai)
                                           Declaration About an Individual Debtors Schedules (Form
                                           106Dec) due 5/1/2019. Statement of Financial Affairs
                                           (Form 107 or 207) due 5/1/2019. Chapter 13 Plan (LBR
                                           F3015-1) due by 5/1/2019. Chapter 13 Statement of Your
                                           Current Monthly Income and Calculation of Commitment
                                           Period (Form 122C-1) Due: 5/1/2019. Chapter 13
                                           Calculation of Your Disposable Income (Form 122C-2)
                                           Due: 5/1/2019. Incomplete Filings due by 5/1/2019.).).
06/05/2019                                 (Parker, Katie) (Entered: 06/05/2019)

                       24                  Hearing Set (related document # 18 Chapter 13 Plan).
                                           Confirmation hearing to be held on 6/25/2019 at 01:30 PM
                                           at Crtrm 5A, 411 W Fourth St., Santa Ana, CA 92701. The
                                           case judge is Erithe A. Smith (Duarte, Tina) (Entered:
06/05/2019                                 06/05/2019)
                                                                    EXHIBIT 9, PAGE 140
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                       25               Objection to Confirmation of Plan Filed by Trustee Amrane
                       (5 pgs)          (SA) Cohen (TR) (RE: related document(s)18 Chapter 13
                                        Plan (LBR F3015-1). Property value is listed at an amount
                                        EQUAL to or GREATER THAN the Secured Amount
                                        Claimed: 1 included. with Proof of Service Filed by Debtor
                                        Mohammad I. Niazi, Joint Debtor Parwin Saddozai (RE:
                                        related document(s) Set Case Commencement Deficiency
                                        Deadlines (def/deforco) (RE: related document(s)1
                                        Voluntary Petition (Chapter 13) filed by Debtor Mohammad
                                        I. Niazi, Joint Debtor Parwin Saddozai) Declaration About
                                        an Individual Debtors Schedules (Form 106Dec) due
                                        5/1/2019. Statement of Financial Affairs (Form 107 or 207)
                                        due 5/1/2019. Chapter 13 Plan (LBR F3015-1) due by
                                        5/1/2019. Chapter 13 Statement of Your Current Monthly
                                        Income and Calculation of Commitment Period (Form
                                        122C-1) Due: 5/1/2019. Chapter 13 Calculation of Your
                                        Disposable Income (Form 122C-2) Due: 5/1/2019.
                                        Incomplete Filings due by 5/1/2019.). filed by Debtor
                                        Mohammad I. Niazi, Joint Debtor Parwin Saddozai).
06/11/2019                              (Cohen (TR), Amrane (SA)) (Entered: 06/11/2019)

                       26               Objection (related document(s): 18 Chapter 13 Plan (LBR
                       (10 pgs)         F3015-1) filed by Debtor Mohammad I. Niazi, Joint Debtor
                                        Parwin Saddozai) Secured Creditor Orange County Bail
                                        Bonds, Inc.'s Objection to Chapter 13 Plan with Proof of
                                        Service Filed by Creditor Orange County Bail Bonds, Inc.
06/11/2019                              (Forsythe, Marc) (Entered: 06/11/2019)

                       27               Hearing Held RE: Confirmation of Chapter 13 Plan (related
                                        document # 18]) - CASE IS CONVERTED TO CHAPTER
06/25/2019                              7. (Duarte, Tina) (Entered: 06/26/2019)

                       28               Order Converting Case to Chapter 7 - IT IS FURTHER
                       (2 pgs)          ORDERED THAT IF THE CONVERSION FEE IS NOT
                                        PAID WITHIN 7 DAYS OF THE ENTRY OF THIS
                                        ORDER, THE CASE SHALL BE DISMISSED WITHOUT
                                        FURTHER NOTICE (BNC-PDF). Trustee Amrane (SA)
                                        Cohen (TR) removed from the case. Trustee Karen S Naylor
                                        (TR) added to the case. (BNC-PDF) Signed on 7/8/2019
07/08/2019                              (Reid, Rick) (Entered: 07/08/2019)

                       29               Meeting of Creditors 341(a) meeting to be held on
                       (3 pgs)          8/21/2019 at 12:00 PM at RM 3-110, 411 W Fourth St.,
                                        Santa Ana, CA 92701. Cert. of Financial Management due
                                        by 10/21/2019. Cert. of Financial Management - Joint
                                        Debtor due by 10/21/2019. Last day to oppose discharge or
                                        dischargeability is 10/21/2019. (Reid, Rick) (Entered:
07/08/2019                              07/08/2019)

                                                               EXHIBIT 9, PAGE 141
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                       30              Notice of Requirement to Complete Course in Financial
07/08/2019             (3 pgs)         Management (BNC) . (Reid, Rick) (Entered: 07/08/2019)

                       31               BNC Certificate of Notice (RE: related document(s)29
                       (5 pgs)          Meeting of Creditors Chapter 7 No Asset) No. of Notices:
07/10/2019                              8. Notice Date 07/10/2019. (Admin.) (Entered: 07/10/2019)

                       32               BNC Certificate of Notice - PDF Document. (RE: related
                       (3 pgs)          document(s)28 Order Converting Case to Chapter 7 (BNC-
                                        PDF)) No. of Notices: 1. Notice Date 07/10/2019. (Admin.)
07/10/2019                              (Entered: 07/10/2019)

                       33               BNC Certificate of Notice (RE: related document(s)30
                       (4 pgs)          Notice of Requirement to Complete Course in Financial
                                        Management (BNC)) No. of Notices: 1. Notice Date
07/10/2019                              07/10/2019. (Admin.) (Entered: 07/10/2019)

                                        Receipt of Conversion Fee to Ch7 from Ch13 - $25.00 by
                                        01. Receipt Number 80073697. (admin) (Entered:
07/17/2019                              07/17/2019)

                       34               Notice of Intent to File Trustees Final Report and Account -
                       (4 pgs)          Chapter 13 Dismissed/Converted . (Cohen (TR), Amrane
07/18/2019                              (SA)) (Entered: 07/18/2019)

                                        Receipt of Certification Fee - $11.00 by 12. Receipt Number
07/25/2019                              80073752. (admin) (Entered: 07/25/2019)

                                        Receipt of Photocopies Fee - $3.50 by 12. Receipt Number
07/25/2019                              80073752. (admin) (Entered: 07/25/2019)

                       35               Chapter 13 Trustee's Final Report and Account . (Cohen
07/30/2019             (3 pgs)          (TR), Amrane (SA)) (Entered: 07/30/2019)

                       36               Proof of service Filed by (RE: related document(s)35
                       (1 pg)           Chapter 13 Trustee's Final Report and Account (batch)).
07/31/2019                              (Cohen (TR), Amrane (SA)) (Entered: 07/31/2019)

                       37               Declaration re: non-receipt of obj to trustee's final report
                       (1 pg)           (Dismissed/Converted Chapter 13 Cases) Filed by. (Cohen
08/20/2019                              (TR), Amrane (SA)) (Entered: 08/20/2019)

                       38               Continuance of Meeting of Creditors (Rule 2003(e)) Filed
                                        by Trustee Karen S Naylor (TR). 341(a) Meeting Continued
                                        to 09/25/2019 at 02:00 PM at RM 3-110, 411 W Fourth St.,
                                        Santa Ana, CA 92701. (Naylor (TR), Karen) (Entered:
08/22/2019                              08/22/2019)

                                                                 EXHIBIT 9, PAGE 142
      Case 8:19-bk-12411-ES   Doc 120 Filed 04/16/20 Entered 04/16/20 18:17:59 Desc
                              Main Document     Page 156 of 263
                       39               Notice of continued meeting of creditors and appearance of
                       (1 pg)           debtor (11 USC 341(a)) Filed by Trustee Karen S Naylor
08/22/2019                              (TR). (Naylor (TR), Karen) (Entered: 08/22/2019)

                       40                Notice of Assets filed by trustee and court's notice of
                       (2 pgs; 2 docs)   possible dividend (BNC) Filed by Trustee Karen S Naylor
                                         (TR). Proofs of Claims due by 11/25/2019. (Naylor (TR),
08/22/2019                               Karen) (Entered: 08/22/2019)

                       41                BNC Certificate of Notice (RE: related document(s)40
                       (3 pgs)           Notice of Assets filed by trustee and court's notice of
                                         possible dividend (BNC) filed by Trustee Karen S Naylor
                                         (TR)) No. of Notices: 8. Notice Date 08/25/2019. (Admin.)
08/25/2019                               (Entered: 08/25/2019)

                       42                Continuance of Meeting of Creditors (Rule 2003(e)) Filed
                                         by Trustee Karen S Naylor (TR). 341(a) Meeting Continued
                                         to 10/30/2019 at 02:00 PM at RM 3-110, 411 W Fourth St.,
                                         Santa Ana, CA 92701. (Naylor (TR), Karen) (Entered:
09/26/2019                               09/26/2019)

                       43                Notice of continued meeting of creditors and appearance of
                       (1 pg)            debtor (11 USC 341(a)) Filed by Trustee Karen S Naylor
09/26/2019                               (TR). (Naylor (TR), Karen) (Entered: 09/26/2019)

                       44                Stipulation By United States Trustee (SA) and Debtor's
                       (3 pgs)           Counsel To Extend Time for: (1) The U.S. Trustee To File A
                                         Motion To Dismiss Case Under § 707(B)(3); (2) The U.S.
                                         Trustee, Chapter 7 Trustee And All Creditors To File A
                                         Complaint Objecting To Discharge Under § 727; And(3) All
                                         Creditors To File A Non-Dichargeability Complaint Under
                                         § 523 Filed by U.S. Trustee United States Trustee (SA)
10/03/2019                               (Hauser, Michael) (Entered: 10/03/2019)

                       45                Order Approving the Stipulation Extending the Time for:
                       (2 pgs)           (1) The US Trustee to File a Motion to Dismiss Case; (2)
                                         The US Trustee, Chapter 7 Trustee, and All Creditors to File
                                         a Complaint to Object to Discharge Under 11 USC Section
                                         727 and (3) All Creditors to File a Non-Dischargeability
                                         Complaint Under Section 523 (BNC-PDF) (Related Doc #
                                         44 ) Signed on 10/4/2019 (Daniels, Sally) (Entered:
10/04/2019                               10/04/2019)

                       46                BNC Certificate of Notice - PDF Document. (RE: related
                       (3 pgs)           document(s)45 ORDER to extend time (Generic Order - No
                                         Motion) (BNC-PDF)) No. of Notices: 1. Notice Date
10/09/2019                               10/09/2019. (Admin.) (Entered: 10/09/2019)

                       47                Continuance of Meeting of Creditors (Rule 2003(e)) Filed
                                                                 EXHIBIT 9, PAGE 143
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                                          by Trustee Karen S Naylor (TR). 341(a) Meeting Continued
                                          to 12/04/2019 at 01:00 PM at RM 3-110, 411 W Fourth St.,
                                          Santa Ana, CA 92701. (Naylor (TR), Karen) (Entered:
10/31/2019                                10/31/2019)

                       48                  Notice of continued meeting of creditors and appearance of
                       (1 pg)              debtor (11 USC 341(a)) Filed by Trustee Karen S Naylor
10/31/2019                                 (TR). (Naylor (TR), Karen) (Entered: 10/31/2019)

                       49                  Notice of motion and motion for relief from the automatic
                       (20 pgs; 2 docs)    stay with supporting declarations REAL PROPERTY RE:
                                           42 Pendant, Irvine, CA 92620 and Points and Authorities in
                                           Support Thereof. Fee Amount $181, Filed by Creditor
                                           Orange County Bail Bonds, Inc. (Attachments: # 1
                                           Memorandum of Points and Authorities in Support of
                                           Motion for Relief From the Automatic Stay) (Forsythe,
                                           Marc) - MOTION WITHDRAWN; SEE DOCUMENT # 51
                                           - Modified on 11/7/2019 (Duarte, Tina). (Entered:
11/07/2019                                 11/07/2019)

                                           Receipt of Motion for Relief from Stay - Real
                                           Property(8:19-bk-11419-ES) [motion,nmrp] ( 181.00) Filing
                                           Fee. Receipt number 50059541. Fee amount 181.00. (re:
11/07/2019                                 Doc# 49) (U.S. Treasury) (Entered: 11/07/2019)

                       50                  Notice of motion and motion for relief from the automatic
                       (74 pgs; 2 docs)    stay with supporting declarations REAL PROPERTY RE:
                                           42 Pendant, Irvine, CA 92620 . Fee Amount $181, Filed by
                                           Creditor Orange County Bail Bonds, Inc. (Attachments: # 1
                                           Memorandum of Points and Authorities in Support of
                                           Motion for Relief From the Automatic Stay) (Forsythe,
11/07/2019                                 Marc) (Entered: 11/07/2019)

                       51                  Notice of Withdrawal of Court's Docket Document Number
                       (4 pgs)             ECF No. 49 and Refiled Upon the Court's Docket as ECF
                                           No. 50 Filed by Creditor Orange County Bail Bonds, Inc.
                                           (RE: related document(s)49 Notice of motion and motion
                                           for relief from the automatic stay with supporting
                                           declarations REAL PROPERTY RE: 42 Pendant, Irvine, CA
                                           92620 and Points and Authorities in Support Thereof. Fee
                                           Amount $181, Filed by Creditor Orange County Bail
                                           Bonds, Inc. (Attachments: # 1 Memorandum of Points and
                                           Authorities in Support of Motion for Relief From the
11/07/2019                                 Automatic Stay)). (Forsythe, Marc) (Entered: 11/07/2019)

                       52                  Amended Motion (related document(s): 50 Notice of
                       (80 pgs; 2 docs)    motion and motion for relief from the automatic stay with
                                           supporting declarations REAL PROPERTY RE: 42
                                           Pendant, Irvine, CA 92620 . Fee Amount $181, filed by
                                                                   EXHIBIT 9, PAGE 144
      Case 8:19-bk-12411-ES   Doc 120 Filed 04/16/20 Entered 04/16/20 18:17:59 Desc
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                                        Creditor Orange County Bail Bonds, Inc.) Amended to
                                        remove Notice of Electronic Filing pages Filed by Creditor
                                        Orange County Bail Bonds, Inc. (Attachments: # 1
                                        Memorandum of Points and Authorities in Support of
                                        Motion for Relief From the Automatic Stay) (Forsythe,
11/07/2019                              Marc) (Entered: 11/07/2019)

                       53                 Hearing Set (RE: related document(s)52 Amended Motion
                                          for relief from the automatic stay with supporting
                                          declarations REAL PROPERTY RE: 42 Pendant, Irvine, CA
                                          92620 filed by Creditor Orange County Bail Bonds, Inc.).
                                          The Hearing date is set for 12/5/2019 at 10:00 AM at Crtrm
                                          5A, 411 W Fourth St., Santa Ana, CA 92701. The case
                                          judge is Erithe A. Smith (Duarte, Tina) (Entered:
11/07/2019                                11/07/2019)

                                          Receipt of Motion for Relief from Stay - Real
                                          Property(8:19-bk-11419-ES) [motion,nmrp] ( 181.00) Filing
                                          Fee. Receipt number 50075514. Fee amount 181.00. (re:
11/11/2019                                Doc# 50) (U.S. Treasury) (Entered: 11/11/2019)

                       54                 Amended Schedule A/B for Individual: Property (Official
                       (11 pgs)           Form 106A/B or 206A/B) with Proof of Service Filed by
                                          Debtor Mohammad I. Niazi, Joint Debtor Parwin Saddozai.
11/21/2019                                (Vega, Freddie) (Entered: 11/21/2019)

                       55                 Amended Schedule A/B for Individual: Property (Official
                       (7 pgs)            Form 106A/B or 206A/B) 2nd Amendment with Proof of
                                          Service Filed by Debtor Mohammad I. Niazi, Joint Debtor
                                          Parwin Saddozai. (Vega, Freddie) WARNING: See docket
                                          entry no. 61 for correction. [Incorrect pdf - Amended
                                          Schedule A/B instead Amended Schedule C]. Modified on
11/21/2019                                11/22/2019 (Shimizu, Tina). (Entered: 11/21/2019)

                       56                 Amended Schedule C: The Property You Claimed as
                       (11 pgs)           Exempt (Official Form 106C) with Proof of Service Filed by
                                          Debtor Mohammad I. Niazi, Joint Debtor Parwin Saddozai.
                                          (Vega, Freddie) WARNING: See docket entry no. 61 for
                                          correction. [Incorrect pdf - Amended Schedule C instead
                                          Amended Schedule A/B]. Modified on 11/22/2019
11/21/2019                                (Shimizu, Tina). (Entered: 11/21/2019)

                       57                 Amended Schedule C: The Property You Claimed as
                       (7 pgs)            Exempt (Official Form 106C) Corrected - With Proof of
                                          Service Filed by Debtor Mohammad I. Niazi, Joint Debtor
11/21/2019                                Parwin Saddozai. (Vega, Freddie) (Entered: 11/21/2019)

                       58                 Amending Schedules (D) (E/F) with Proof of Service Filed
                       (14 pgs)           by Debtor Mohammad I. Niazi, Joint Debtor Parwin
                                                                 EXHIBIT 9, PAGE 145
      Case 8:19-bk-12411-ES   Doc 120 Filed 04/16/20 Entered 04/16/20 18:17:59 Desc
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11/21/2019                              Saddozai. (Vega, Freddie) (Entered: 11/21/2019)

                                         Receipt of Amending Schedules D and/or E/F (Official
                                         Form 106D, 106E/F, 206D, or 206E/F) (Fee)(8:19-bk-
                                         11419-ES) [misc,amdsch] ( 31.00) Filing Fee. Receipt
                                         number 50149319. Fee amount 31.00. (re: Doc# 58) (U.S.
11/21/2019                               Treasury) (Entered: 11/21/2019)

                       59                Statement of Financial Affairs for Individual Filing for
                       (13 pgs)          Bankruptcy (Official Form 107 or 207) with Proof of
                                         Service Filed by Debtor Mohammad I. Niazi, Joint Debtor
11/21/2019                               Parwin Saddozai. (Vega, Freddie) (Entered: 11/21/2019)

                       60                Response to motion for order to terminate, annul, modify or
                       (19 pgs)          condition the automatic stay and declaration(s) in support
                                         (related document(s): 52 Amended Motion (related
                                         document(s): 50 Notice of motion and motion for relief
                                         from the automatic stay with supporting declarations REAL
                                         PROPERTY RE: 42 Pendant, Irvine, CA 92620 . Fee
                                         Amount $181, filed by Creditor Orange County Bail filed
                                         by Creditor Orange County Bail Bonds, Inc.) with Proof of
                                         Service Filed by Debtor Mohammad I. Niazi, Joint Debtor
11/21/2019                               Parwin Saddozai (Vega, Freddie) (Entered: 11/21/2019)

                       61                Notice to Filer of Error and/or Deficient Document
                                         Incorrect PDF was attached to the docket entry. THE
                                         FILER IS INSTRUCTED TO RE-FILE THE
                                         DOCUMENT WITH THE CORRECT PDF
                                         IMMEDIATELY. (RE: related document(s)55 Schedule
                                         A/B: Property (Official Form 106A/B or 206A/B) filed by
                                         Debtor Mohammad I. Niazi, Joint Debtor Parwin Saddozai,
                                         56 Schedule C: The Property You Claimed as Exempt
                                         (Official Form 106C) filed by Debtor Mohammad I. Niazi,
                                         Joint Debtor Parwin Saddozai) (Shimizu, Tina) (Entered:
11/22/2019                               11/22/2019)

                       62                Reply to (related document(s): 60 Response to motion for
                       (16 pgs)          order to terminate, annul, modify or condition the automatic
                                         stay and declaration(s) in support filed by Debtor
                                         Mohammad I. Niazi, Joint Debtor Parwin Saddozai) Reply
                                         to Debtor's Opposition to Orange County Bail Bonds, Inc.'s
                                         Motion for Relief from Stay [Real Property]; Request for
                                         Judicial Notice Attached hereto in Support Thereof with
                                         Proof of Service Filed by Creditor Orange County Bail
11/27/2019                               Bonds, Inc. (Forsythe, Marc) (Entered: 11/27/2019)

                       63                Continuance of Meeting of Creditors (Rule 2003(e)) Filed
                                         by Trustee Karen S Naylor (TR). 341(a) Meeting Continued
                                         to 01/22/2020 at 01:00 PM at RM 3-110, 411 W Fourth St.,
                                                                 EXHIBIT 9, PAGE 146
      Case 8:19-bk-12411-ES     Doc 120 Filed 04/16/20 Entered 04/16/20 18:17:59 Desc
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                                          Santa Ana, CA 92701. (Naylor (TR), Karen) (Entered:
12/05/2019                                12/05/2019)

                       64                  Notice of continued meeting of creditors and appearance of
                       (1 pg)              debtor (11 USC 341(a)) Filed by Trustee Karen S Naylor
12/05/2019                                 (TR). (Naylor (TR), Karen) (Entered: 12/05/2019)

                       65                  Notice of lodgment of Order in Bankruptcy Case Granting
                       (9 pgs)             Motion for Relief From the Automatic Stay Under 11 U.S.C.
                                           Section 362 (Real Property) Filed by Creditor Orange
                                           County Bail Bonds, Inc. (RE: related document(s)52
                                           Amended Motion (related document(s): 50 Notice of
                                           motion and motion for relief from the automatic stay with
                                           supporting declarations REAL PROPERTY RE: 42
                                           Pendant, Irvine, CA 92620 . Fee Amount $181, filed by
                                           Creditor Orange County Bail). (Forsythe, Marc) (Entered:
12/05/2019                                 12/05/2019)

                       66                  Order Granting Motion for Relief From The Automatic Stay
                       (8 pgs)             (REAL PROPERTY) (BNC-PDF) (Related Doc # 52 )
                                           Signed on 12/5/2019 (Steinberg, Elizabeth) (Entered:
12/05/2019                                 12/05/2019)

                       68                  Hearing Held (RE: related document(s)52 Amended Motion
                                           filed by Creditor Orange County Bail Bonds, Inc.) - Grant
                                           motion without 4001(a)(3) waiver under 362(d)(2) (no
                                           equity in property and property not necessary for
12/05/2019                                 reorganization. (Steinberg, Elizabeth) (Entered: 12/10/2019)

                       67                  BNC Certificate of Notice - PDF Document. (RE: related
                       (9 pgs)             document(s)66 Order on Amended Motion (BNC-PDF))
                                           No. of Notices: 1. Notice Date 12/07/2019. (Admin.)
12/07/2019                                 (Entered: 12/07/2019)

                                           Chapter 7 Trustee's Report of No Distribution: I, Karen S
                                           Naylor (TR), having been appointed trustee of the estate of
                                           the above-named debtor(s), report that I have neither
                                           received any property nor paid any money on account of
                                           this estate; that I have made a diligent inquiry into the
                                           financial affairs of the debtor(s) and the location of the
                                           property belonging to the estate; and that there is no
                                           property available for distribution from the estate over and
                                           above that exempted by law. Pursuant to Fed R Bank P
                                           5009, I hereby certify that the estate of the above-named
                                           debtor(s) has been fully administered. I request that I be
                                           discharged from any further duties as trustee. Key
                                           information about this case as reported in schedules filed by
                                           the debtor(s) or otherwise found in the case record: This
                                           case was pending for 7 months. Assets Abandoned (without
                                                                    EXHIBIT 9, PAGE 147
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                                        deducting any secured claims): Not Available, Assets
                                        Exempt: Not Available, Claims Scheduled: Not Available,
                                        Claims Asserted: Not Applicable, Claims scheduled to be
                                        discharged without payment (without deducting the value of
                                        collateral or debts excepted from discharge): Not Available.
                                        Filed by Trustee Karen S Naylor (TR) (RE: related
                                        document(s) 63 Continuance of Meeting of Creditors (Rule
                                        2003(e)) Filed by Trustee Karen S Naylor (TR). 341(a)
                                        Meeting Continued to 01/22/2020 at 01:00 PM at RM 3-
                                        110, 411 W Fourth St., Santa Ana, CA 92701. (Naylor (TR),
                                        Karen) filed by Trustee Karen S Naylor (TR)). (Naylor
01/23/2020                              (TR), Karen) (Entered: 01/23/2020)

                       69                 Notice of motion and motion for relief from automatic stay
                       (11 pgs)           with supporting declarations ACTION IN NON-
                                          BANKRUPTCY FORUM RE: Appeal against pre-petition
                                          judgment with Proof of Service. Fee Amount $181, Filed by
                                          Creditor Orange County Bail Bonds, Inc. (Forsythe, Marc) -
                                          Amended Notice of Motion Will Be Filed to Include Both
                                          Debtor's Names, Per Marc Forsythe, Attorney for Movant -
                                          Modified on 3/10/2020 (Duarte, Tina). (Entered:
03/09/2020                                03/09/2020)

                       70                 Notice of Requirement to Complete Course in Financial
                       (3 pgs)            Management (Auto VAN-105) (BNC). (AutoDocket, User)
03/09/2020                                (Entered: 03/09/2020)

                                          Receipt of Motion for Relief from Stay - ACTION IN
                                          NON-BANKRUPTCY FORUM(8:19-bk-11419-ES)
                                          [motion,nman] ( 181.00) Filing Fee. Receipt number
                                          50795386. Fee amount 181.00. (re: Doc# 69) (U.S.
03/10/2020                                Treasury) (Entered: 03/10/2020)

                       71                 Hearing Set (RE: related document(s)69 Motion for Relief
                                          from Stay - ACTION IN NON-BANKRUPTCY FORUM
                                          filed by Creditor Orange County Bail Bonds, Inc.). The
                                          Hearing date is set for 4/9/2020 at 10:00 AM at Crtrm 5A,
                                          411 W Fourth St., Santa Ana, CA 92701. The case judge is
03/10/2020                                Erithe A. Smith (Duarte, Tina) (Entered: 03/10/2020)

                       72                 Errata Errata re Notice of Motion and Motion for Relief
                       (3 pgs)            from the Automatic Stay Under 11 U.S.C. § 362 with Proof
                                          of Service with Proof of Service Filed by Creditor Orange
                                          County Bail Bonds, Inc. (RE: related document(s)69 Notice
                                          of motion and motion for relief from automatic stay with
                                          supporting declarations ACTION IN NON-BANKRUPTCY
                                          FORUM RE: Appeal against pre-petition judgment with
                                          Proof of Service. Fee Amount $181,). (Forsythe, Marc)
03/10/2020                                (Entered: 03/10/2020)

                                                                  EXHIBIT 9, PAGE 148
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                        73                      BNC Certificate of Notice (RE: related document(s)70
                        (4 pgs)                 Notice of Requirement to Complete Course in Financial
                                                Management (Auto VAN-105) (BNC)) No. of Notices: 1.
03/12/2020                                      Notice Date 03/12/2020. (Admin.) (Entered: 03/12/2020)




                                     PACER Service Center
                                        Transaction Receipt
                                           03/20/2020 10:47:20
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                                                                  Court of Appeal, Fourth Appellate District, Division Three
                                                                            Kevin J. Lane, Clerk/Executive Officer
                                                              Electronically FILED on 3/20/2020 by M. Castaneda, Deputy Clerk




                                                         PROOF OF SERVICE
STATE OF CALIFORNIA
California Court of Appeal, Fourth
                                                   STATE OF CALIFORNIA
Appellate District Division 3
                                               California Court of Appeal, Fourth
                                                   Appellate District Division 3
                        Case Name: Saddozai et al. v. American Contractors
                                   Indemnity Company et al.
                      Case Number: G057149
          Lower Court Case Number: 30-2015-00816859

     At the time of service I was at least 18 years of age and not a party to this legal
1.
     action.

2. My email address used to e-serve: krista@magarianlaw.com

3. I served by email a copy of the following document(s) indicated below:

  Title(s) of papers e-served:
                       Filing Type                  Document Title
BANKRUPTCY - BANKRUPTCY UPDATE LETTER Notice of Status of Bankruptcy
 Service Recipients:
                                                                  Date /
                Person Served            Email Address    Type
                                                                  Time
Krista DiMercurio                  krista@magarianlaw.com e-    3/20/2020
Magarian & DiMercurio, APLC                               Serve 10:57:11
255774                                                          AM

This proof of service was automatically created, submitted and signed on my behalf
through my agreements with TrueFiling and its contents are true to the best of my
information, knowledge, and belief.

I declare under penalty of perjury under the laws of the State of California that the
foregoing is true and correct.

 3/20/2020
 Date


 /s/Krista DiMercurio
 Signature


 DiMercurio, Krista (255774)
 Last Name, First Name (PNum)

                                                                                    EXHIBIT 9, PAGE 150
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    Magarian & DiMercurio, APLC
    Law Firm




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                                                      EXHIBIT 10
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                                39R5kR5367
        nFoL=>@ÿG=%=0H=QÿIoÿK>=D=EFDÿNKGÿ679ÿ4ÿF>*r=GÿKG
       K@p=Gÿ6*@ÿnFn=Gqÿ679ÿ4ÿF>*r=GÿKGÿK@p=Gÿ6*@ÿnFn=Gqÿ679ÿ4
 63 F>*r=GÿKGÿK@p=Gÿ6*@ÿnFn=Gÿ0>ÿ@p=ÿFLK<>@ÿKNÿ6q239J33q38R63R5367               6ÿM&P('
         @GF>*F%@0K>ÿ><LI=Gÿ65988:7kÿF>QÿG=%=0n@ÿ><LI=G
                                65273:88J
  66 =4N0D0>Eÿ@GF>*F%@0K>ÿ        682:7;7ÿG=%=0H=QÿK>ÿ38R58R5367 38R5kR5367
                               37/53/65ÿFLJ                                        lm ÿ
 65 >K@0%=ÿ     KNÿ*@FoÿKNÿnGK%==Q0>E*ÿ4ÿnFG@0%0nF>@ÿN0D=QÿIo
             KGF>E=ÿ%K<>@oÿIF0DÿIK>Q*ÿ0>%JÿK>ÿ38R58R5367 38R58R5367 65ÿM&P('
 62 =4N0D0>Eÿ@GF>*F%@0K>ÿ        ;6332965ÿG=%=0H=QÿK>ÿ3kR53R5367 3kR53R5367
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                        I<G=F<ÿ0>%JÿK>ÿ3kR53R5367                                8ÿM&P('
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 69 37R38R5367ÿF@ÿ37/33/33ÿFLÿ0>ÿ%67ÿF@ÿ%=>@GFDÿ?<*@0%= 3kR52R5367                 lm ÿ
                                 %=>@=GJ
           %F*=ÿLF>FE=L=>@ÿ%K>N=G=>%=ÿ%K>@0><=Qÿ@K
 68 37R38R5367ÿF@ÿ37/33ÿFLÿ0>ÿ@p0*ÿQ=nFG@L=>@ÿn<G*<F>@ÿ@K 3kR52R5367               lm ÿ
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       KEBAÿ<E>ELA<A>@ÿB@E@A<A>@ÿD=FAHÿdeÿ<=FFAJfÿFABF=A
  PQ E>>AgÿIJE>LAÿKI?>@eÿdE=FÿdI>HBÿ=>KTgÿ<=FFAJf MNOPNOPM:R                     ;ÿVWXYZ
                        JIdAJ@ÿFTÿI>ÿMNOPNOPM:R
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                              ::S:RS_QÿE<T                                         bc ÿ
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  PR @jAÿJA]=AkÿMjAEJ=      >Lÿ=BÿBKjAH?FAHÿDIJÿ::OPPOPM:RÿE@ MROMUOPM:R
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  QP >I@=       KAÿIDÿJA<I]EFÿ@IÿDAHAJEFÿKI?J@ÿD=FAHÿde
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  Q` @jAÿKEBAÿ=BÿJAEBB=L>AHÿ@Iÿ@jAÿI<>=d?BÿKEFA>HEJT ::O:NOPM:R                    bc ÿ
  Q; <=>?@ABÿD=>EF=GAHÿMDRIJÿ       KjE<dAJBÿkIJ[ÿ::O:NOPM:R ::O:NOPM:R
                                 SQ:SMMÿE<T                                      :ÿVWXYZ
  QN KFAJ[\BÿKAJ@=D=KE@AÿIDÿ<E=F=>LOAFAK@JI>=KÿBAJ]=KA ::O:NOPM:R                PÿVWXYZ
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                       d?JAE?ÿ=>KTÿI>ÿ::OP;OPM:R                                 _ÿVWXYZ
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  _P D=FAHÿdeÿ<=FFAJfÿFABF=AÿE>>AgÿIJE>LAÿKI?>@eÿdE=F ::OP`OPM:R                 PÿVWXYZ
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89=8@9ÿ;DD9ÿS@889>                                           R9H9DR;DG          IJKLMKLINO
>PB9>Gÿ8EÿS@889>                                             R9H9DR;DG          IJKLMKLINO
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                                    U.S. Bankruptcy Court
                           Central District of California (Santa Ana)
                           Adversary Proceeding #: 8:19-ap-01187-ES

  Assigned to: Erithe A. Smith                              Date Filed: 09/18/19
  Lead BK Case: 19-12411
  Lead BK Title: Orange County Bail Bonds, Inc.
  Lead BK Chapter: 11
  Demand:
  Nature[s] of Suit: 01 Determination of removed claim or cause


 Plaintiff
 -----------------------
 Legal Service Bureau Inc                            represented by Timothy C Aires
 dba Global Fugitive Recovery                                       Aires Law Firm
                                                                    6 Hughes, Ste 205
                                                                    Irvine, CA 92618
                                                                    949-718-2020
                                                                    Fax : 949-718-2021
                                                                    Email: tca@arlawyers.com

                                                                   D Edward Hays
                                                                   Marshack Hays LLP
                                                                   870 Roosevelt Ave
                                                                   Irvine, CA 92620
                                                                   949-333-7777
                                                                   Fax : 949-333-7778
                                                                   Email: ehays@marshackhays.com


 V.

 Defendant
 -----------------------
 Leslie Anne Miller                                  represented by Leslie Anne Miller
 dba Orange County Bail Bonds                                       PRO SE




 Defendant
 -----------------------
 Robert L Miller                                     represented by Robert L Miller



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 dba Orange County Bail Bonds                                      PRO SE




 Defendant
 -----------------------
 Orange County Bail Bonds Inc.                      represented by Marc C Forsythe
                                                                   Goe & Forsythe LLP
                                                                   18101 Von Karman Ave Ste 1200
                                                                   Irvine, CA 92612
                                                                   949-798-2460
                                                                   Fax : 949-955-9437
                                                                   Email: kmurphy@goeforlaw.com
                                                                   LEAD ATTORNEY


 U.S. Trustee
 -----------------------
 United States Trustee (SA)
 411 W Fourth St., Suite 7160
 Santa Ana, CA 92701-4593
 (714) 338-3400


   Filing Date                   #                                Docket Text

                                1             Adversary case 8:19-ap-01187. Notice of Removal of
                                (13 pgs)      Civil Action Pursuant to 28 U.S.C. § 1452 by Orange
                                              County Bail Bonds, Inc.. Nature of Suit: (01
                                              (Determination of removed claim or cause))
  09/18/2019                                  (Forsythe, Marc) (Entered: 09/18/2019)

                                2             Notice of Status Conference Filed by Plaintiff Orange
                                (2 pgs)       County Bail Bonds, Inc. (RE: related document(s)1
                                              Adversary case 8:19-ap-01187. Notice of Removal of
                                              Civil Action Pursuant to 28 U.S.C. § 1452 by Orange
                                              County Bail Bonds, Inc.. Nature of Suit: (01
                                              (Determination of removed claim or cause)) filed by
                                              Plaintiff Orange County Bail Bonds, Inc.). (Forsythe,
  09/18/2019                                  Marc) (Entered: 09/18/2019)

                                3             Proof of service Notice of Federal Court of Removal
                                (2 pgs)       of Civil Action From State Court Pursuant to 28
                                              U.S.C. § 1452 Filed by Plaintiff Orange County Bail
                                              Bonds, Inc. (RE: related document(s)1 Notice of
  09/18/2019                                  Removal). (Forsythe, Marc) (Entered: 09/18/2019)




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  09/19/2019                 4                Request for courtesy Notice of Electronic Filing
                             (1 pg)           (NEF) Filed by Riddles, Ryan. (Riddles, Ryan)
                                              (Entered: 09/19/2019)

                             5                Motion and Notice of Motion for Entry of Order
                             (38 pgs)         Enjoining Removed Litigation as to Non-Debtor Co-
                                              Defendants Pursuant to 11 U.S.C. § 105(a);
                                              Memorandum of Points and Authorities; and
                                              Declaration of Robert L. Miller in Support Thereof
                                              Filed by Debtor In Possession Orange County Bail
                                              Bonds Inc., Defendant Orange County Bail Bonds
  09/19/2019                                  Inc. (Forsythe, Marc) (Entered: 09/19/2019)

                             6                Order For Status Conference with Certificate of
                             (2 pgs)          Mailing. Status Conference Set For: 11/7/2019 at 9:30
                                              a.m., Courtroom 5A, 411 W. Fourth Street, Santa
                                              Ana, CA 92701 (BNC-PDF) Signed on 9/19/2019
                                              (RE: related document(s)1 Notice of Removal).
  09/19/2019                                  (Steinberg, Elizabeth) (Entered: 09/19/2019)

                             7                Hearing Set (RE: related document(s)1 Notice of
                                              Removal) Status hearing to be held on 11/7/2019 at
                                              09:30 AM at Crtrm 5A, 411 W Fourth St., Santa Ana,
                                              CA 92701. The case judge is Erithe A. Smith
  09/19/2019                                  (Steinberg, Elizabeth) (Entered: 09/19/2019)

                             8                Hearing Set (RE: related document(s)5 Motion for
                                              entry of order enjoining removed litigation as to Non-
                                              Debtor Co-Defendants Pursuant to 11 U.S.C. Section
                                              105(a) filed by Defendant Orange County Bail Bonds
                                              Inc.) The Hearing date is set for 10/10/2019 at 10:30
                                              AM at Crtrm 5A, 411 W Fourth St., Santa Ana, CA
                                              92701. The case judge is Erithe A. Smith (Steinberg,
  09/19/2019                                  Elizabeth) (Entered: 09/19/2019)

                             9                Proof of service of Order for Status Conference Filed
                             (4 pgs)          by Defendant Orange County Bail Bonds Inc. (RE:
                                              related document(s)6 Order (Generic) (BNC-PDF), 7
                                              Hearing (Adv Other) Set). (Forsythe, Marc) (Entered:
  09/20/2019                                  09/20/2019)

                             10               BNC Certificate of Notice - PDF Document. (RE:
                             (3 pgs)          related document(s)6 Order (Generic) (BNC-PDF))
                                              No. of Notices: 0. Notice Date 09/21/2019. (Admin.)
  09/21/2019                                  (Entered: 09/21/2019)

  09/23/2019                 11               Motion for Remand FOR ORDER REMANDING
                             (15 pgs)         ADVERSARY PROCEEDING BACK TO STATE




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                                              COURT AND REQUIRING PAYMENT OF $3,325.00
                                              BY DEBTOR ORANGE COUNTY BAIL BONDS INC.,
                                              LESLIE MILLER, ROBERT MILLER, AND MARC C.
                                              FORSYTHE, JOINTLY AND SEVERALLY, AS AND
                                              FOR JUST COSTS AND ACTUAL EXPENSES,
                                              INCLUDING ATTORNEY FEES, INCURRED AS A
                                              RESULT OF REMOVAL Filed by Plaintiff Legal
                                              Service Bureau Inc (Aires, Timothy) (Entered:
                                              09/23/2019)

                             12               Hearing Set (RE: related document(s)11 Motion for
                                              Order Remanding Adversary Proceeding Back to
                                              State Court and Requiring Payment of $3,325.00 by
                                              Debtor Orange County Bail Bonds Inc., Leslie Miller,
                                              Robert Miller, and Marc C. Forsythe, Jointly and
                                              Severally, as and for Just Costs and Actual Expenses,
                                              Including Attorney Fees, Incurred as a Result of
                                              Removal filed by Plaintiff Legal Service Bureau Inc).
                                              The Hearing date is set for 10/17/2019 at 10:30 AM at
                                              Crtrm 5A, 411 W Fourth St., Santa Ana, CA 92701.
                                              The case judge is Erithe A. Smith (Duarte, Tina)
  09/23/2019                                  (Entered: 09/23/2019)

                             13               Opposition to (related document(s): 5 Motion and
                             (205 pgs)        Notice of Motion for Entry of Order Enjoining
                                              Removed Litigation as to Non-Debtor Co-Defendants
                                              Pursuant to 11 U.S.C. § 105(a); Memorandum of
                                              Points and Authorities; and Declaration of Robert L.
                                              Miller in Support Thereof filed by Defendant Orange
                                              County Bail Bonds Inc.) Opposition to Motion for
                                              Entry of an Order Enjoining Removed Action as to
                                              Non-Debtors Co-Defendants Pursuant to 11 U.S.C.
                                              Section 105(a); Declarations of D. Edward Hays and
                                              Dan Escamilla; with Proof of Service Filed by
                                              Plaintiff Legal Service Bureau Inc (Hays, D)
  09/26/2019                                  (Entered: 09/26/2019)

                             14               Reply to (related document(s): 13 Opposition filed by
                             (14 pgs)         Plaintiff Legal Service Bureau Inc) Reply to
                                              Opposition to Motion for Enry of an Order Enjoining
                                              REmoved Action as to Non-Debtor Co-Defendants
                                              Pursuant to 11 U.S.C. § 105(a); Request for Judicial
                                              Notice Thereof and Proof of Service Filed by
                                              Defendant Orange County Bail Bonds Inc. (Forsythe,
  10/03/2019                                  Marc) (Entered: 10/03/2019)

  10/03/2019                 15               Opposition to (related document(s): 11 Motion for
                             (8 pgs)          Remand FOR ORDER REMANDING ADVERSARY




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                                              PROCEEDING BACK TO STATE COURT AND
                                              REQUIRING PAYMENT OF $3,325.00 BY DEBTOR
                                              ORANGE COUNTY BAIL BONDS INC., LESLIE
                                              MILLER, ROBERT MILLER, AND MARC C.
                                              FORSYTHE, JOINTLY AND SEVERALLY, AS AND
                                              FOR JUST filed by Plaintiff Legal Service Bureau
                                              Inc) Opposition to Motion for Order Remanding
                                              Adversary Proceeding Back to State Court with Proof
                                              of Service Filed by Defendant Orange County Bail
                                              Bonds Inc. (Forsythe, Marc) (Entered: 10/03/2019)

                             16               Reply to (related document(s): 11 Motion for Remand
                             (7 pgs)          FOR ORDER REMANDING ADVERSARY
                                              PROCEEDING BACK TO STATE COURT AND
                                              REQUIRING PAYMENT OF $3,325.00 BY DEBTOR
                                              ORANGE COUNTY BAIL BONDS INC., LESLIE
                                              MILLER, ROBERT MILLER, AND MARC C.
                                              FORSYTHE, JOINTLY AND SEVERALLY, AS AND
                                              FOR JUST filed by Plaintiff Legal Service Bureau Inc,
                                              15 Opposition filed by Defendant Orange County Bail
                                              Bonds Inc.) Filed by Plaintiff Legal Service Bureau
  10/03/2019                                  Inc (Aires, Timothy) (Entered: 10/03/2019)

                             17               Hearing Continued (RE: related document(s)5 Motion
                                              for Entry of Order Enjoining Removed Litigation as
                                              to Non-Debtor Co-Defendants Pursuant to 11 U.S.C.
                                              Section 105(a), filed by Defendant Orange County
                                              Bail Bonds Inc.). The Hearing is CONTINUED TO
                                              10/17/2019 at 10:30 AM at Crtrm 5A, 411 W Fourth
                                              St., Santa Ana, CA 92701, Per Hearing Held
                                              10/3/2019. The case judge is Erithe A. Smith (Duarte,
  10/10/2019                                  Tina) (Entered: 10/11/2019)

                             18               Notice of Documents filed in State Court Action Filed
                             (141 pgs)        by Defendant Orange County Bail Bonds Inc. (RE:
                                              related document(s)1 Adversary case 8:19-ap-01187.
                                              Notice of Removal of Civil Action Pursuant to 28
                                              U.S.C. § 1452 by Orange County Bail Bonds, Inc..
                                              Nature of Suit: (01 (Determination of removed claim
  10/15/2019                                  or cause))). (Forsythe, Marc) (Entered: 10/15/2019)

  10/17/2019                 19               Hearing Held (RE: related document(s)11 Plaintiff's
                                              Motion for Order Remanding Adversary Proceeding
                                              Back to State Court and Requiring Payment of
                                              $3,325.00 by Orange County Bail Bonds Inc., Leslie
                                              Miller, Robert Miller, and Marc C. Forsythe, Jointly
                                              and Severally, as and for Just Costs and Actual
                                              Expenses, Including Attorney Fees, Incurred as a




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                                               Result of Removal, filed by Plaintiff Legal Service
                                               Bureau Inc) - MOTION GRANTED TO REMAND
                                               THE ENTIRE MATTER UNDER 28 USC 1452(b)
                                               (Duarte, Tina) (Entered: 10/21/2019)

                             20                Hearing Held (RE: related document(s)5 Motion for
                                               Entry of Order Enjoining Removed Litigation as to
                                               Non-Debtor Co-Defendants Pursuant to 11 U.S.C.
                                               Section 105(a), filed by Defendant Orange County
                                               Bail Bonds Inc.) - MOTION DENIED (Duarte, Tina)
  10/17/2019                                   (Entered: 10/21/2019)

                             21                Notice of lodgment Filed by Plaintiff Legal Service
                             (11 pgs)          Bureau Inc (RE: related document(s)5 Motion and
                                               Notice of Motion for Entry of Order Enjoining
                                               Removed Litigation as to Non-Debtor Co-Defendants
                                               Pursuant to 11 U.S.C. § 105(a); Memorandum of
                                               Points and Authorities; and Declaration of Robert L.
                                               Miller in Support Thereof). (Hays, D) (Entered:
  10/23/2019                                   10/23/2019)

                             22                Order Denying Motion for Entry of an Order
                             (6 pgs)           Enjoining Removed Action as to Non-Debtor Co-
                                               Defendants Pursuant to 11 U.S.C. Section 105(a)
                                               (BNC-PDF) (Related Doc # 5 ) Signed on 11/4/2019
  11/04/2019                                   (Duarte, Tina) (Entered: 11/04/2019)

                             23                BNC Certificate of Notice - PDF Document. (RE:
                             (7 pgs)           related document(s)22 Order on Generic Motion
                                               (BNC-PDF)) No. of Notices: 0. Notice Date
  11/06/2019                                   11/06/2019. (Admin.) (Entered: 11/06/2019)

                             24                Status Conference Hearing Held (RE: related
                                               document(s)1 Notice of Removal) - OFF
                                               CALENDAR; Motion to Remand Granted Per
                                               Hearing Held on 10/17/2019. (Duarte, Tina) (Entered:
  11/07/2019                                   11/14/2019)

  11/18/2019                 25                Notice of lodgment of Order Granting Motion for
                             (7 pgs; 2 docs)   Order Remanding Adversary Proceeding Back to
                                               State Court Filed by Plaintiff Legal Service Bureau
                                               Inc (RE: related document(s)11 Motion for Remand
                                               FOR ORDER REMANDING ADVERSARY
                                               PROCEEDING BACK TO STATE COURT AND
                                               REQUIRING PAYMENT OF $3,325.00 BY DEBTOR
                                               ORANGE COUNTY BAIL BONDS INC., LESLIE
                                               MILLER, ROBERT MILLER, AND MARC C.
                                               FORSYTHE, JOINTLY AND SEVERALLY, AS AND




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                                                                      EXHIBIT 11, PAGE 160
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                                                  FOR JUST COSTS AND ACTUAL EXPENSES,
                                                  INCLUDING ATTORNEY FEES, INCURRED AS A
                                                  RESULT OF REMOVAL Filed by Plaintiff Legal
                                                  Service Bureau Inc filed by Plaintiff Legal Service
                                                  Bureau Inc). (Attachments: # 1 Proposed Order)
                                                  (Aires, Timothy) (Entered: 11/18/2019)

                                26                Order Granting Motion For Order Remanding
                                (2 pgs)           Adversary Proceeding Back to State Court. This
                                                  Adversary Proceeding is Remanded Back to the
                                                  Orange County Superior Court (Case No. 30-2019-
                                                  01065744-CU-EN-CJC). [See Order for Further
                                                  Ruling] (BNC-PDF) (Related Doc # 11 ) Signed on
  11/27/2019                                      11/27/2019 (Duarte, Tina) (Entered: 11/27/2019)

                                27                Certificate of Service (RE: related document(s)26
                                (3 pgs)           Order on Motion For Remand (BNC-PDF)). (Duarte,
  11/27/2019                                      Tina) (Entered: 11/27/2019)

                                28                BNC Certificate of Notice - PDF Document. (RE:
                                (3 pgs)           related document(s)26 Order on Motion For Remand
                                                  (BNC-PDF)) No. of Notices: 0. Notice Date
  11/29/2019                                      11/29/2019. (Admin.) (Entered: 11/29/2019)




                                          PACER Service Center
                                            Transaction Receipt
                                             04/16/2020 15:08:41
                     PACER                               Client
                                   mh4052870:3453976:0             9999-001
                     Login:                              Code:
                                                                   8:19-ap-01187-ES Fil
                                                                   or Ent: filed From:
                                                                   1/17/2011 To:
                                                                   4/16/2020 Doc From: 0
                                                         Search
                     Description: Docket Report                    Doc To: 99999999
                                                         Criteria:
                                                                   Term: included
                                                                   Format: html Page
                                                                   counts for documents:
                                                                   included
                     Billable
                                   4                     Cost:     0.40
                     Pages:




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                                                          NoFeeRequired, Subchapter_V, SmBus


                                    U.S. Bankruptcy Court
                           Central District of California (Santa Ana)
                           Bankruptcy Petition #: 8:19-bk-12411-ES
                                                                Date filed: 06/21/2019
 Assigned to: Erithe A. Smith                                 341 meeting: 03/26/2020
 Chapter 11
 Voluntary
 Asset



 Debtor                                              represented by Marc C Forsythe
 Orange County Bail Bonds, Inc.                                     18101 Von Karman Avenue Ste
 P.O. Box 4423                                                      1200
 Santa Ana, CA 92702                                                Irvine, CA 92612
 ORANGE-CA                                                          949-798-2460
 Tax ID / EIN: XX-XXXXXXX                                           Fax : 949-955-9437
                                                                    Email: kmurphy@goeforlaw.com

                                                                   Ryan S Riddles
                                                                   Goe & Forsythe, LLP
                                                                   18101 Von Karman Ave Ste
                                                                   1200
                                                                   Irvine, CA 92612
                                                                   949-798-2460
                                                                   Fax : 949-955-9437
                                                                   Email: rriddles@goeforlaw.com

 Trustee
 Mark M Sharf (TR)
 6080 Center Drive #600
 Los Angeles, CA 90045
 818-961-7170

 U.S. Trustee                                        represented by Frank Cadigan
 United States Trustee (SA)                                         411 W 4th St Ste 7160
 411 W Fourth St., Suite 7160                                       Santa Ana, CA 92701
 Santa Ana, CA 92701-4593                                           714-338-3405
 (714) 338-3400                                                     Fax : 714-338-3421
                                                                    Email: frank.cadigan@usdoj.gov

                                                                   Queenie K Ng
                                                                   411 West Fourth St.
                                                                   Suite 7160
                                                                   Santa Ana, CA 92701




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                                                                    714-338-3403
                                                                    Fax : 714-338-3421
                                                                    Email: queenie.k.ng@usdoj.gov


   Filing Date                   #                                 Docket Text

                             1                  Chapter 11 Voluntary Petition Non-Individual. Fee
                             (12 pgs; 3 docs)   Amount $1717 Filed by Orange County Bail Bonds,
                                                Inc. List of Equity Security Holders due 07/5/2019.
                                                Summary of Assets and Liabilities (Form 106Sum or
                                                206Sum ) due 07/5/2019. Schedule A/B: Property
                                                (Form 106A/B or 206A/B) due 07/5/2019. Schedule
                                                D: Creditors Who Have Claims Secured by Property
                                                (Form 106D or 206D) due 07/5/2019. Schedule E/F:
                                                Creditors Who Have Unsecured Claims (Form
                                                106E/F or 206E/F) due 07/5/2019. Schedule G:
                                                Executory Contracts and Unexpired Leases (Form
                                                106G or 206G) due 07/5/2019. Schedule H: Your
                                                Codebtors (Form 106H or 206H) due 07/5/2019.
                                                Declaration About an Individual Debtors Schedules
                                                (Form 106Dec) due 07/5/2019. Statement of
                                                Financial Affairs (Form 107 or 207) due 07/5/2019.
                                                Statement of Related Cases (LBR Form F1015-2)
                                                due 07/5/2019. Disclosure of Compensation of
                                                Attorney for Debtor (Form 2030) due 07/5/2019.
                                                Incomplete Filings due by 07/5/2019. (Forsythe,
                                                Marc) WARNING: See docket entry 3 for
                                                correction. Case is also deficient for: Corporate
                                                Resolution Authorizing Filing of Petition due
                                                7/5/2019. Modified on 6/21/2019 (Law, Tamika).
                                                DEADLINE TERMINATED: DECLARATION RE
                                                SCHEDULES 106, DEFICIENT FOR DECL. NON-
                                                INDIV FORM 202 Modified on 7/2/2019 (Beezer,
  06/21/2019                                    Cynthia). (Entered: 06/21/2019)

                                                Receipt of Voluntary Petition (Chapter 11)(8:19-bk-
                                                12411) [misc,volp11] (1717.00) Filing Fee. Receipt
                                                number 49266598. Fee amount 1717.00. (re: Doc#
  06/21/2019                                    1) (U.S. Treasury) (Entered: 06/21/2019)

                                                Set Case Commencement Deficiency Deadlines
                                                (ccdn) (RE: related document(s)1 Voluntary Petition
                                                (Chapter 11) filed by Debtor Orange County Bail
                                                Bonds, Inc.) Corporate Resolution Authorizing
                                                Filing of Petition due 7/5/2019. (Law, Tamika)
  06/21/2019                                    (Entered: 06/21/2019)

  06/21/2019                 2



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                                               Notice to Filer of Correction Made/No Action
                                               Required: Incorrect schedules /statements
                                               recorded as deficient. THE PROPER
                                               DEFICIENCY HAS BEEN ISSUED. (RE: related
                                               document(s)1 Voluntary Petition (Chapter 11) filed
                                               by Debtor Orange County Bail Bonds, Inc.) (Law,
                                               Tamika) (Entered: 06/21/2019)

                             3                 BNC Certificate of Notice (RE: related document(s)
                             (2 pgs)           1 Voluntary Petition (Chapter 11) filed by Debtor
                                               Orange County Bail Bonds, Inc.) No. of Notices: 1.
                                               Notice Date 06/23/2019. (Admin.) (Entered:
  06/23/2019                                   06/23/2019)

                             4                 BNC Certificate of Notice (RE: related document(s)
                             (2 pgs)           1 Voluntary Petition (Chapter 11) filed by Debtor
                                               Orange County Bail Bonds, Inc.) No. of Notices: 1.
                                               Notice Date 06/23/2019. (Admin.) (Entered:
  06/23/2019                                   06/23/2019)

                             5                 ORDER: (1) SETTING HEARING ON STATUS
                             (4 pgs)           OF CHAPTER 11 CASE; AND (2) REQUIRING
                                               REPORT ON STATUS OF CHAPTER 11 CASE
                                               [Status conference; August 22, 2019 at 10:30am in
                                               Courtroom 5A] (BNC-PDF) (Related Doc # 1 )
                                               Signed on 6/25/2019 (Reid, Rick) (Entered:
  06/25/2019                                   06/25/2019)

                             6                 Hearing Set (related document # 1). Status
                                               Conference hearing on Status of Chapter 11 Case;
                                               and (2) Requiring Report on Status of Chapter 11
                                               Case to be held on 8/22/2019 at 10:30 AM at Crtrm
                                               5A, 411 W Fourth St., Santa Ana, CA 92701. The
                                               case judge is Erithe A. Smith (Duarte, Tina)
  06/25/2019                                   (Entered: 06/25/2019)

                                               Receipt of Certification Fee - $11.00 by 01. Receipt
  06/25/2019                                   Number 80073587. (admin) (Entered: 06/25/2019)

                                               Receipt of Photocopies Fee - $5.00 by 01. Receipt
  06/25/2019                                   Number 80073587. (admin) (Entered: 06/25/2019)

                             7                 Meeting of Creditors 341(a) meeting to be held on
                             (2 pgs)           7/23/2019 at 01:00 PM at RM 1-159, 411 W Fourth
                                               St., Santa Ana, CA 92701. (Corona, Heidi) (Entered:
  06/26/2019                                   06/26/2019)

  06/27/2019



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                             8                  BNC Certificate of Notice - PDF Document. (RE:
                             (5 pgs)            related document(s)5 Order (Generic) (BNC-PDF))
                                                No. of Notices: 1. Notice Date 06/27/2019. (Admin.)
                                                (Entered: 06/27/2019)

                             9                  BNC Certificate of Notice (RE: related document(s)
                             (3 pgs)            7 Meeting of Creditors Chapter 11) No. of Notices:
                                                11. Notice Date 06/28/2019. (Admin.) (Entered:
  06/28/2019                                    06/28/2019)

                             10                 Notice of Motion and Motion in Individual Ch 11
                             (18 pgs; 2 docs)   Case for Order Employing Professional (LBR
                                                2014-1): Goe & Forsythe, LLP as Attorney for
                                                Debtor Filed by Debtor Orange County Bail Bonds,
                                                Inc. (Attachments: # 1 Notice of Opportunity to
                                                Request a Hearing) (Forsythe, Marc) (Entered:
  07/01/2019                                    07/01/2019)

                             11                 Debtor's Request to Activate Electronic Noticing
                                                (DeBN) Filed by Debtor Orange County Bail Bonds,
  07/01/2019                                    Inc.. (Forsythe, Marc) (Entered: 07/01/2019)

                             12                 Application to Employ Fogg Bookkeeping Service
                             (7 pgs)            as Bookkeeper Filed by Debtor Orange County Bail
  07/01/2019                                    Bonds, Inc. (Forsythe, Marc) (Entered: 07/01/2019)

                             13                 Notice of Opportunity To Request a Hearing On
                             (6 pgs)            Motion (LBR 9013-1(o)) Application to Employ
                                                Fogg Bookkeeping Service as Bookkeeper for Debtor
                                                Filed by Debtor Orange County Bail Bonds, Inc.
                                                (RE: related document(s)12 Application to Employ
                                                Fogg Bookkeeping Service as Bookkeeper Filed by
                                                Debtor Orange County Bail Bonds, Inc.). (Forsythe,
  07/01/2019                                    Marc) (Entered: 07/01/2019)

                             14                 Notice of Setting Insider Compensation for Robert
                             (4 pgs)            Miller Filed by Debtor Orange County Bail Bonds,
  07/01/2019                                    Inc.. (Forsythe, Marc) (Entered: 07/01/2019)

                             15                 Notice of Setting Insider Compensation for Leslie
                             (4 pgs)            Anne Miller Filed by Debtor Orange County Bail
  07/01/2019                                    Bonds, Inc.. (Forsythe, Marc) (Entered: 07/01/2019)

  07/02/2019                 16                 Declaration Under Penalty of Perjury for Non-
                             (40 pgs)           Individual Debtors (Official Form 202) , List of
                                                Equity Security Holders , Statement of Related
                                                Cases (LBR Form 1015-2.1) , Summary of Assets
                                                and Liabilities for Non-Individual (Official Form



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                                               106Sum or 206Sum) , Schedule A/B Non-Individual:
                                               Property (Official Form 106A/B or 206A/B) ,
                                               Schedule D Non-Individual: Creditors Who Have
                                               Claims Secured by Property (Official Form 106D or
                                               206D) , Schedule E/F Non-Individual: Creditors
                                               Who Have Unsecured Claims (Official Form 106F
                                               or 206F) , Schedule G Non-Individual: Executory
                                               Contracts and Unexpired Leases (Official Form
                                               106G or 206G) , Schedule H Non-Individual: Your
                                               Codebtors (Official Form 106H or 206H) , Statement
                                               of Financial Affairs for Non-Individual Filing for
                                               Bankruptcy (Official Form 107 or 207) , Disclosure
                                               of Compensation of Attorney for Debtor (Official
                                               Form 2030) , Verification of Master Mailing List of
                                               Creditors (LBR Form F1007-1) , List of Creditors
                                               (Master Mailing List of Creditors) , Statement of
                                               Corporate Ownership filed. Filed by Debtor Orange
                                               County Bail Bonds, Inc.. (Forsythe, Marc) (Entered:
                                               07/02/2019)

                             17                Corporate resolution authorizing filing of petitions
                             (1 pg)            Filed by Debtor Orange County Bail Bonds, Inc.
                                               (RE: related document(s) Set Case Commencement
                                               Deficiency Deadlines (ccdn)). (Forsythe, Marc)
  07/02/2019                                   (Entered: 07/02/2019)

                             18                Chapter 11 or Chapter 9 Cases Non-Individual:: List
                             (4 pgs)           of Creditors Who Have the 20 Largest Unsecured
                                               Claims and Are Not Insiders (Form 104 or 204)
                                               AMENDED Filed by Debtor Orange County Bail
  07/03/2019                                   Bonds, Inc.. (Forsythe, Marc) (Entered: 07/03/2019)

                             19                Notice of Change of Address Debtor - Orange
                             (1 pg)            County Bail Bonds, Inc. Filed by Debtor Orange
                                               County Bail Bonds, Inc.. (Forsythe, Marc) (Entered:
  07/03/2019                                   07/03/2019)

                             20                Notice of Change of Address Robert Miller Filed by
                             (1 pg)            Debtor Orange County Bail Bonds, Inc.. (Forsythe,
  07/03/2019                                   Marc) (Entered: 07/03/2019)

                             21                Notice of Change of Address Civic Center Law
                             (1 pg)            Building Filed by Debtor Orange County Bail
  07/03/2019                                   Bonds, Inc.. (Forsythe, Marc) (Entered: 07/03/2019)

  07/03/2019                 22                Proof of service of Notice of Chapter 11 Bankruptcy
                             (5 pgs)           Case (Official Form 309F) Filed by Debtor Orange




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                                               County Bail Bonds, Inc.. (Forsythe, Marc) (Entered:
                                               07/03/2019)

                             23                Proof of service Order: (1) Setting Hearing on
                             (7 pgs)           Status of Chapter 11 Case; and (2) Requiring Report
                                               of Status of Chapter 11 Case Filed by Debtor Orange
                                               County Bail Bonds, Inc. (RE: related document(s)5
                                               Order (Generic) (BNC-PDF)). (Forsythe, Marc)
  07/11/2019                                   (Entered: 07/11/2019)

                             24                Motion AND NOTICE OF MOTION FOR ORDER
                             (9 pgs)           SETTING BAR DATE FOR FILING PROOFS OF
                                               CLAIMS [FRBP 3003(c)(3); LBR 3003-1] Filed by
                                               Debtor Orange County Bail Bonds, Inc. (Forsythe,
  07/12/2019                                   Marc) (Entered: 07/12/2019)

                             25                Order Setting Bar Date for Filing Proofs of Claim
                             (2 pgs)           (September 20, 2019) [See Order for Further
                                               Ruling]. (BNC-PDF) (Related Doc # 24 ) Signed on
  07/15/2019                                   7/15/2019 (Duarte, Tina) (Entered: 07/15/2019)

                             26                Notice of Bar Date for Filing Proofs of Claim in a
                             (5 pgs)           Chapter 11 with Proof of Service Filed by Debtor
                                               Orange County Bail Bonds, Inc.. (Forsythe, Marc)
  07/15/2019                                   (Entered: 07/15/2019)

                             27                Monthly Operating Report. Operating Report
                             (22 pgs)          Number: 1. For the Month Ending June 30, 2019
                                               Filed by Debtor Orange County Bail Bonds, Inc..
  07/17/2019                                   (Forsythe, Marc) (Entered: 07/17/2019)

                             28                BNC Certificate of Notice - PDF Document. (RE:
                             (3 pgs)           related document(s)25 Order on Generic Motion
                                               (BNC-PDF)) No. of Notices: 0. Notice Date
  07/17/2019                                   07/17/2019. (Admin.) (Entered: 07/17/2019)

                             29                Schedule H Non-Individual: Your Codebtors
                             (16 pgs)          (Official Form 106H or 206H) AMENDED,
                                               Statement of Financial Affairs for Non-Individual
                                               Filing for Bankruptcy (Official Form 107 or 207)
                                               AMENDED and Summary of Amended Schedules
                                               and/or Statements [F 107-1.1.AMENDED
                                               SUMMARY Filed by Debtor Orange County Bail
  07/19/2019                                   Bonds, Inc.. (Forsythe, Marc) (Entered: 07/19/2019)

  07/30/2019                 30                Declaration That No Party Requested a Hearing on
                             (16 pgs)          Motion (LBR 9013-1(o)(3)) Filed by Debtor Orange
                                               County Bail Bonds, Inc. (RE: related document(s)12



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                                               Application to Employ Fogg Bookkeeping Service
                                               as Bookkeeper ). (Forsythe, Marc) (Entered:
                                               07/30/2019)

                             31                Declaration That No Party Requested a Hearing on
                             (21 pgs)          Motion (LBR 9013-1(o)(3)) Filed by Debtor Orange
                                               County Bail Bonds, Inc. (RE: related document(s)10
                                               Notice of Motion and Motion in Individual Ch 11
                                               Case for Order Employing Professional (LBR
                                               2014-1): Goe & Forsythe, LLP as Attorney for
  07/30/2019                                   Debtor ). (Forsythe, Marc) (Entered: 07/30/2019)

                             32                Notice of Motion and Motion in Individual Ch 11
                             (13 pgs)          Case for Order Employing Professional (LBR
                                               2014-1): GRIFFITHS, DIEHL & COMPANY, INC.
                                               as Certified Public Accountant Filed by Debtor
                                               Orange County Bail Bonds, Inc. (Forsythe, Marc)
  07/31/2019                                   (Entered: 07/31/2019)

                             33                Notice of Opportunity To Request a Hearing On
                             (7 pgs)           Motion (LBR 9013-1(o)) Filed by Debtor Orange
                                               County Bail Bonds, Inc. (RE: related document(s)32
                                               Notice of Motion and Motion in Individual Ch 11
                                               Case for Order Employing Professional (LBR
                                               2014-1): GRIFFITHS, DIEHL & COMPANY, INC.
                                               as Certified Public Accountant Filed by Debtor
                                               Orange County Bail Bonds, Inc.). (Forsythe, Marc)
  07/31/2019                                   (Entered: 07/31/2019)

                             34                Order Granting Debtor's Application to Employ
                             (2 pgs)           Fogg Bookkeeping Services as its Bookkeeper
                                               (BNC-PDF) (Related Doc # 12) Signed on
  07/31/2019                                   7/31/2019. (Duarte, Tina) (Entered: 07/31/2019)

                             35                Order Granting Application for Authority to Employ
                             (2 pgs)           Goe & Forsythe, LLP as General Counsel (LBR
                                               2014-1) (BNC-PDF) Goe & Forsythe, LLP Effective
                                               as of the Date this Bankruptcy Case was Filed (June
                                               21, 2019) (Related Doc # 10) Signed on 7/31/2019.
  07/31/2019                                   (Duarte, Tina) (Entered: 07/31/2019)

  08/01/2019                 36                Proof of service SUPPLEMENTAL PROOF OF
                             (7 pgs)           SERVICE ORDER: (1) SETTING HEARING ON
                                               STATUS OF CHAPTER 11 CASE; AND (2)
                                               REQUIRING REPORT ON STATUS OF CHAPTER
                                               11 CASE Filed by Debtor Orange County Bail
                                               Bonds, Inc. (RE: related document(s)5 Order




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                                                (Generic) (BNC-PDF)). (Forsythe, Marc) (Entered:
                                                08/01/2019)

                             37                 Notice of Setting Insider Compensation for James
                             (6 pgs)            William Miller Filed by Debtor Orange County Bail
  08/01/2019                                    Bonds, Inc.. (Forsythe, Marc) (Entered: 08/01/2019)

                             38                 BNC Certificate of Notice - PDF Document. (RE:
                             (3 pgs)            related document(s)34 Order on Application to
                                                Employ (BNC-PDF)) No. of Notices: 1. Notice Date
  08/02/2019                                    08/02/2019. (Admin.) (Entered: 08/02/2019)

                             39                 BNC Certificate of Notice - PDF Document. (RE:
                             (3 pgs)            related document(s)35 Order on Motion For Order
                                                Employing Professional (Ch 11)-(LBR 2014-1)
                                                (BNC-PDF)) No. of Notices: 1. Notice Date
  08/02/2019                                    08/02/2019. (Admin.) (Entered: 08/02/2019)

                             40                 Status report Chapter 11 Filed by Debtor Orange
                             (12 pgs; 3 docs)   County Bail Bonds, Inc. (RE: related document(s)5
                                                Order (Generic) (BNC-PDF)). (Attachments: # 1
                                                Declaration of Robert L. Miller Re. Projected
                                                Income and Expenses for the First Six Months of the
                                                Case # 2 Proof of Service) (Forsythe, Marc)
  08/08/2019                                    (Entered: 08/08/2019)

                             41                 Monthly Operating Report. Operating Report
                             (42 pgs)           Number: 2. For the Month Ending July 31, 2019
                                                Filed by Debtor Orange County Bail Bonds, Inc..
  08/15/2019                                    (Forsythe, Marc) (Entered: 08/15/2019)

                             42                 Notice of motion and motion for relief from
                             (28 pgs)           automatic stay with supporting declarations
                                                ACTION IN NON-BANKRUPTCY FORUM RE:
                                                ACTION IN NONBANKRUPTCY FORUM . Fee
                                                Amount $181, Filed by Creditor Legal Service
                                                Bureau Inc. dba Global Fugitive Recovery (Aires,
  08/21/2019                                    Timothy) (Entered: 08/21/2019)

                                                Receipt of Motion for Relief from Stay - ACTION
                                                IN NON-BANKRUPTCY FORUM(8:19-bk-12411-
                                                ES) [motion,nman] ( 181.00) Filing Fee. Receipt
                                                number 49608554. Fee amount 181.00. (re: Doc#
  08/21/2019                                    42) (U.S. Treasury) (Entered: 08/21/2019)

  08/21/2019                 43                 Hearing Set (RE: related document(s)42 Motion for
                                                Relief from Stay - ACTION IN NON-
                                                BANKRUPTCY FORUM filed by Creditor Legal



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                                               Service Bureau Inc. dba Global Fugitive Recovery).
                                               The Hearing date is set for 10/3/2019 at 10:00 AM at
                                               Crtrm 5A, 411 W Fourth St., Santa Ana, CA 92701.
                                               The case judge is Erithe A. Smith (Duarte, Tina)
                                               (Entered: 08/21/2019)

                             44                Declaration That No Party Requested a Hearing on
                             (24 pgs)          Motion (LBR 9013-1(o)(3)) Filed by Debtor Orange
                                               County Bail Bonds, Inc. (RE: related document(s)32
                                               Notice of Motion and Motion in Individual Ch 11
                                               Case for Order Employing Professional (LBR
                                               2014-1): GRIFFITHS, DIEHL & COMPANY, INC.
                                               as Certified Public Accountant ). (Forsythe, Marc)
  08/21/2019                                   (Entered: 08/21/2019)

                             45                Order Granting Debtor's Application to Employ
                             (2 pgs)           Griffiths, Diehl & Company, Inc., as its Certified
                                               Public Accountants (LBR 2014-1) (BNC-PDF)
                                               Griffiths, Diehl & Company, Inc. (Related Doc # 32)
                                               Signed on 8/22/2019. (Duarte, Tina) (Entered:
  08/22/2019                                   08/22/2019)

                             46                Chapter 11 Status Conference Order. The Status
                             (2 pgs)           Conference is CONTINUED TO October 10, 2019
                                               at 10:30 a.m. (BNC-PDF) (Related Doc # 1 ) Signed
  08/22/2019                                   on 8/22/2019 (Duarte, Tina) (Entered: 08/22/2019)

                             47                Amended Chapter 11 Status Conference Order. The
                             (2 pgs)           Status Confrence is CONTINUED TO October 17,
                                               2019 at 10:30 a.m. An Updated Status Report Shall
                                               be Filed by October 3, 2019 Unless a Motion to
                                               Extend Exclusivity is Timely Filed and Also Set for
                                               October 17, 2019 (BNC-PDF) (Related Doc # 1 )
                                               Signed on 8/22/2019 (Duarte, Tina) (Entered:
  08/22/2019                                   08/22/2019)

                             48                Hearing Continued (related document # 1). Status
                                               Conference hearing on Status of Chapter 11 Case;
                                               and (2) Requiring Report on Status of Chapter 11
                                               Case CONTINUED TO 10/17/2019 at 10:30 AM at
                                               Crtrm 5A, 411 W Fourth St., Santa Ana, CA 92701
                                               -- COUNSEL FOR DEBTOR MAY SET A
                                               HEARING ON A MOTION FOR EXTENSION OF
                                               EXCLUSIVITY FOR THE SAME DATE/TIME.
                                               The case judge is Erithe A. Smith (Duarte, Tina)
  08/22/2019                                   (Entered: 08/23/2019)

  08/24/2019




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                             49                BNC Certificate of Notice - PDF Document. (RE:
                             (3 pgs)           related document(s)45 Order on Motion For Order
                                               Employing Professional (Ch 11)-(LBR 2014-1)
                                               (BNC-PDF)) No. of Notices: 1. Notice Date
                                               08/24/2019. (Admin.) (Entered: 08/24/2019)

                             50                BNC Certificate of Notice - PDF Document. (RE:
                             (3 pgs)           related document(s)46 Order (Generic) (BNC-PDF))
                                               No. of Notices: 1. Notice Date 08/24/2019. (Admin.)
  08/24/2019                                   (Entered: 08/24/2019)

                             51                BNC Certificate of Notice - PDF Document. (RE:
                             (3 pgs)           related document(s)47 Amended Order (BNC-PDF))
                                               No. of Notices: 1. Notice Date 08/24/2019. (Admin.)
  08/24/2019                                   (Entered: 08/24/2019)

                             52                Notice of Hearing Notice of Continued Chapter 11
                             (3 pgs)           Status Conference with proof of service Filed by
                                               Debtor Orange County Bail Bonds, Inc.. (Forsythe,
  08/26/2019                                   Marc) (Entered: 08/26/2019)

                             53                Notice of Hearing Amended Notice Of Continued
                             (3 pgs)           Chapter 11 Status Conference (to correct service
                                               list) with proof of service Filed by Debtor Orange
                                               County Bail Bonds, Inc.. (Forsythe, Marc) (Entered:
  08/26/2019                                   08/26/2019)

                             54                Motion to Extend Exclusivity Period for Filing a
                             (15 pgs)          Chapter 11 Plan and Disclosure Statement and
                                               Notice of Motion for Order Extending Debtor's
                                               Exclusivity Periods for Filing a Plan of
                                               Reorganization and Obtaining Acceptance of a Plan
                                               of Reorganization Pursuant to 11 U.S.C. Section
                                               1121; Memorandum of Points and Authorities; and
                                               Declaration of Robert L. Miller in Support Thereof
                                               Filed by Debtor Orange County Bail Bonds, Inc.
  09/13/2019                                   (Forsythe, Marc) (Entered: 09/13/2019)

                             55                Monthly Operating Report. Operating Report
                             (23 pgs)          Number: 3. For the Month Ending August 31, 2019
                                               Filed by Debtor Orange County Bail Bonds, Inc..
  09/13/2019                                   (Forsythe, Marc) (Entered: 09/13/2019)

  09/18/2019                 56                Adversary case 8:19-ap-01187. Notice of Removal
                             (13 pgs)          of Civil Action Pursuant to 28 U.S.C. § 1452 by
                                               Orange County Bail Bonds, Inc.. Nature of Suit: (01
                                               (Determination of removed claim or cause))
                                               (Forsythe, Marc) (Entered: 09/18/2019)




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                             57                Request for courtesy Notice of Electronic Filing
                             (1 pg)            (NEF) Filed by Masud, Laila. (Masud, Laila)
  09/18/2019                                   (Entered: 09/18/2019)

                             58                Request for courtesy Notice of Electronic Filing
                             (1 pg)            (NEF) Filed by Hays, D. (Hays, D) (Entered:
  09/18/2019                                   09/18/2019)

                             59                Request for courtesy Notice of Electronic Filing
                             (1 pg)            (NEF) Filed by Riddles, Ryan. (Riddles, Ryan)
  09/18/2019                                   (Entered: 09/18/2019)

                             60                Opposition to (related document(s): 42 Notice of
                             (4 pgs)           motion and motion for relief from automatic stay
                                               with supporting declarations ACTION IN NON-
                                               BANKRUPTCY FORUM RE: ACTION IN
                                               NONBANKRUPTCY FORUM . Fee Amount $181,
                                               filed by Creditor Legal Service Bureau Inc. dba
                                               Global Fugitive Recovery) Filed by Debtor Orange
                                               County Bail Bonds, Inc. (Forsythe, Marc) (Entered:
  09/19/2019                                   09/19/2019)

                             61                Proof of service AMENDED Filed by Debtor Orange
                             (3 pgs)           County Bail Bonds, Inc. (RE: related document(s)60
  09/19/2019                                   Opposition). (Forsythe, Marc) (Entered: 09/19/2019)

                             62                Reply to (related document(s): 42 Notice of motion
                             (12 pgs)          and motion for relief from automatic stay with
                                               supporting declarations ACTION IN NON-
                                               BANKRUPTCY FORUM RE: ACTION IN
                                               NONBANKRUPTCY FORUM . Fee Amount $181,
                                               filed by Creditor Legal Service Bureau Inc. dba
                                               Global Fugitive Recovery, 60 Opposition filed by
                                               Debtor Orange County Bail Bonds, Inc.) Reply in
                                               Support of Motion for Relief from Automatic Stay
                                               (Action in Nonbankruptcy Forum); Request for
                                               Order Remanding Proceeding Back to State Court;
                                               Declaration of Timothy Carl Aires Filed by Creditor
                                               Legal Service Bureau Inc. dba Global Fugitive
  09/20/2019                                   Recovery (Aires, Timothy) (Entered: 09/20/2019)

  09/27/2019                 63                Opposition to (related document(s): 54 Motion to
                             (19 pgs)          Extend Exclusivity Period for Filing a Chapter 11
                                               Plan and Disclosure Statement and Notice of Motion
                                               for Order Extending Debtor's Exclusivity Periods for
                                               Filing a Plan of Reorganization and Obtaining
                                               Acceptance of a Plan of Reorganizat filed by Debtor
                                               Orange County Bail Bonds, Inc.) Notice of



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                                               Opposition and Request for Hearing; Declaration of
                                               D. Edward Hays in Support; with Proof of Service
                                               Filed by Creditor Legal Service Bureau Inc. dba
                                               Global Fugitive Recovery (Hays, D) (Entered:
                                               09/27/2019)

                             64                Notice of Hearing on Legal Services Bureau Inc.,
                             (4 pgs)           dba Global Fugitive Recoverys Objection to
                                               Debtor's Motion for Order Extending Debtor's
                                               Exclusivity Periods for Filing a Plan of
                                               Reorganization and Obtaining Acceptance of a Plan
                                               of Reorganization Pursuant to 11 U.S.C. § 1121
                                               Filed by Debtor Orange County Bail Bonds, Inc.
                                               (RE: related document(s)54 Motion to Extend
                                               Exclusivity Period for Filing a Chapter 11 Plan and
                                               Disclosure Statement and Notice of Motion for
                                               Order Extending Debtor's Exclusivity Periods for
                                               Filing a Plan of Reorganization and Obtaining
                                               Acceptance of a Plan of Reorganization Pursuant to
                                               11 U.S.C. Section 1121; Memorandum of Points and
                                               Authorities; and Declaration of Robert L. Miller in
                                               Support Thereof Filed by Debtor Orange County
                                               Bail Bonds, Inc.). (Forsythe, Marc) (Entered:
  10/02/2019                                   10/02/2019)

                             65                Hearing Set (RE: related document(s)54 Motion for
                                               Order Extending Debtor's Exclusivity Periods for
                                               Filing a Plan of Reorganization and Obtaining
                                               Acceptance of a Plan of Reorganization Pursuant to
                                               11 U.S.C. Section 1121 filed by Debtor Orange
                                               County Bail Bonds, Inc.). The Hearing date is set for
                                               11/7/2019 at 10:30 AM at Crtrm 5A, 411 W Fourth
                                               St., Santa Ana, CA 92701. The case judge is Erithe
  10/02/2019                                   A. Smith (Duarte, Tina) (Entered: 10/02/2019)

                             67                Hearing Continued (RE: related document(s)42
                                               Motion for Relief from Stay - ACTION IN NON-
                                               BANKRUPTCY FORUM filed by Creditor Legal
                                               Service Bureau Inc. dba Global Fugitive Recovery).
                                               The Hearing is CONTINUED TO 10/17/2019 at
                                               10:30 AM at Crtrm 5A, 411 W Fourth St., Santa
                                               Ana, CA 92701, SAME DATE/TIME AS
                                               HEARING ON MOTION TO REMAND. The case
                                               judge is Erithe A. Smith (Duarte, Tina) (Entered:
  10/03/2019                                   10/07/2019)

  10/04/2019                 66                Status report Filed by Debtor Orange County Bail
                             (6 pgs)           Bonds, Inc. (RE: related document(s)1 Voluntary




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                                               Petition (Chapter 11), 48 Hearing (Bk Other)
                                               Continued). (Forsythe, Marc) (Entered: 10/04/2019)

                             68                Chapter 11 Status Conference Order. The Status
                             (2 pgs)           Conference is CONTINUED TO November 7, 2019
                                               at 10:30 a.m. An Updated Status Report is Not
                                               Required (BNC-PDF) (Related Doc # 1 ) Signed on
  10/17/2019                                   10/17/2019 (Duarte, Tina) (Entered: 10/17/2019)

                             71                Hearing Continued (related document # 1). Status
                                               Conference hearing on Status of Chapter 11 Case;
                                               and (2) Requiring Report on Status of Chapter 11
                                               Case is CONTINUED TO 11/7/2019 at 10:30 AM at
                                               Crtrm 5A, 411 W Fourth St., Santa Ana, CA 92701,
                                               same date/time as hearing on Debtor's motion to
                                               extend exclusivity. Updated status report not
                                               required. The case judge is Erithe A. Smith (Duarte,
  10/17/2019                                   Tina) (Entered: 10/21/2019)

                             72                Hearing Held (RE: related document(s)42 Motion
                                               for Relief from Stay - ACTION IN NON-
                                               BANKRUPTCY FORUM filed by Creditor Legal
                                               Service Bureau Inc. dba Global Fugitive Recovery) -
                                               MOTION GRANTED WITHOUT 4001(a)(3)
  10/17/2019                                   WAIVER. (Duarte, Tina) (Entered: 10/21/2019)

                             69                BNC Certificate of Notice - PDF Document. (RE:
                             (3 pgs)           related document(s)68 Order (Generic) (BNC-PDF))
                                               No. of Notices: 1. Notice Date 10/19/2019. (Admin.)
  10/19/2019                                   (Entered: 10/19/2019)

                             70                Monthly Operating Report. Operating Report
                             (40 pgs)          Number: 4. For the Month Ending 9/30/2019 Filed
                                               by Debtor Orange County Bail Bonds, Inc..
  10/21/2019                                   (Forsythe, Marc) (Entered: 10/21/2019)

                             73                Reply to (related document(s): 63 Opposition filed
                             (13 pgs)          by Creditor Legal Service Bureau Inc. dba Global
                                               Fugitive Recovery) Reply to Opposition to Motion
                                               Extending Debtor's Exclusivity Periods for Filing a
                                               Plan of Reorganization and Obtaining Acceptance of
                                               a Plan of Reorganization Pursuant to 11 U.S.C. §
                                               1121; Memorandum of Points and Authorities and
                                               Declaration of Marc C. Forsythe in support Thereof.
                                               Filed by Debtor Orange County Bail Bonds, Inc.
  10/31/2019                                   (Forsythe, Marc) (Entered: 10/31/2019)

  11/07/2019




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                             74                Chapter 11 Status Conference Order. The Status
                             (2 pgs)           Conference is CONTINUED to January 30, 2020 at
                                               10:30 a.m. (BNC-PDF) (Related Doc # 1 ) Signed on
                                               11/7/2019 (Mccall, Audrey) (Entered: 11/07/2019)

                             78                Hearing Held (RE: related document(s)54 Motion
                                               for Order Extending Debtor's Exclusivity Periods for
                                               Filing a Plan of Reorganization and Obtaining
                                               Acceptance of a Plan of Reorganization Pursuant to
                                               11 U.S.C. Section 1121, filed by Debtor Orange
                                               County Bail Bonds, Inc.) - Granted the Motion as
                                               modified, i.e., extend the plan filing exclusivity
                                               period for sixty (60) days from October 21, 2019 to
                                               December 20, 2020; and the acceptance exclusivity
                                               period for one hundred and twenty (120) days from
                                               December 20, 2019 to February 18, 2020. (Duarte,
  11/07/2019                                   Tina) (Entered: 11/14/2019)

                             79                Hearing Continued (related document # 1). Status
                                               Conference hearing on Status of Chapter 11 Case;
                                               and (2) Requiring Report on Status of Chapter 11
                                               Case CONTINUED TO 1/30/2020 at 10:30 AM at
                                               Crtrm 5A, 411 W Fourth St., Santa Ana, CA 92701.
                                               Deadline to file plan/disclosure statement:
                                               12/20/2019. Updated status report due (only if plan
                                               and Disclosure Statement not timely filed by
                                               12/20/2019. The case judge is Erithe A. Smith
  11/07/2019                                   (Duarte, Tina) (Entered: 11/14/2019)

                             75                Order Granting motion for relief from automatic stay
                             (2 pgs)           ACTION IN NON-BANKRUPTCY FORUM
                                               (BNC-PDF) (Related Doc # 42 ) Signed on
  11/08/2019                                   11/8/2019 (Duarte, Tina) (Entered: 11/08/2019)

                             76                BNC Certificate of Notice - PDF Document. (RE:
                             (3 pgs)           related document(s)74 Order (Generic) (BNC-PDF))
                                               No. of Notices: 1. Notice Date 11/09/2019. (Admin.)
  11/09/2019                                   (Entered: 11/09/2019)

                             77                BNC Certificate of Notice - PDF Document. (RE:
                             (3 pgs)           related document(s)75 Motion for relief from
                                               automatic stay ACTION IN NON-BANKRUPTCY
                                               FORUM (BNC-PDF)) No. of Notices: 1. Notice
  11/10/2019                                   Date 11/10/2019. (Admin.) (Entered: 11/10/2019)

  11/20/2019                 80                Monthly Operating Report. Operating Report
                             (39 pgs)          Number: 5. For the Month Ending 10/31/2019 Filed




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                                               by Debtor Orange County Bail Bonds, Inc..
                                               (Forsythe, Marc) (Entered: 11/20/2019)

                             81                Monthly Operating Report. Operating Report
                             (23 pgs)          Number: 6. For the Month Ending 11-30-2019 Filed
                                               by Debtor Orange County Bail Bonds, Inc..
  12/12/2019                                   (Forsythe, Marc) (Entered: 12/12/2019)

                             82                Disclosure Statement Disclosure Statement
                             (174 pgs)         Describing Debtor's Chapter 11 Plan of
                                               Reorganization Dated December 20, 2019;
                                               Declaration of Robert L. Miller in Support Thereof
                                               with Proof of Service Filed by Debtor Orange
                                               County Bail Bonds, Inc.. (Forsythe, Marc) (Entered:
  12/20/2019                                   12/20/2019)

                             83                Chapter 11 Plan of Reorganization Debtor's Chapter
                             (18 pgs)          11 Plan of Reorganization Dated December 20,
                                               2019; Declaration of Robert L. Miller in Support
                                               Thereof with Proof of Service Filed by Debtor
                                               Orange County Bail Bonds, Inc.. (Forsythe, Marc)
  12/20/2019                                   (Entered: 12/20/2019)

                             84                Hearing Set (related document # 82 Disclosure
                                               Statement Describing Debtor's Chapter 11 Plan of
                                               Reorganization Dated December 20, 2019). The
                                               Hearing date is set for 2/20/2020 at 10:30 AM at
                                               Crtrm 5A, 411 W Fourth St., Santa Ana, CA 92701.
                                               The case judge is Erithe A. Smith (Duarte, Tina)
  12/20/2019                                   (Entered: 12/23/2019)

                             85                Notice of Hearing Notice of Hearing on Disclosure
                             (4 pgs)           Statement Describing Debtor's Chapter 11 Plan of
                                               Reorganization Dated December 20, 2019 with
                                               Proof of Service Filed by Debtor Orange County
                                               Bail Bonds, Inc.. (Forsythe, Marc) (Entered:
  12/30/2019                                   12/30/2019)

                             86                Monthly Operating Report. Operating Report
                             (36 pgs)          Number: 7. For the Month Ending 12-31-2019 Filed
                                               by Debtor Orange County Bail Bonds, Inc..
  01/14/2020                                   (Forsythe, Marc) (Entered: 01/14/2020)

  01/16/2020                 87                Objection (related document(s): 82 Disclosure
                             (5 pgs)           Statement filed by Debtor Orange County Bail
                                               Bonds, Inc.) To Disclosure Statement Describing
                                               Debtors Chapter 11 Plan Of Reorganization Dated
                                               December 20, 2019 Filed by U.S. Trustee United




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                                               States Trustee (SA) (Cadigan, Frank) (Entered:
                                               01/16/2020)

                             88                Chapter 11 Status Conference Order [Status
                             (2 pgs)           Conference continued to 2/20/20 at 10:30am] (BNC-
                                               PDF) (Related Doc # 1 ) Signed on 1/30/2020 (Reid,
  01/30/2020                                   Rick) (Entered: 01/30/2020)

                             90                Hearing Continued (related document # 1). Status
                                               Conference hearing on Status of Chapter 11 Case;
                                               and (2) Requiring Report on Status of Chapter 11
                                               Case CONTINUED TO 2/20/2020 at 10:30 AM at
                                               Crtrm 5A, 411 W Fourth St., Santa Ana, CA 92701,
                                               same date/time as hearing on approval of disclosure
                                               statement; updated status report not required. The
                                               case judge is Erithe A. Smith (Duarte, Tina)
  01/30/2020                                   (Entered: 02/03/2020)

                             89                BNC Certificate of Notice - PDF Document. (RE:
                             (3 pgs)           related document(s)88 Order (Generic) (BNC-PDF))
                                               No. of Notices: 1. Notice Date 02/01/2020. (Admin.)
  02/01/2020                                   (Entered: 02/01/2020)

                             91                Objection (related document(s): 82 Disclosure
                             (73 pgs)          Statement filed by Debtor Orange County Bail
                                               Bonds, Inc.) Objection to Debtor's Disclosure
                                               Statement Describing Debtor's Chapter 11 Plan of
                                               Reorganization Dated December 20, 2019;
                                               Declarations of D. Edward Hays and Dan Escamilla
                                               in Support; with Proof of Service Filed by Creditor
                                               Legal Service Bureau Inc. dba Global Fugitive
  02/06/2020                                   Recovery (Hays, D) (Entered: 02/06/2020)

                             92                Reply to (related document(s): 82 Disclosure
                             (32 pgs)          Statement filed by Debtor Orange County Bail
                                               Bonds, Inc.) Omnibus Reply In Support Of Debtors
                                               Disclosure Statement Describing Debtors Chapter
                                               11 Plan Of Reorganization Dated December 20,
                                               2019; Request For Judicial Notice In Support
                                               Thereof with proof of service Filed by Debtor
                                               Orange County Bail Bonds, Inc. (Forsythe, Marc)
  02/13/2020                                   (Entered: 02/13/2020)

                             93                Monthly Operating Report. Operating Report
                             (34 pgs)          Number: Eight (8). For the Month Ending January
                                               31, 2020 Filed by Debtor Orange County Bail
  02/14/2020                                   Bonds, Inc.. (Forsythe, Marc) (Entered: 02/14/2020)




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  02/19/2020                 94                Statement Debtor's Reservation of Rights to Object
                             (3 pgs)           to the Declaration of Dan Escamilla Filed in
                                               Support of Legal Services Bureau, Inc. dba Global
                                               Fugitive Recovery's Objection in Relation to
                                               Debtor's Disclosure Statement Hearing with Proof of
                                               Service Filed by Debtor Orange County Bail Bonds,
                                               Inc.. (Forsythe, Marc) (Entered: 02/19/2020)

                             97                Hearing Continued (related document # 82
                                               Disclosure Statement Describing Debtor's Chapter
                                               11 Plan of Reorganization Dated December 20,
                                               2019). The Hearing is CONTINUED TO 4/9/2020 at
                                               10:30 AM at Crtrm 5A, 411 W Fourth St., Santa
                                               Ana, CA 92701; amended disclosure statement and
                                               plan must be filed no later than March 12, 2020;
                                               responses to the amended plan must be filed by
                                               March 19, 2020 and any reply by March 26, 2020.
                                               The case judge is Erithe A. Smith (Duarte, Tina)
  02/20/2020                                   (Entered: 02/24/2020)

                             98         Hearing Continued (related document # 1). Status
                                        Conference hearing on Status of Chapter 11 Case; and (2)
                                        Requiring Report on Status of Chapter 11 Case
                                        CONTINUED TO 4/9/2020 at 10:30 AM at Crtrm 5A, 411
                                        W Fourth St., Santa Ana, CA 92701; updated status report
                                        not required. The case judge is Erithe A. Smith (Duarte,
  02/20/2020                            Tina) (Entered: 02/24/2020)

                             95         Chapter 11 Status Conference Order. The Status Conference
                             (2 pgs)    is CONTINUED TO April 9, 2020 at 10:30 a.m. (BNC-
                                        PDF) (Related Doc # 1 ) Signed on 2/21/2020 (Duarte, Tina)
  02/21/2020                            (Entered: 02/21/2020)

                             96         BNC Certificate of Notice - PDF Document. (RE: related
                             (3 pgs)    document(s)95 Order (Generic) (BNC-PDF)) No. of
                                        Notices: 1. Notice Date 02/23/2020. (Admin.) (Entered:
  02/23/2020                            02/23/2020)

                             99         Addendum to voluntary petition PETITION AMENDED TO
                             (14 pgs)   SUB CHAPTER V UNDER CHAPTER 11; PROFIT & LOSS
                                        STATEMENT; AND BALANCE SHEET WITH PROOF OF
                                        SERVICE Filed by Debtor Orange County Bail Bonds, Inc..
  03/03/2020                            (Forsythe, Marc) (Entered: 03/03/2020)

                             100        Tax Documents for the Year for 2018 [REDACTED] Filed
                                        by Debtor Orange County Bail Bonds, Inc.. (Forsythe, Marc)
  03/04/2020                            (Entered: 03/04/2020)




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  03/05/2020                 101        Debtor's Election of Small Business Designation Chapter 11
                                        Subchapter V. (Corona, Heidi) Modified on 3/5/2020
                                        (Corona, Heidi). (Entered: 03/05/2020)

                             102        Notice of Appointment of Trustee Notice of Appointment
                             (2 pgs)    and Acceptance of Subchapter V Trustee. Mark M Sharf
                                        (TR) added to the case. Filed by U.S. Trustee United States
                                        Trustee (SA). (united states trustee (kmh)) (Entered:
  03/05/2020                            03/05/2020)

                             103        Meeting of Creditors 341(a) meeting to be held on 3/26/2020
                             (2 pgs)    at 01:30 PM at RM 1-159, 411 W Fourth St., Santa Ana, CA
  03/06/2020                            92701. (Corona, Heidi) (Entered: 03/06/2020)

                             104        BNC Certificate of Notice (RE: related document(s)103
                             (4 pgs)    Meeting of Creditors Chapter 11 (Corporations or
                                        Partnerships under Subchapter V) (309F2)) No. of Notices:
  03/08/2020                            20. Notice Date 03/08/2020. (Admin.) (Entered: 03/08/2020)

                             105        Order: (1) Setting Hearing On Status Of Subchapter V Case;
                             (4 pgs)    (2) Requiring Report On Status Of Subchapter V Case; (3)
                                        Requiring Subchapter V Trustee To Appear At The Status
                                        Conference; And (4) Setting Scheduling For Subchapter V
                                        Plan Confirmation. Hearing Date: April 30, 2020 at 10:00
                                        a.m., Courtroom 5A (BNC-PDF) (Related Doc # 101 )
                                        Signed on 3/11/2020 (Steinberg, Elizabeth) (Entered:
  03/11/2020                            03/11/2020)

                             106        Hearing Set RE: Order: (1) Setting hearing on status
                                        Subchapter V case; (2) Requiring report on status of
                                        Subchapter V case; (3) Requiring Subchapter V Trustee to
                                        appear at the status conference; and (4) Setting scheduling
                                        for Subchapter V plan confirmation. Status hearing to be
                                        held on 4/30/2020 at 10:30 AM at Crtrm 5A, 411 W Fourth
                                        St., Santa Ana, CA 92701. The case judge is Erithe A. Smith
  03/11/2020                            (Steinberg, Elizabeth) (Entered: 03/11/2020)

                             107        Notice By Debtor Of Not Filing Amended Disclosure
                             (2 pgs)    Statement And Hearing On Disclosure Statement Taken Off
                                        Calendar As Result Of Conversion To Subchapter V with
                                        proof of service Filed by Debtor Orange County Bail Bonds,
  03/12/2020                            Inc.. (Forsythe, Marc) (Entered: 03/12/2020)

                             108        Notice of Hearing on Status of SubChapter V Case;
                             (9 pgs)    Scheduling and Management Conference Filed by Debtor
                                        Orange County Bail Bonds, Inc.. (Forsythe, Marc) (Entered:
  03/13/2020                            03/13/2020)




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  03/13/2020                 109        BNC Certificate of Notice - PDF Document. (RE: related
                             (5 pgs)    document(s)105 Order (Generic) (BNC-PDF)) No. of
                                        Notices: 1. Notice Date 03/13/2020. (Admin.) (Entered:
                                        03/13/2020)

                             110        Application to Employ Magarian & Dimercurio, a
                             (16 pgs)   Professional Law Corporation as State Court and Appeal
                                        Litigation Counsel Filed by Debtor Orange County Bail
  03/26/2020                            Bonds, Inc. (Forsythe, Marc) (Entered: 03/26/2020)

                             111        Notice of Continued 341(a) meeting of Creditors; along with
                             (7 pgs)    Proof of Service Filed by U.S. Trustee United States Trustee
  03/26/2020                            (SA). (Ng, Queenie) (Entered: 03/26/2020)

                             112        Opposition to (related document(s): 110 Application to
                             (14 pgs)   Employ Magarian & Dimercurio, a Professional Law
                                        Corporation as State Court and Appeal Litigation Counsel
                                        filed by Debtor Orange County Bail Bonds, Inc.) Filed by
                                        Creditor Legal Service Bureau Inc. dba Global Fugitive
  04/09/2020                            Recovery (Hays, D) (Entered: 04/09/2020)

                             113        Withdrawal of Claim(s): 3 Filed by Creditor American
                             (2 pgs)    Express National Bank. (Butler, Larry) (Entered:
  04/10/2020                            04/10/2020)

                             114        Request for judicial notice Filed by Creditor Legal Service
                             (8 pgs)    Bureau Inc. dba Global Fugitive Recovery (RE: related
                                        document(s)112 Opposition). (Hays, D) (Entered:
  04/10/2020                            04/10/2020)

                             115        Notice of Hearing on Objection to Debtor's Motion to
                             (4 pgs)    Employ Magarian & Dimercurio a Professional Law
                                        Corporation as State Court and Appeal Litigation Counsel
                                        Filed by Debtor Orange County Bail Bonds, Inc. (RE:
                                        related document(s)110 Application to Employ Magarian &
                                        Dimercurio, a Professional Law Corporation as State Court
                                        and Appeal Litigation Counsel Filed by Debtor Orange
                                        County Bail Bonds, Inc.). (Forsythe, Marc) (Entered:
  04/13/2020                            04/13/2020)

  04/13/2020                 116        Hearing Set (RE: related document(s)110 Debtor's
                                        Application to Employ Magaraian & Dimercurio, A
                                        Professional Law Corporation as State Court and Appeal
                                        Litigation Counsel filed by Debtor Orange County Bail
                                        Bonds, Inc.). The Hearing date is set for 5/21/2020 at 10:30
                                        AM at Crtrm 5A, 411 W Fourth St., Santa Ana, CA 92701.
                                        The case judge is Erithe A. Smith (Duarte, Tina) (Entered:
                                        04/13/2020)




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                                117         Status report with proof of service Filed by Debtor Orange
                                (5 pgs)     County Bail Bonds, Inc. (RE: related document(s)108 Notice
  04/16/2020                                of Hearing). (Forsythe, Marc) (Entered: 04/16/2020)




                                          PACER Service Center
                                            Transaction Receipt
                                             04/16/2020 15:17:48
                     PACER                               Client
                                   mh4052870:3453976:0             9999-001
                     Login:                              Code:
                                                                   8:19-bk-12411-ES Fil
                                                                   or Ent: filed From:
                                                                   1/17/2000 To:
                                                                   4/16/2020 Doc From: 0
                                                         Search
                     Description: Docket Report                    Doc To: 99999999
                                                         Criteria:
                                                                   Term: included
                                                                   Format: html Page
                                                                   counts for documents:
                                                                   included
                     Billable
                                   11                    Cost:     1.10
                     Pages:




 https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?580197614389237-L_1_0-1                      4/16/2020
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  SB 10: Pretrial Release and Detention - criminal_justice SB10                                                    Page 1 of 3




                                                                                                         Cancel         Print




     SB 10: Pretrial Release and Detention

     Overview
     Senate Bill 10 (Hertzberg, Stats. 2018, ch. 244) authorizes a change to California’s pretrial release system from a
     money-based system to a risk-based release and detention system.

     SB 10 assumes that a person will be released on his or her own recognizance or supervised own recognizance with
     the least restrictive nonmonetary condition or combination of conditions that will reasonably assure public safety and
     the defendant’s return to court.



     What Does SB 10 Do?
     Creates series of categories of persons and offenses:

         • Different levels of review
                ◦ Misdemeanors - Most are cited and released within 12 hours
                ◦ Greater scrutiny as seriousness of the offense increases
         • Detention is based on risk, not lack of money
         • Eliminates cash bail or bail bonds
         • When there is very strong evidence that no conditions of release can reasonably assure public safety, a
           defendant can be detained pretrial, regardless of financial resources


     Important Information on SB 10
         • SB 10 Overview Updated November 8, 2018
         • Summary of Release and Detention Process Under SB 10


     Overview of the Pretrial Process Under SB 10




        Flowchart – Prearraignment             Infographic - Prearraignment            Infographic - Pretrial Process
        Process under SB 10 – Detailed         Process under SB 10 - Overview          under SB 10 - Arraignment to
                                                                                       Trial




  https://www.courts.ca.gov/pretrial.htm?print=1                                                                        2/6/2020

                                                                                           EXHIBIT 13, PAGE 182
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      Frequently Asked Questions
                                                                                                     expand all      collapse all

       Does SB 10, the pretrial reform legislation, mean a judge has less discretion to decide who to detain or release
       before trial?


         Under SB 10, judges will have the same discretion to release or detain individuals pretrial as they do now
         under the current money bail system. SB 10 establishes Pretrial Assessment Services that will gather
         information and provide reports to aid judges in the decision about whether a defendant is a risk to the public
         or likely to return to court if released before trial. In addition, Pretrial Assessment Services will recommend
         conditions of release. Judges will not be bound by the Pretrial Assessment Services reports and
         recommendations, but those will serve to inform judges’ decisions. Judges remain the final authority in making
         pretrial release or detention decisions.


       Under SB 10, will an algorithm decide who is eligible for release before trial?


         No. The risk assessment tools that Pretrial Assessment Services uses contain algorithms that weigh various
         factors to measure the level of a person’s risk to reoffend or fail to appear if released pretrial. Although Pretrial
         Assessment Services will have authority to release low and some medium-risk individual before arraignment,
         judicial officers remain the final authority in making pretrial release or detention decisions. The risk-level
         information obtained from the risk assessment tool, combined with the recommendation provided by Pretrial
         Services, will inform the judge’s decision. But in every case the judicial officer can override the
         recommendation.


       What are the benefits of a Pretrial Assessment System?


         The goal of a risk assessment-based pretrial system is to release people from custody as early as possible in
         the process, and with the least restrictive conditions that will help to ensure their return to court and protect
         public safety, and to preventively detain only those for whom no set of conditions will assure public safety or
         return to court. While national data is limited, jurisdictions that have implemented robust risk assessment-
         based pretrial systems report low rates of re-arrest for those released as well as low rates of failure to appear.
         For example, in Kentucky, the Pretrial Services agency recommends release on own recognizance in 89% of
         cases involving low-risk defendants, in 60% of moderate-risk cases, and in 50% of high-risk cases. For those
         high-risk defendants who are released, 71% do not have a failure to appear and 86% are not rearrested during
         the pretrial period. Many low and moderate-risk cases require only minimal monitoring, such as court date
         reminders and monthly check-ins, while higher risk cases benefit from increased supervision which can include
         more frequent check-ins, drug testing, and electronic monitoring.


       What California counties have used pretrial assessment systems?


         A 2015 survey of counties indicated that 46 of the 58 California counties have some type of pretrial program,
         and 70% established their programs in the past five years. However, Santa Clara, San Francisco, Humboldt,
         Riverside, Imperial, and Santa Cruz counties have had pretrial programs for many years. At least 49 counties
         use a type of pretrial risk assessment tool that provides judges with information about the risk of releasing a
         defendant before trial.


       What percentage of the people held in California jails are unsentenced?




   https://www.courts.ca.gov/pretrial.htm?print=1                                                                           2/6/2020

                                                                                              EXHIBIT 13, PAGE 183
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        Currently, approximately two-thirds of California’s jail population—or nearly 48,000 people—are unsentenced,
        according to the Board of State and Community Corrections’ annual Jail Profile Survey. This includes both
        people who are eligible for release but have not (or cannot) post money bail and those who are not eligible for
        release.


      What is the size of California’s bail industry?

        In 2016, there were approximately 3,200 licensed bail agents, 155 bail agencies, and 17 sureties conducting
        business in California, according to the California Department of Insurance (CDI). A CDI report from 2011-2013
        found bail agents each year posted an average of 205,000 bail bonds and collected an average of $308 million
        in non-refundable premium fees from defendants, their friends and families.


      Have other U.S. states implemented bail reform?

        In recent years, New Jersey and New Mexico instituted sweeping reforms to limit or end money bail. For
        decades, Kentucky and Washington, D.C. have run systems that primarily rely on risk assessments with very
        limited use of money bail. Beyond these reforms, lawmakers in 44 states and Washington, D.C. enacted 118
        new laws during 2016 addressing pretrial release and detention.



        Contact Info

        Criminal Justice Services
        415-865-8994
        crimjusticeoffice@jud.ca.gov




  https://www.courts.ca.gov/pretrial.htm?print=1                                                                     2/6/2020

                                                                                           EXHIBIT 13, PAGE 184
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                                  Central District of California
                                        Claims Register
                           8:19-bk-12411-ES Orange County Bail Bonds, Inc.

                          Judge: Erithe A. Smith               Chapter: 11
                          Office: Santa Ana                    Last Date to file claims:
                          Trustee: Mark M Sharf (TR)           Last Date to file (Govt):
  Creditor:      (39670386)                 Claim No: 1                Status:
  Internal Revenue Service                  Original Filed             Filed by: CR
  P.O. Box 7346                             Date: 07/11/2019           Entered by: Timothy C Schakow
  Philadelphia, PA 19101-7346               Original Entered           Modified:
                                            Date: 07/11/2019
                                            Last Amendment
                                            Filed: 04/08/2020
                                            Last Amendment
                                            Entered: 04/08/2020
   Amount claimed: $100.00
   Secured claimed:       $0.00
   Priority   claimed: $100.00

  History:
  Details        1-1   07/11/2019 Claim #1 filed by Internal Revenue Service, Amount claimed: $475.47
                                  (Schakow, Timothy)
   Details       1-2   01/30/2020 Amended Claim #1 filed by Internal Revenue Service, Amount claimed:
                                  $175.47 (Schakow, Timothy)
   Details       1-3   04/08/2020 Amended Claim #1 filed by Internal Revenue Service, Amount claimed:
                                  $100.00 (Schakow, Timothy)
  Description:
  Remarks:


  Creditor:     (39690172)                  Claim No: 2                Status:
  Wells Fargo Bank, N.A.                    Original Filed             Filed by: CR
  Small Business Lending Division           Date: 07/19/2019           Entered by: ePOC-User AutoDocket
  P.O. Box 29482                            Original Entered           Modified:
  Phoenix, AZ 85038-8650                    Date: 07/19/2019


   Amount claimed: $6231.56

  History:
  Details        2-1   07/19/2019 Claim #2 filed by Wells Fargo Bank, N.A., Amount claimed: $6231.56
                                  (AutoDocket, ePOC-User)
  Description:
  Remarks: (2-1) Account Number (last 4 digits):3048




 https://ecf.cacb.uscourts.gov/cgi-bin/SearchClaims.pl?caseid=1867891;sc                                4/16/2020
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  Creditor:     (39697141)                   Claim No: 3               Status: Withdraw 113
  American Express National Bank             Original Filed            Filed by: CR
  c/o Becket and Lee LLP                     Date: 07/24/2019          Entered by: Sabari Mukherjee
  PO Box 3001                                Original Entered          Modified:
  Malvern PA 19355-0701                      Date: 07/24/2019


   Amount claimed: $6838.23

  History:
  Details 3-1 07/24/2019 Claim #3 filed by American Express National Bank, Amount claimed: $6838.23
                         (Mukherjee, Sabari)
              113 04/10/2020 Withdrawal of Claim(s): 3 Filed by Creditor American Express National Bank.
                             (Butler, Larry) Status: Withdraw
  Description:
  Remarks:


  Creditor:      (39706847)                  Claim No: 4               Status:
  County of Orange                           Original Filed            Filed by: CR
  P.O. Box 4515                              Date: 07/29/2019          Entered by: David Scallon
  Santa Ana, CA 92702-4515                   Original Entered          Modified:
  Attn: Bankruptcy Unit                      Date: 07/29/2019


   Amount claimed: $85.08
   Secured claimed:      $0.00
   Priority    claimed: $85.08

  History:
  Details        4-1   07/29/2019 Claim #4 filed by County of Orange, Amount claimed: $85.08 (Scallon, David)
  Description: (4-1) Pre-Petition for 2019 tax year
  Remarks: (4-1) Bk#1900099


  Creditor:      (39722330)                  Claim No: 5               Status:
  Capital One Bank (USA), N.A.               Original Filed            Filed by: CR
  by American InfoSource as agent            Date: 08/05/2019          Entered by: Ashley Boswell
  PO Box 71083                               Original Entered          Modified:
  Charlotte, NC 28272-1083                   Date: 08/05/2019


   Amount claimed: $13465.44

  History:
  Details        5-1   08/05/2019 Claim #5 filed by Capital One Bank (USA), N.A., Amount claimed: $13465.44
                                  (Boswell, Ashley)
  Description:
  Remarks:




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  Creditor:     (39812848)                  Claim No: 6                 Status:
  Legal Service Bureau Inc. dba Global      Original Filed              Filed by: CR
  Fugitive Reco                             Date: 09/19/2019            Entered by: Timothy C Aires
                                            Original Entered            Modified:
                                            Date: 09/19/2019
                                            Last Amendment
                                            Filed: 09/27/2019
                                            Last Amendment
                                            Entered: 09/27/2019
   Amount claimed: $545879.23

  History:
  Details        6-1   09/19/2019 Claim #6 filed by Legal Service Bureau Inc. dba Global Fugitive Reco,
                                  Amount claimed: $617383.87 (Aires, Timothy)
   Details       6-2   09/27/2019 Amended Claim #6 filed by Legal Service Bureau Inc. dba Global Fugitive
                                  Reco, Amount claimed: $545879.23 (Aires, Timothy)
  Description:
  Remarks:


  Creditor:      (39632047)                 Claim No: 7                 Status:
  American Contractors Indemnity Comp       Original Filed              Filed by: CR
  157 Main Street                           Date: 10/01/2019            Entered by: Marc C Forsythe
  Greenville, PA 16125                      Original Entered            Modified:
                                            Date: 10/01/2019


   Amount claimed: $7831800.00

  History:
  Details        7-1   10/01/2019 Claim #7 filed by American Contractors Indemnity Comp, Amount claimed:
                                  $7831800.00 (Forsythe, Marc)
  Description:
  Remarks:


  Creditor:   (39988787)                    Claim No: 8                 Status:
  FRANCHISE TAX BOARD                       Original Filed              Filed by: CR
  BANKRUPTCY SECTION MS A340                Date: 11/15/2019            Entered by: Anthony Franklin
  PO BOX 2952                               Original Entered            Modified:
  SACRAMENTO CA 95812-2952                  Date: 11/15/2019


   Amount claimed: $11.99
   Priority claimed: $11.25

  History:
  Details        8-1   11/15/2019 Claim #8 filed by FRANCHISE TAX BOARD, Amount claimed: $11.99
                                  (Franklin, Anthony)
  Description: (8-1) Claim Filed
  Remarks:




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                                         Claims Register Summary

                                 Case Name: Orange County Bail Bonds, Inc.
                                      Case Number: 8:19-bk-12411-ES
                                               Chapter: 11
                                          Date Filed: 06/21/2019
                                        Total Number Of Claims: 8

                                  Total Amount Claimed* $8404411.53
                                  Total Amount Allowed*
                                     *Includes general unsecured claims

 The values are reflective of the data entered. Always refer to claim documents for actual amounts.

                                                      Claimed Allowed
                                     Secured           $0.00
                                     Priority         $196.33
                                     Administrative



                                          PACER Service Center
                                            Transaction Receipt
                                              04/16/2020 15:17:05
                      PACER                                Client
                                     mh4052870:3453976:0             9999-001
                      Login:                               Code:
                                                                     8:19-bk-12411-ES
                                                                     Filed or Entered
                                                           Search
                      Description: Claims Register                   From: 1/1/1900 Filed
                                                           Criteria:
                                                                     or Entered To:
                                                                     4/16/2020
                      Billable
                                     1                     Cost:     0.10
                      Pages:




 https://ecf.cacb.uscourts.gov/cgi-bin/SearchClaims.pl?caseid=1867891;sc                     4/16/2020
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                                          EXHIBIT 15
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 1                                            Appendix I
 2
 3
 4   Emergency rule 1. Unlawful detainers
 5
 6   (a)   Application
 7
 8         Notwithstanding any other law, including Code of Civil Procedure sections 1166,
 9         1167, 1169, and 1170.5, this rule applies to all actions for unlawful detainer.
10
11   (b)   Issuance of summons
12
13         A court may not issue a summons on a complaint for unlawful detainer unless the
14         court finds, in its discretion and on the record, that the action is necessary to protect
15         public health and safety.
16
17   (c)   Entry of default
18
19         A court may not enter a default or a default judgment for restitution in an unlawful
20         detainer action for failure of defendant to appear unless the court finds both of the
21         following:
22
23         (1)   The action is necessary to protect public health and safety; and
24
25         (2)   The defendant has not appeared in the action within the time provided by
26               law, including by any applicable executive order.
27
28   (d)   Time for trial
29
30         If a defendant has appeared in the action, the court may not set a trial date earlier
31         than 60 days after a request for trial is made unless the court finds that an earlier
32         trial date is necessary to protect public health and safety. Any trial set in an
33         unlawful detainer proceeding as of April 6, 2020 must be continued at least 60 days
34         from the initial date of trial.
35
36   (e)   Sunset of rule
37
38         This rule will remain in effect until 90 days after the Governor declares that the
39         state of emergency related to the COVID-19 pandemic is lifted, or until amended or
40         repealed by the Judicial Council.
41
42




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 1   Emergency rule 2. Judicial foreclosures—suspension of actions
 2
 3   Notwithstanding any other law, this rule applies to any action for foreclosure on a
 4   mortgage or deed of trust brought under chapter 1, title 10, of part 2 of the Code of Civil
 5   Procedure, beginning at section 725a, including any action for a deficiency judgment, and
 6   provides that, until 90 days after the Governor declares that the state of emergency
 7   related to the COVID-19 pandemic is lifted, or until this rule is amended or repealed by
 8   the Judicial Council:
 9
10    (1)    All such actions are stayed, and the court may take no action and issue no
11           decisions or judgments unless the court finds that action is required to further the
12           public health and safety.
13
14    (2)    Any statute of limitations for filing such an action is tolled.
15
16    (3)    The period for electing or exercising any rights under that chapter, including
17           exercising any right of redemption from a foreclosure sale or petitioning the court
18           in relation to such a right, is extended.
19
20
21   Emergency rule 3. Use of technology for remote appearances
22
23   (a)    Remote appearances
24
25   Notwithstanding any other law, in order to protect the health and safety of the public,
26   including court users, both in custody and out of custody defendants, witnesses, court
27   personnel, judicial officers, and others, courts must conduct judicial proceedings and
28   court operations as follows:
29
30          (1)   Courts may require that judicial proceedings and court operations be
31                conducted remotely.
32
33          (2)   In criminal proceedings, courts must receive the consent of the defendant to
34                conduct the proceeding remotely and otherwise comply with emergency rule
35                5. Notwithstanding Penal Code sections 865 and 977 or any other law, the
36                court may conduct any criminal proceeding remotely. As used in this rule,
37                “consent of the defendant” means that the consent of the defendant is
38                required only for the waiver of the defendant’s appearance as provided in
39                emergency rule 5. For good cause shown, the court may require any witness
40                to personally appear in a particular proceeding.
41
42          (3)   Conducting proceedings remotely includes, but is not limited to, the use of
43                video, audio, and telephonic means for remote appearances; the electronic




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 1               exchange and authentication of documentary evidence; e-filing and e-service;
 2               the use of remote interpreting; and the use of remote reporting and electronic
 3               recording to make the official record of an action or proceeding.
 4
 5   (b)   Sunset of rule
 6
 7         This rule will remain in effect until 90 days after the Governor declares that the
 8         state of emergency related to the COVID-19 pandemic is lifted, or until amended or
 9         repealed by the Judicial Council.
10
11
12   Emergency rule 4. Emergency Bail Schedule
13
14   (a)   Purpose
15
16         Notwithstanding any other law, this rule establishes a statewide Emergency Bail
17         Schedule, which is intended to promulgate uniformity in the handling of certain
18         offenses during the state of emergency related to the COVID-19 pandemic.
19
20   (b)   Mandatory application
21
22         No later than 5 p.m. on April 13, 2020, each superior court must apply the
23         statewide Emergency Bail Schedule:
24
25         (1)   To every accused person arrested and in pretrial custody.
26
27         (2)   To every accused person held in pretrial custody.
28
29   (c)   Setting of bail and exceptions
30
31   Under the statewide Emergency Bail Schedule, bail for all misdemeanor and felony
32   offenses must be set at $0, with the exception of only the offenses listed below:
33
34         (1)   A serious felony, as defined in Penal Code section 1192.7(c), or a violent
35               felony, as defined in Penal Code section 667.5(c);
36
37         (2)   A felony violation of Penal Code section 69;
38
39         (3)   A violation of Penal Code section 166(c)(1);
40
41         (4)   A violation of Penal Code section 136.1 when punishment is imposed under
42               section 136.1(c);
43




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 1         (5)   A violation of Penal Code section 262;
 2
 3         (6)   A violation of Penal Code sections 243(e)(1) or 273.5;
 4
 5         (7)   A violation of Penal Code section 273.6 if the detained person made threats
 6               to kill or harm, has engaged in violence against, or has gone to the residence
 7               or workplace of, the protected party;
 8
 9         (8)   A violation of Penal Code section 422 where the offense is punished as a
10               felony;
11
12         (9)   A violation of Penal Code section 646.9;
13
14         (10) A violation of an offense listed in Penal Code section 290(c);
15
16         (11) A violation of Vehicle Code sections 23152 or 23153;
17
18         (12) A felony violation of Penal Code section 463; and
19
20         (13) A violation of Penal Code section 29800.
21
22   (d)   Ability to deny bail
23
24         Nothing in the Emergency Bail Schedule restricts the ability of the court to deny
25         bail as authorized by article I, section 12, or 28(f)(3) of the California Constitution.
26
27   (e)   Application of countywide bail schedule
28
29         (1)   The current countywide bail schedule of each superior court must remain in
30               effect for all offenses listed in exceptions (1) through (13) of the Emergency
31               Bail Schedule, including any count-specific conduct enhancements and any
32               status enhancements.
33
34         (2)   Each superior court retains the authority to reduce the amount of bail listed in
35               the court’s current countywide bail schedule for offenses in exceptions (1)
36               through (13), or for any offenses not in conflict with the Emergency Bail
37               Schedule.
38
39   (f)   Bail for violations of post-conviction supervision
40
41         (1)   Under the statewide Emergency Bail Schedule, bail for all violations of
42               misdemeanor probation, whether the arrest is with or without a bench
43               warrant, must be set at $0.




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 1
 2         (2)   Bail for all violations of felony probation, parole, post-release community
 3               supervision, or mandatory supervision, must be set in accord with the
 4               statewide Emergency Bail Schedule, or for the bail amount in the court’s
 5               countywide schedule of bail for charges of conviction listed in exceptions (1)
 6               through (13), including any enhancements.
 7
 8   (g)   Sunset of rule
 9
10         This rule will remain in effect until 90 days after the Governor declares that the
11         state of emergency related to the COVID-19 pandemic is lifted, or until amended or
12         repealed by the Judicial Council.
13
14
15   Emergency rule 5. Personal appearance waivers of defendants during health
16       emergency
17
18   (a)   Application
19
20         Notwithstanding any other law, including Penal Code sections 865 and 977, this
21         rule applies to all criminal proceedings except cases alleging murder with special
22         circumstances and cases in which the defendant is currently incarcerated in state
23         prison, as governed by Penal Code section 977.2.
24
25   (b)   Types of personal appearance waivers
26
27         (1)   With the consent of the defendant, the court must allow a defendant to waive
28               his or her personal appearance and to appear remotely, either through video
29               or telephonic appearance, when the technology is available.
30
31         (2)   With the consent of the defendant, the court must allow a defendant to waive
32               his or her appearance and permit counsel to appear on his or her behalf. The
33               court must accept a defendant’s waiver of appearance or personal appearance
34               when:
35
36               (A)   Counsel for the defendant makes an on the record oral representation
37                     that counsel has fully discussed the waiver and its implications with the
38                     defendant and the defendant has authorized counsel to proceed as
39                     counsel represents to the court;
40
41               (B)   Electronic communication from the defendant as confirmed by
42                     defendant’s counsel; or
43




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 1               (C)   Any other means that ensures the validity of the defendant’s waiver.
 2
 3   (c)   Consent by the defendant
 4
 5         (1)   For purposes of arraignment and entry of a not guilty plea, consent means a
 6               knowing, intelligent, and voluntary waiver of the right to appear personally in
 7               court. Counsel for the defendant must state on the record at each applicable
 8               hearing that counsel is proceeding with the defendant’s consent.
 9
10         (2)   For purposes of waiving time for a preliminary hearing, consent also means a
11               knowing, intelligent, and voluntary waiver of the right to hold a preliminary
12               hearing within required time limits specified either in Penal Code section
13               859b or under emergency orders issued by the Chief Justice and Chair of the
14               Judicial Council.
15
16         (3)   The court must accept defense counsel’s representation that the defendant
17               understands and agrees with waiving any right to appear unless the court has
18               specific concerns in a particular matter about the validity of the waiver.
19
20   (d)   Appearance through counsel
21
22         (1)   When counsel appears on behalf of a defendant, courts must allow counsel to
23               do any of the following:
24
25               (A)   Waive reading and advisement of rights for arraignment.
26
27               (B)   Enter a plea of not guilty.
28
29               (C)   Waive time for the preliminary hearing.
30
31         (2)   For appearances by counsel, including where the defendant is either
32               appearing remotely or has waived his or her appearance and or counsel is
33               appearing by remote access, counsel must confirm to the court at each
34               hearing that the appearance by counsel is made with the consent of the
35               defendant.
36
37   (e)   Conduct of remote hearings
38
39         (1)   With the defendant’s consent, a defendant may appear remotely for any
40               pretrial criminal proceeding.
41
42         (2)   Where a defendant appears remotely, counsel may not be required to be
43               personally present with the defendant for any portion of the criminal




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 1               proceeding provided that the audio and/or video conferencing system or other
 2               technology allows for private communication between the defendant and his
 3               or her counsel. Any private communication is confidential and privileged
 4               under Evidence Code section 952.
 5
 6   (f)   Sunset of rule
 7
 8         This rule will remain in effect until 90 days after the Governor declares that the
 9         state of emergency related to the COVID-19 pandemic is lifted, or until amended or
10         repealed by the Judicial Council.
11
12
13   Emergency rule 6. Emergency orders: juvenile dependency proceedings
14
15   (a)   Application
16
17         This rule applies to all juvenile dependency proceedings filed or pending until the
18         state of emergency related to the COVID-19 pandemic is lifted.
19
20   (b)   Essential hearings and orders
21
22         The following matters should be prioritized in accordance with existing statutory
23         time requirements.
24
25         (1)   Protective custody warrants filed under Welfare and Institutions Code section
26               340.
27
28         (2)   Detention hearings under Welfare and Institutions Code section 319. The
29               court is required to determine if it is contrary to the child’s welfare to remain
30               with the parent, whether reasonable efforts were made to prevent removal,
31               and whether to vest the placing agency with temporary placement and care.
32
33         (3)   Psychotropic medication applications.
34
35         (4)   Emergency medical requests.
36
37         (5)   A petition for reentry of a nonminor dependent.
38
39         (6)   Welfare and Institutions Code section 388 petitions that require an immediate
40               response based on the health and safety of the child, which should be
41               reviewed for a prima facie showing of change of circumstances sufficient to
42               grant the petition or to set a hearing. The court may extend the final ruling on
43               the petition beyond 30 days.




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 1
 2   (c)   Foster care hearings and continuances during the state of emergency
 3
 4         (1)   A court may hold any proceeding under this rule via remote technology
 5               consistent with rule 5.531 and emergency rule 3.
 6
 7         (2)   At the beginning of any hearing at which one or more participants appears
 8               remotely, the court must admonish all the participants that the proceeding is
 9               confidential and of the possible sanctions for violating confidentiality.
10
11         (3)   The child welfare agency is responsible for notice of remote hearings unless
12               other arrangements have been made with counsel for parents and children.
13               Notice is required for all parties and may include notice by telephone or other
14               electronic means. The notice must also include instructions on how to
15               participate in the court hearing remotely.
16
17         (4)   Court reports
18
19               (A)   Attorneys for parents and children must accept service of the court
20                     report electronically.
21
22               (B)   The child welfare agency must ensure that the parent and the child
23                     receive a copy of the court report on time.
24
25               (C)   If a parent or child cannot receive the report electronically, the child
26                     welfare agency must deliver a hard copy of the report to the parent and
27                     the child on time.
28
29         (5)   Nothing in this subdivision prohibits the court from making statutorily
30               required findings and orders, by minute order only and without a court
31               reporter, by accepting written stipulations from counsel when appearances
32               are waived if the stipulations are confirmed on the applicable Judicial
33               Council forms or equivalent local court forms.
34
35         (6)   If a court hearing cannot occur either in the courthouse or remotely, the
36               hearing may be continued up to 60 days, except as otherwise specified.
37
38               (A)   A dispositional hearing under Welfare and Institutions Code section
39                     360 should not be continued more than 6 months after the detention
40                     hearing without review of the child’s circumstances. In determining
41                     exceptional circumstances that justify holding the dispositional hearing
42                     more than 6 months after the child was taken into protective custody,




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 1                   the impact of the state of emergency related to the COVID-19
 2                   pandemic must be considered.
 3
 4                   i.    If the dispositional hearing is continued more than 6 months after
 5                         the start date of protective custody, a review of the child must be
 6                         held at the 6-month date. At the review, the court must determine
 7                         the continued necessity for and appropriateness of the placement;
 8                         the extent of compliance with the case plan or available services
 9                         that have been offered; the extent of progress which has been
10                         made toward alleviating or mitigating the causes necessitating
11                         placement; and the projected likely date by which the child may
12                         return home or placed permanently.
13
14                   ii.   The court may continue the matter for a full hearing on all
15                         dispositional findings and orders.
16
17             (B)   A judicial determination of reasonable efforts must be made within 12
18                   months of the date a child enters foster care to maintain a child’s
19                   federal title IV-E availability. If a permanency hearing is continued
20                   beyond the 12-month date, the court must review the case to determine
21                   if the agency has made reasonable efforts to return the child home or
22                   arrange for the child to be placed permanently. This finding can be
23                   made without prejudice and may be reconsidered at a full hearing.
24
25       (7)   During the state of emergency related to the COVID-19 pandemic, previously
26             authorized visitation must continue, but the child welfare agency is to
27             determine the manner of visitation to ensure that the needs of the family are
28             met. If the child welfare agency changes the manner of visitation for a child
29             and a parent or legal guardian in reunification, or for the child and a
30             sibling(s), or a hearing is pending under Welfare and Institutions Code
31             section 366.26, the child welfare agency must notify the attorneys for the
32             children and parents within 5 court days of the change. All changes in
33             manner of visitation during this time period must be made on a case by case
34             basis, balance the public health directives and best interest of the child, and
35             take into consideration whether in-person visitation may continue to be held
36             safely. Family time is important for child and parent well-being, as well as
37             for efforts toward reunification. Family time is especially important during
38             times of crisis. Visitation may only be suspended if a detriment finding is
39             made in a particular case based on the facts unique to that case. A detriment
40             finding must not be based solely on the existence of the impact of the state of
41             emergency related to the COVID-19 pandemic or related public health
42             directives.
43




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 1               (A)    The attorney for the child or parent may ask the juvenile court to
 2                      review the change in manner of visitation. The child or parent has the
 3                      burden of showing that the change is not in the best interest of the child
 4                      or is not based on current public health directives.
 5
 6               (B)    A request for the court to review the change in visitation during this
 7                      time period must be made within 14 court days of the change. In
 8                      reviewing the change in visitation, the court should take into
 9                      consideration the factors in (c)(7).
10
11   (d)   Sunset of rule
12
13         This rule will remain in effect until 90 days after the Governor declares that the
14         state of emergency related to the COVID-19 pandemic is lifted, or until amended or
15         repealed by the Judicial Council.
16
17                                  Advisory Committee Comment
18
19   When courts are unable to hold regular proceedings because of an emergency that has resulted in
20   an order as authorized under Government Code section 68115, federal timelines do not stop.
21   Circumstances may arise where reunification services to the parent, including visitation, may not
22   occur or be provided. The court must consider the circumstances of the emergency when deciding
23   whether to extend or terminate reunification services and whether services were reasonable given
24   the state of the emergency. (Citations: 42 U.S.C. § 672(a)(1)–(2), (5); 45 CFR § 1355.20; 45 CFR
25   § 1356.21 (b) – (d); 45 C.F.R. § 1356.71(d)(1)(iii); Child Welfare Policy Manual, 8.3A.9 Title
26   IV-E, Foster Care Maintenance Payments Program, Reasonable efforts, Question 2
27   (www.acf.hhs.gov/cwpm/public_html/programs/cb/laws_policies/laws/cwpm/policy_dsp.jsp?citI
28   D=92)]); Letter dated March 27, 2020, from Jerry Milner, Associate Commissioner, Children’s
29   Bureau, Administration for Children and Families, U.S. Department of Health and Human
30   Services.)
31
32
33   Emergency rule 7. Emergency orders: juvenile delinquency proceedings
34
35   (a)   Application
36
37         This rule applies to all proceedings in which a petition has been filed under Welfare
38         and Institutions Code section 602 in which a hearing would be statutorily required
39         during the state of emergency related to the COVID-19 pandemic.
40
41   (b)   Juvenile delinquency hearings and orders during the state of emergency
42




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 1       (1)   A hearing on a petition for a child who is in custody under Welfare and
 2             Institutions Code section 632 or 636 must be held within the statutory
 3             timeframes as modified by an order of the court authorized by Government
 4             Code section 68115. The court must determine if it is contrary to the welfare
 5             of the child to remain in the home, whether reasonable services to prevent
 6             removal occurred, and whether to place temporary placement with the
 7             probation agency if the court will be keeping the child detained and out of the
 8             home.
 9
10       (2)   If a child is detained in custody and an in-person appearance is not feasible
11             due to the state of emergency, courts must make reasonable efforts to hold
12             any statutorily required hearing for that case via remote appearance within
13             the required statutory time frame and as modified by an order of the court
14             authorized under Government Code section 68115 for that proceeding. If a
15             remote proceeding is not a feasible option for such a case during the state of
16             emergency, the court may continue the case as provided in (d) for the
17             minimum period of time necessary to hold the proceedings.
18
19       (3)   Without regard to the custodial status of the child, the following hearings
20             should be prioritized during the state of emergency related to the COVID-19
21             pandemic:
22
23             (A)   Psychotropic medication applications.
24
25             (B)   All emergency medical requests.
26
27             (C)   A petition for reentry of a nonminor dependent.
28
29             (D)   A hearing on any request for a warrant for a child.
30
31             (E)   A probable cause determination for a child who has been detained but
32                   has not had a detention hearing within the statutory time limits.
33
34       (4)   Notwithstanding any other law, and except as described in (5), during the
35             state of emergency related to the COVID-19 pandemic, the court may
36             continue for good cause any hearing for a child not detained in custody who
37             is subject to its juvenile delinquency jurisdiction until a date after the state of
38             emergency has been lifted considering the priority for continued hearings in
39             (d).
40
41       (5)   For children placed in foster care under probation supervision, a judicial
42             determination of reasonable efforts must be made within 12 months of the
43             date the child enters foster care to maintain a child’s federal title IV-E




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 1               availability. If a permanency hearing is continued beyond the 12-month date,
 2               the court must nevertheless hold a review to determine if the agency has
 3               made reasonable efforts to return the child home or place the child
 4               permanently. This finding can be made without prejudice and may be
 5               reconsidered at a full hearing.
 6
 7   (c)   Proceedings with remote appearances during the state of emergency.
 8
 9         (1)   A court may hold any proceeding under this rule via remote technology
10               consistent with rule 5.531 and emergency rule 3.
11
12         (2)   At the beginning of any hearing conducted with one or more participants
13               appearing remotely, the court must admonish all the participants that the
14               proceeding is confidential and of the possible sanctions for violating
15               confidentiality.
16
17         (3)   The court is responsible for giving notice of remote hearings, except for
18               notice to a victim, which is the responsibility of the prosecuting attorney or
19               the probation department. Notice is required for all parties and may include
20               notice by telephone or other electronic means. The notice must also include
21               instructions on how to participate in the hearing remotely.
22
23         (4)   During the state of emergency, the court has broad discretion to take evidence
24               in the manner most compatible with the remote hearing process, including
25               but not limited to taking testimony by written declaration. If counsel for a
26               child or the prosecuting attorney objects to the court’s evidentiary
27               procedures, that is a basis for issuing a continuance under (d).
28
29   (d)   Continuances of hearings during the state of emergency.
30
31         Notwithstanding any other law, the court may for good cause continue any hearing
32         other than a detention hearing for a child who is detained in custody. In making this
33         determination, the court must consider the custody status of the child, whether there
34         are evidentiary issues that are contested, and, if so, the ability for those issues to be
35         fairly contested via a remote proceeding.
36
37   (e)   Extension of time limits under Welfare and Institutions Code section 709
38
39         In any case in which a child has been found incompetent under Welfare and
40         Institutions Code section 709 and that child is eligible for remediation services or
41         has been found to require secure detention, any time limits imposed by section 709
42         for provision of services or for secure detention are tolled for the period of the state




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 1         of emergency if the court finds that remediation services could not be provided
 2         because of the state of emergency.
 3
 4   (f)   Sunset of rule
 5
 6         This rule will remain in effect until 90 days after the Governor declares that the
 7         state of emergency related to the COVID-19 pandemic is lifted, or until amended or
 8         repealed by the Judicial Council.
 9
10                               Advisory Committee Comment
11
12   This emergency rule is being adopted in part to ensure that detention hearings for
13   juveniles in delinquency court must be held in a timely manner to ensure that no child is
14   detained who does not need to be detained to protect the child or the community. The
15   statutory scheme for juveniles who come under the jurisdiction of the delinquency court
16   is focused on the rehabilitation of the child and thus makes detention of a child the
17   exceptional practice, rather than the rule. Juvenile courts are able to use their broad
18   discretion under current law to release detained juveniles to protect the health of those
19   juveniles and the health and safety of the others in detention during the current state of
20   emergency related to the COVID-19 pandemic.
21
22
23   Emergency rule 8. Emergency orders: temporary restraining or protective orders
24
25   (a)   Application
26
27         Notwithstanding any other law, this rule applies to any emergency protective order,
28         temporary restraining order, or criminal protective order that was requested, issued,
29         or set to expire during the state of emergency related to the COVID-19 pandemic.
30         This includes requests and orders issued under Family Code sections 6250 or 6300,
31         Code of Civil Procedure sections 527.6 , 527.8, or 527.85, Penal Code sections
32         136.2, 18125 or 18150, or Welfare and Institutions Code sections 213.5, 304,
33         362.4, or 15657.03, and including any of the foregoing orders issued in connection
34         with an order for modification of a custody or visitation order issued pursuant to a
35         dissolution, legal separation, nullity, or parentage proceeding under Family Code
36         section 6221.
37
38   (b)   Duration of orders
39
40         (1)   Any emergency protective order made under Family Code section 6250 that
41               is issued or set to expire during the state of emergency, must remain in effect
42               for up to 30 days from the date of issuance.
43




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 1         (2)   Any temporary restraining order or gun violence emergency protective order,
 2               issued or set to expire during the state of emergency related to the COVID-19
 3               pandemic, must be continued for a period of time that the court determines is
 4               sufficient to allow for a hearing on the long-term order to occur, for up to 90
 5               days.
 6
 7         (3)   Any criminal protective order, subject to this rule, set to expire during the
 8               state of emergency, must be automatically extended for a period of 90 days,
 9               or until the matter can be heard, whichever occurs first.
10
11         (4)   Any restraining order or protective order after hearing that is set to expire
12               during the state of emergency related to the COVID-19 pandemic must be
13               automatically extended for up to 90 days from the date of expiration to enable
14               a protected party to seek a renewal of the restraining order.
15
16   (c)   Ex parte requests
17
18         (1)   Courts must provide a means for the filing of ex parte requests for temporary
19               restraining orders. Courts may do so by providing a physical location, drop
20               box, or, if feasible, through electronic means.
21
22         (2)   Any ex parte request may be filed using an electronic signature by a party or
23               a party’s attorney.
24
25   (d)   Service of Orders
26
27         If a respondent appears at a hearing by video, audio, or telephonically, and the
28         court grants an order, in whole or in part, no further service is required upon the
29         respondent for enforcement of the order, provided that the court follows the
30         requirements of Family Code section 6384.
31
32   (e)   Entry of orders into California Law Enforcement Telecommunications System
33
34         Any orders issued by a court modifying the duration or expiration date of orders
35         subject to this rule, must be transmitted to the Department of Justice through the
36         California Law Enforcement Telecommunications System (CLETS), as provided in
37         Family Code section 6380, without regard to whether they are issued on Judicial
38         Council forms, or in another format during the state of emergency.
39
40
41   Emergency rule 9. Toll the statutes of limitations for civil causes of action
42




                                                                    EXHIBIT 15, PAGE 202
Case 8:19-bk-12411-ES         Doc 120 Filed 04/16/20 Entered 04/16/20 18:17:59                   Desc
                              Main Document   Page 222 of 263
 1   Notwithstanding any other law, the statutes of limitation for civil causes of action are
 2   tolled from April 6, 2020, until 90 days after the Governor declares that the state of
 3   emergency related to the COVID-19 pandemic is lifted.
 4
 5
 6   Emergency rule 10. Extensions of time in which to bring a civil action to trial
 7
 8   (a)   Extension of five years in which to bring a civil action to trial
 9
10         Notwithstanding any other law, including Code of Civil Procedure section 583.310,
11         for all civil actions filed on or before April 6, 2020, the time in which to bring the
12         action to trial is extended by six months for a total time of five years and six
13         months.
14
15   (b)   Extension of three years in which to bring a new trial
16
17         Notwithstanding any other law, including Code of Civil Procedure section 583.320,
18         for all civil actions filed on or before April 6, 2020, if a new trial is granted in the
19         action, the three years provided in section 583.320 in which the action must again
20         be brought to trial is extended by six months for a total time of three years and six
21         months. Nothing in this subdivision requires that an action must again be brought
22         to trial before expiration of the time prescribed in (a).
23
24
25   Emergency rule 11. Depositions through remote electronic means
26
27   (a)   Deponents appearing remotely
28
29         Notwithstanding any other law, including Code of Civil Procedure section
30         2025.310(a) and (b), and rule 3.1010(c) and (d), a party or nonparty deponent, at
31         their election or the election of the deposing party, is not required to be present
32         with the deposition officer at the time of the deposition.
33
34   (b)   Sunset of rule
35
36         This rule will remain in effect until 90 days after the Governor declares that the
37         state of emergency related to the COVID-19 pandemic is lifted, or until amended or
38         repealed by the Judicial Council.
39
40   Appendix I adopted effective April 6, 2020.




                                                                     EXHIBIT 15, PAGE 203
Case 8:19-bk-12411-ES   Doc 120 Filed 04/16/20 Entered 04/16/20 18:17:59   Desc
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                                          EXHIBIT 16
             Case 8:19-bk-12411-ES                                 Doc 120 Filed 04/16/20 Entered 04/16/20 18:17:59                                                  Desc
                                                                   Main Document   Page 224 of 263
                      Case 8:19-bk-12411-ES                             Doc 93            Filed 02/14/20                 Entered 02/14/20 15:15:15                Desc
                                             UNITED STATESMain  DocumentOF JUSTICE
                                                            DEPARTMENT      Page 1 of 34
                                              OFFICE OF THE UNITED STATES TRUSTEE
                                                CENTRAL DISTRICT OF CALIFORNIA
In Re:                                                                                  CHAPTER           11   (BUSINESS)
   Orange County Bail Bonds, Inc.
                                                                                       Case Number:             19 -12411 -
                                                                                       Operating Report Number:                8
                                                                  Debtor(s).           For the Month Ending:              ES2020
                                                                                                                January 31,

                                               I.   CASH RECEIPTS AND DISBURSEMENTS
                                                        A. (GENERAL ACCOUNT *)

1      TOTAL RECEIPTS PER ALL PRIOR GENERAL ACCOUNT REPORTS                                                                                         263,709.45

2.    LESS: TOTAL DISBURSEMENTS PER ALL PRIOR GENERAL                                                                                               235,925.37
      ACCOUNT REPORTS

3.     BEGINNING BALANCE:

4.    RECEIPTS DURING CURRENT PERIOD:
      Accounts Receivable - Post-filing
      Accounts Receivable - Pre -filing
      General Sales                                                                                              39,881.59
      Other (Specify)
      * *Other (Specify)


      TOTAL RECEIPTS THIS PERIOD:                                                                                                                     39,881.59


5. BALANCE:                                                                                                                                           67,665.67


6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
      Transfers to Other DIP Accounts (from page 2)                                                               9,651.50
      Disbursements (from page 2)                                                                                16,316.34

      TOTAL DISBURSEMENTS THIS PERIOD: * **                                                                                                           25,967.84

7. ENDING BALANCE:                                                                                                                                    41,697.83

8. General Account Number(s):


      Depository Name & Location:                                                       Wells Fargo Bank



*    All receipts must be deposited into the general account.
** Include receipts from the sale   of any real or personal property out of the ordinary course of business; attach an exhibit specifying what was sold,
     to whom, terms, and date of Court Order or Report of Sale.
** *This amount should be the same as the total from page 2.




                                                                                                                                        EXHIBIT 16, PAGE 204
                                                                                                            TOTAL DISBURSEMENTS FROM GENERAL ACCOUNT FOR CURRENT PERIOD


                                                                    Check                                                                         *Amount * *Amount
                                  Date mm/dd/                      Number        Payee or     ' account                   Pu   ose               Transfered Disbursed
                                                                                                                                                                                          O



                                                       01/02/20        20931   Civic Center Law Buildin9_ Rent                                              5 000.00
                                                                                                                                                                                 C() CO



                                                       01/02/20                Blue Shield                    Em P to Yee Health Insurance                     556.21
                                                       01/02/20                Premium Checkin4               Client Court   Fees                  1 000.00
                                                                                                                                                                                          O LO O O
                                                                                                                                                                                 CO




                                                       02/02/20                Pa YI.oll Account              Pa Y roll                           3,000.00
                                                                                                                                                                                          O N O O V




                                                       01/02/20          EFT   Global Pa.J                    Credit Card Processin g Fees                      85.40
                                                                                                                                                                                                    r



                                                       01/02/20          EFT   Global PaY ,                   Credit Card Processin9 Fees                      633.72
                                                                                                                                                                                 s-




                                                       01/07/20        20933   Chase Card                     Office Ex P enses                              1,385.83
                                                       01/07/20        20934   Blue Shield                    Em P to Y ee Health Insurance                    288.90
                                                       01/07/20        20935   AT &T Internet                 Internet Ex p enses                              636.18
                                                       01/07/20        20938   FedEx                          Delive ry Charg es                               128.43
                                                       01/07/20        20937   AT &T                          Tele hone Char es                                430.33
                                                                                                                                                                                          O LO 0 0 CO CO CO CO CO N CO 0




                                                       01/07/20        20938   ACS Group                      Advertisin9                                      600.00
                                                       01/07/20        20939   Wireless AT &T                 Office Cell Phone                                411.40
                                                                                                                                                                                               O O O N M O 0 O f+) M O O O




                                                       01/07/20        20940   State Fund                     Workers' Corn p ensation Insurance               513.50
                                                                                                                                                                                                                              CO




                                                       01/07/20        20941   Bank of America                Office Ex p enses                                269.06
                                                                                                                                                                                                                                                                                                                        Case 8:19-bk-12411-ES


                                                                                                                                                                                          Q COOO CC) C) Ó cD COGOÓÓ - C) CA -
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                                                       01/07/20        20942                     ice          Insurance                                        411.44
                                                                                                                                                                                                                CA
                                                                                                                                                                                                                                               )




                                                       01/07/20        20943   Read, Fresh                    Office Water                                      28.13
                                                                                                                                                                                                Case 8:19-bk-12411-ES




                                                       01/07/20        20944   Trans Union                    Data Processin9                                  130.00
                                                                                                                                                                                                                 LL')

                                                                                                                                                                                            CO




                                                       01/16/20        20945   United States Trustee          Bankru P tcY Fees                                325.00
                                                                                                                                                                                                                                               )  1

                                                                                                                                                                                                                                   CO




                                                       01/16/20                Leash Salazar                  Office Su PP lies                                 53.65
                                                                                                                                                                                                                    - 0O 0 C)O)




                                                       01/16/20        20947   Assured Lender Services        Client Cost - Forfeiture                          79.00
                                                                                                                                                                                                                    R O O Doc


                                                                                                                                                                                            CO
                                                                                                                                                                                 C)




                                                                                      l
                                                                                    7CI Account                Pa Yroll                            3,800.00
                                                       01/16/20                Pa,f4.
                                                                                                                                                                                                                           Main




                                                       01/18/20        20948                                   Data Processing                                 150.00
                                                                                                                                                                                                                           f O O93




                                                                               CuP6Ithic Selllliions
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                                                       01/18/20        20949   Thompson
                                                                                      IP    West               Dues and Subscri p tions                        124.55
                                                       01/18/20        20950   Le--ac,Y Billin,g Services     Tele P hone Cha rg es                              2.10
                                                                                                                                                                                                                                                O



                                                                                                                                                                                           V




                                                       01/18/20        20951   AT &T                          Tele P hone Cha r9 es                            453.59
                                                                                                                                                                                                                             O O O In - 0 O




                                                       01/25/20        20952                  IIJ h            Client Cost - Forfeiture                         60.00
                                                                                                                                                                                                                                    CA
                                                                                                                                                                                                                                   V NC)0(O
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                                                       01/25/20        20953   Blue Shield                     Em P to ee Health Insurance                     288.90
                                                                                                                                                                                                                                        CDCOCOIs-
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                                                       01/25/20        20954   Directv                         Internet Ex P enses                             271.02
                                                                                                                                                                                                      CC)
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                                                                                                                                                                                 T-
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                                                       01/27/20                Premium Checocin g              Client Court Fees                   1 851.50
                                                                                                                                                                                                                                               02/14/20
                                                                                                                                                                                                                                                    000000
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                                                                                                                                                                                                                                                                     0 0 002/14/20




                                                                                                       TOTAL DISBURSEMENTS THIS PERIOD:          9 651.50
                       " Fill in amounts in this column if they are TRANSFERS to another DIP account (e.g. Payroll or Tax); the "amount" column will
                       be filled in for you.
                       ** Fill in amounts in this column if they are DISBURSEMENTS to outside payees; the "amount" column will be filled in for you.
                                                                                                                                                                                                                                                                           0 0 0 0 R 15:15:15
                                                                                                                                                                                                                                                                                                Doc 120 Filed 04/16/20 Entered 04/16/20 18:17:59

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                                                                   Main Document    Page 3 of 34




                                                                             ep                     p




TOTAL DEPOSITS IN TRANSIT
Less Outstanding Checks (a):
                     Check Number                                            Check Date            Check Amount
                              20837                                               8/27/2019                 1 19.10

                              20880                                              10/24/2019                   17.00
                              20945                                               1/16/2020                325.00
                              20953                                               1/25/2020                288.90
                              20954                                               1/25/2020                271.02
                              20952                                               1/25/2020                   60.00




TOTAL OUTSTANDING CHECKS:                                                                                                       1




Bank statement Adjustments:
Explanation of Adjustments-



ADJUSTED BANK BALANCE:
                                                                                  Page 3   of 16
*   It is acceptable to replace this form with a similar form
**   Please attach a detailed explanation of any bank statement adjustment




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                           I. CASH RECEIPTS AND DISBURSEMENTS
                                                                                       Desc
                                       Main Document   Page 4 of 34
                                   B. (PAYROLL ACCOUNT)

1.   TOTAL RECEIPTS PER ALL PRIOR PAYROLL ACCOUNT REPORTS                        81,960.30

2.LESS: TOTAL DISBURSEMENTS PER ALL PRIOR PAYROLL                                81,893.06
ACCOUNT REPORTS




5.   BALANCE:

6.   LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
     TOTAL DISBURSEMENTS THIS PERIOD: * **                                        6,668.02

7.   ENDING BALANCE:

8.   PAYROLL Account Number(s):                              6335178551

     Depository Name & Location:                Wells Fargo Bank




                                                                    EXHIBIT 16, PAGE 207
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          TOTAL DISBURSEMENTS FROM PAYROLL ACCOUNT FOR CURRENT PERIOD
                                                                                           Desc
                                           Main Document     Page 5 of 34


    Date      Check
rnm /dd/yyyy Number             Payee                        Purpose                Amount
   01/06/20    DD     Scott Miner              Payroll                                  350.00
   01/06/20    DD     Ray Reyes                Payroll                                  800.00
   01/06/20    DD     Leah Salazar             Payroll                                1,365.00
   01/06/20    DD     Payroll Taxes            Payroll                                  250.25
   01/06/20    DD     Payroll Processing Fee   Payroll                                  202.63
   01/21/20    DD     Ray Reyes                Payroll                                  650.00
   01/21/20    DD     Leah Salazar             Payroll                                  800.00
   01/21/20    DD     Michael Yoakum           Payroll                                1,850.00
   01/21/20    DD     Payroll Taxes            Payroll                                  328.36
   01 /21/20   DD     Payroll Processing Fee   Payroll                                   71.78




                                                         Q




                                                                            EXHIBIT 16, PAGE 208
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TOTAL DEPOSITS IN TRANSIT

Less Outstanding Checks (a):
                    Check Number                                           Check Date           Check Amount
                                                       99                        9/5/2019               259.88
                                                      100                       11 /5/2019              300.55




TOTAL OUTSTANDING CHECKS:

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:
                                                                                 Page 6 of 16
      acceptable to replace this form with a similar form
* It is
** Please attach a detailed explanation of any bank statement adjustment




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                             CASH RECEIPTS AND DISBURSEMENTS
                             I.
                                    Main Document    Page 7 of 34
                                    C. (TAX ACCOUNT)


1.   TOTAL RECEIPTS PER ALL PRIOR TAX ACCOUNT REPORTS                            500.00


2.LESS: TOTAL DISBURSEMENTS PER ALL PRIOR TAX
ACCOUNT REPORTS




5.   BALANCE:

6.   LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
     TOTAL DISBURSEMENTS THIS PERIOD: * **                                           0.00

7.   ENDING BALANCE:

8. TAX Account Number(s):


     Depository Name & Location:               Wells Fargo Bank




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TOTAL DEPOSITS IN TRANSIT

Less Outstanding Checks (a):
                    Check Number                                           Check Date           Check Amount




TOTAL OUTSTANDING CHECKS:                                                                                               0.00

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                                               $500.00
                                                                                 Page 9 of 16
* It is acceptable to replace this form with a similar form
** Please attach a detailed explanation of any bank statement adjustment




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1.   TOTAL RECEIPTS PER ALL PRIOR PREMINUM ACCOUNT REPORTS                           32,325.00

2.   LESS: TOTAL DISBURSEMENTS PER ALL PRIOR PREMIUM                                 32,261.09
     ACCOUNT REPORTS

3. BEGINNING BALANCE:




5. BALANCE:

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   TOTAL DISBURSEMENTS THIS PERIOD: * **                                               943.00

7. ENDING BALANCE:


8. PREMIUM Account Number(s):                                  6335214208

     Depository Name & Location:                  Wells Fargo Bank




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         TOTAL DISBURSEMENTS FROM PREMIUM ACCOUNT FOR CURRENT PERIOD


  Date      Check
mm/dd/yyyy Number        Payee                   Purpose               Amount
   01/03/20    14 ACIC                                                    943.00




                                                           EXHIBIT 16, PAGE 214
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                                                            Main Document    Page 12 of 34




TOTAL DEPOSITS IN TRANSIT

Less Outstanding Checks (a):
                    Check Number                                           Check Date   Check Amount




TOTAL OUTSTANDING CHECKS:                                                                                       0.00

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                                     $1,972.41

*It is acceptable to replace this form with a similar form
** Please attach a detailed explanation of any bank statement adjustment




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Case 8:19-bk-12411-ES              Doc 120 Filed 04/16/20 Entered 04/16/20 18:17:59          Desc
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                              I. CASH RECEIPTS AND  DISBURSEMENTS
                                     E. (COLLATERAL ACCOUNT)

1.   TOTAL RECEIPTS PER ALL PRIOR COLLATERAL ACCOUNT REPORTS                           27,581.50

2.   LESS: TOTAL DISBURSEMENTS PER ALL PRIOR COLLATERAL                                 2,000.00
     ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                  25,581.50


4. RECEIPTS DURING CURRENT PERIOD:                                                      5,000.00
     (Transferred from General Account)

5.   BALANCE:

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   TOTAL DISBURSEMENTS THIS PERIOD: * **                                                    0.00

7.   ENDING BALANCE:

8. COLLATERAL Account Number(s):                                 6335178486

     Depository Name & Location:                    Wells Fargo Bank




                                                                       EXHIBIT 16, PAGE 216
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                                                                            P            P




TOTAL DEPOSITS IN TRANSIT

Less Outstanding Checks (a):
                    Check Number                                           Check Date   Check Amount




TOTAL OUTSTANDING CHECKS:                                                                                         0.00

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                                     $30,581.50

* It is   acceptable to replace this form with a similar form
** Please attach a detailed explanation of any bank statement adjustment




                                                                                                  EXHIBIT 16, PAGE 218
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                                    General Account:     41,697.83
                                     Payroll Account:       199.22
                                         Tax Account:       500.00
                                   Collateral Account:   30,581.50
                                       Premium Tust:      1,972.41



                        * *Petty   Cash (from below):         0.00




                                                          EXHIBIT 16, PAGE 219
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                                                        Entered 02/14/20
                                                                  LESSORS15:15:15                     Desc
                  II. STATUS OF PAYMENTS TO SECURED
                                  Main Document   Page 17 of 34
                        AND OTHER PARTIES TO EXECUTORY CONTRACTS

                                                                            P ost- Petition
                          Frequency of Payments                   payments not made
Creditor, Lessor, Etc.          (Mo /Qtr)       Amount of Payment     (Number)                    Total Due




                                                            Gross Sales Subject to Sales Tax:
                                                                          Total Wages Paid:             6,705.00

                                                   Total Post -Petition                         Date Delinquent
                                                    Amounts Owing Amount Delinquent              Amount Due
                          Federal Withholding
                          State Withholding
                          FICA- Employer's Share
                          FICA- Employee's Share
                          Federal Unemployment
                          Sales and Use
                          Real Property
                 Other:                            Page   11 of 16
                                        TOTAL:


                                                                               EXHIBIT 16, PAGE 220
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                                                          *Accounts Payable           Accounts Receivable
                                                            Post-Petition       Pre -Petition     Post -Petition
                                        30 days or less                                                 11,000.00
                                          31 - 60 days                                                   2,200.00
                                          61 - 90 days                                                   7,400.00
                                         91 - 120 days                                                     400.00
                                        Over 120 days                                                    3,090.00
                                              TOTAL:                  0.00          159,000.00         24,090.00

                                        V. INSURANCE COVERAGE

                                                             Amount of        Policy Expiration   Premium Paid
                                      Name of Carrier        Coverage               Date          Through (Date)
                 General Liabili ty
           Worker's Compensation
                         Casual tv
                          Vehicle
         Others:



                           VI. UNITED STATES TRUSTEE QUARTERLY FEES
                                            (TOTAL PAYMENTS)

Quarterly Period       Total                                                                      Quarterly Fees
 Ending (Date)     Disbursements      Quarterly Fees          Date Paid         Amount Paid        Still Owing
        06/30/19           325.00              325.00              07/16/19             325.00
        07/31/19           650.00              650.00              08/27/19             650.00
        09/30/19           325.00              325.00              10/02/19             325.00
        10/31/19           325.00              325.00              11/25/19             325.00
        12/31/20           325.00              325.00              01/16/20             325.00




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                        VII SCHEDULE OF COMPENSATION PAID TO INSIDERS
                                                                                          Desc
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                                  Date of Order                                           Gross
                                   Authorizing                                       Compensation Paid
        Name of Insider           Compensation        *Authorized Gross Compensation During the Month
 obert L. Miller                          7/17/2019                        5,000.00
-eslie Ann Miller                         7/17/2019                          805.67
James William Miller                      8/17/2019                          500.00
Robert L. Miller                         10/18/2019                        5,000.00
James William Miller                     11/20/2019                          350.00
Robert L. Miller                         11/20/2019                        7,500.00
Robert L. Miller                         12/18/2019                        5,000.00




                                  Date of Order
                                   Authorizing
                                  Compensation




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                             IX. PROFIT ANDDoc
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                                                               Current Month     Cumulative Post- Petition
Sales/Revenue:
   Gross Sales/Revenue                                               39,881.59                298,591.04
   Less: Returns/Discounts                                                0.00                  3,500.00

                                                          L          39,881.59                295,091.04

Cost of Goods Sold:
   Beginning Inventory at cost
   Purchases
   Less: Ending Inventory at cost
                             Cost of Goods Sold (COGS)     1
                                                                          0.00

Gross Profit                                               I
                                                                     39,881.59                295,091.04

   Other Operating Income (Itemize)

Operating Expenses:
  Payroll - Insiders                                                                           27,500.00
  Payroll - Other Employees                                           5,815.00                 52,607.02
  Payroll Taxes                                                         578.61                  6,962.01
  Other Taxes (Itemize)
  Depreciation and Amortization
  Rent Expense - Real Property                                        5,000.00                 50,000.00
  Lease Expense - Personal Property
  Insurance                                                           5,058.95                 29,746.64
  Real Property Taxes
  Telephone and Utilities                                             2,593.05                 15,754.38
  Repairs and Maintenance
  Travel and Entertainment (Itemize)
      Fuel                                                              163.23                    399.27
  Miscellaneous Operating Expenses (Itemize)
      Advertising                                                     1,352.16                 11,111.13
      Charitable Contributions                                                                    500.00
      Continuing Education                                                                      2,911.43
      Court Costs                                                     1,082.00                 40,411.92
      Bank Charges                                                                                 13.80
      Credit Card Processing Fees                                       719.12                  6,683.52
      Data Processing Fees                                              507.40                  4,762.05
      License & Permits                                                                           381.00
      Office Supplies                                                   251.33                  3,410.04
      Payroll Processing Fees                                           274.41                  1,492.05
      Postage & Delivery                                                128.43                    630.20




                               Total Operating Expenses              23,523.69                255,276.46

                        Net Gain/(Loss) from Operations              16,357.90                 39,814.58

Non -Operating Income:
   Interest Income
  Net Gain on Sale of Assets (Itemize)
   Other (Itemize)
                            Total Non -Operating income                   0.00                       0.00    I




Non -Operating Expenses:
   Interest Expense                                                                                771.59
  Penalties                                                                                         12.43
   Legal and Professional (Itemize)
   Other (Itemize)
      Trustee Fees                                                      325.00                   1,950.00
                           Total Non -Operating Expenses                403.67                   2,734.02


NET INCOME/(LOSS)                                                    15,954.23                  37,080.56    I




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ASSETS                                                           Current   Month End
  Current Assets:                                                           45,793.72
  Unrestricted Cash
  Restricted Cash                                                           30,826.79
  Accounts Receivable
  Inventory
  Notes Receivable
  Prepaid Expenses
  Other (Itemize)
                                        Total Current Assets

Property, Plant, and Equipment
Accumulated Depreciation/Depletion
                        Net Property, Plant, and Equipment                                              0.00

Other Assets (Net of Amortization):
   Due from Insiders
   Other (Itemize)
      Deposits
                                          Total Other Assets                                        2,250.00

TOTAL ASSETS                                                                                       78,870.51


LIABILITIES
Post-petition Liabilities:
   Accounts Payable
   Taxes Payable
   Notes Payable
   Professional fees
   Secured Debt
   Other (Itemize) Collateral Payable                                       30,245.29
                               Total Post-petition Liabilities                            I
                                                                                                   37,826.79

Pre -petition Liabilities:
    Secured Liabilities
   Priority Liabilities
   Unsecured Liabilities
    Other (Itemize)
                                                                                                  395,569.90

TOTAL LIABILITIES                                                                                 433,396.69


EQUITY:
  Pre-petition Owners' Equity
  Post-petition Profit/(Loss)
  Direct Charges to Equity
TOTAL EQUITY                                                                                     (354,526.18)

TOTAL LIABILITIES & EQUITY                                                                         78,870.51



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                                                       XI. QUESTIONNAIRE


                                                                                                                           No    Yes
     1.    Has the debtor-in-possession made any payments on its pre-petition unsecured
                                                                                        debt, toccept as have
           been authorized by the court? If "Yes", explain below:
                                                                                                                           X
                                                                                                     f




                                                                                                                          No     Yes
 2.        Has the debtor-in-possession during this reporting period provided comp assn ation
                                                                                                 or can oration
           to any officers, directors, principals, or other insiders without appropriate authorizati
                                                                                                     n? I e "Yes ",
           explain below:                                                                                                  X


 3.        State what progress was made during the reporting period toward filing a plan of
                                                                                            reo                '   tion
           A hearing on Debtor's Disclosure Statement is current'Y set for 02-20-2020

4.        Describe potential future developments which may have a significant impact on the               e:
          Foreclosure of the Saddozai residence.
5.        Attach copies of all Orders granting relief from the automatic stay that were entered                    the
          reporting period.

                                                                                                                          No     Yes
6.        Did you receive any exempt income this month, which is not set forth in the opera              rep oit? If
          "Yes ", please set forth the amounts and sources of the income below.




I,        Robert Miller President,
          declare under penalty ofperjury that I have fully read and understood the foregoing    tor- -
          possession operating report and that the information contained herein is true and com lete t the
          best of my knowledge.




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                                                                                                     I




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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: March 05, 2020.

                                                     __________________________________
                                                            H. CHRISTOPHER MOTT
                                                     UNITED STATES BANKRUPTCY JUDGE
  ________________________________________________________________
                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

   IN RE:                                      §
   DOUBLE H TRANSPORTATION LLC                 §   CASE NO. 19-31830-hcm
             Debtor.                           §   (Chapter 11)

                           ORDER STRIKING AMENDED PETITION
                         AND ELECTION OF SUBCHAPTER V STATUS

         On February 28, 2020, Double H Transportation LLC (“Debtor”) filed an Amended

   Petition (“Amended Petition”) (dkt# 56) in this case. Through the Amended Petition, the

   Debtor states that it is a “small business debtor” and elects to proceed under “Subchapter

   V” of Chapter 11. For the reasons stated herein, the Court finds that the Amended Petition

   should be stricken.

         On November 4, 2019, the Debtor filed a voluntary petition under Chapter 11

   (“Original Petition”) (dkt# 1) in this case and an order for relief was entered. The Debtor

   did not designate itself as a “small business debtor” in its Original Petition. Some 116

   days after the Debtor filed its Original Petition, the Debtor filed its Amended Petition

   electing Subchapter V treatment as a small business debtor.




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          Subchapter V was added to the Bankruptcy Code by the Small Business

   Reorganization Act of 2019 (“SBRA”). Pub. L. No. 116-54, 133 Stat. 1079 (2019). In

   general, the SBRA added a new “Subchapter V” to Chapter 11 of the Bankruptcy Code,

   codified in 11 U.S.C. §§ 1181-1195.

          The SBRA became effective on February 19, 2020, 107 days after the Debtor filed

   this bankruptcy case. Nothing in the SBRA enabling statute indicates that the SBRA was

   intended to have retroactive effect—i.e., that the SBRA should apply to pending

   bankruptcy cases. See Pub. L. No. 116-54, § 5, 133 Stat. 1079 (2019).

          More importantly, to permit the Debtor to now elect “Subchapter V” status at this

   stage of the bankruptcy case would create a procedural quagmire and likely create

   “cause” to dismiss or convert the Debtor’s case. For example, the debtor in a Subchapter

   V case must file a plan of reorganization within 90 days after the order for relief. 11 U.S.C.

   § 1189(b). Here, an order for relief under Chapter 11 was entered in the Debtor’s case

   on November 4, 2019, when the Debtor filed its Original Petition. 11 U.S.C. § 301(b). The

   90-day period for the Debtor to file a plan (if the Debtor’s case were permitted to proceed

   under Subchapter V) expired on February 3, 2020. The Debtor did not file a plan by

   February 3, 2020. As a result, the Debtor’s bankruptcy case would be subject to dismissal

   or conversion to Chapter 7 for “cause” if the Debtor were now permitted to proceed as a

   Subchapter V case. See 11 U.S.C. § 1112(b)(4)(J) (defining “cause” as including failure

   to file a plan within the time fixed by the Bankruptcy Code).

          As another example, the Court must hold a mandatory status conference in a

   Subchapter V case within 60 days after an order for relief, and a debtor must file a status

   report no later than 14 days prior to the status conference. 11 U.S.C. § 1188(a), (c). The




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   60-day period for holding a mandatory status conference (if the Debtor’s case were

   permitted to proceed under Subchapter V) expired on January 3, 2020. The Court did not

   hold a status conference by January 3, 2020, and the Debtor (understandably) did not file

   a status report within 14 days before January 3, 2020. It is too late now to hold the

   mandatory status conference if the Debtor’s case proceeds under Subchapter V.

         Finally, a debtor is required to file the documents required by section 1116(1) (most

   recent balance sheet and other financial information) when electing Subchapter V

   treatment as a small business debtor. 11 U.S.C. § 1187(a). Here, the Amended Petition

   filed by the Debtor electing Subchapter V treatment does not include the required financial

   information.

         For these reasons, the Court finds that the Amended Petition should be stricken

   and the following Order should be entered.

         IT IS THEREFORE ORDERED ADJUDGED AND DECREED AS FOLLOWS:

         1.       The Amended Petition (dkt# 56) filed by the Debtor on February 28, 2020,

   is hereby STRICKEN.

         2.       The Subchapter V trustee appointed in this case (Brad W. Odell) is

   discharged from any duties and responsibilities in this case.




                                              ###




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620

A true and correct copy of the foregoing document entitled: MOTION TO (1) DISMISS DEBTOR’S CHAPTER 11
BANKRUPTCY OR, IN THE ALTERNATIVE, TO CONVERT CASE TO CHAPTER 7; AND (2) OBJECTION TO
AMENDED PETITION ELECTING SUBCHAPTER FIVE; MEMORANDUM OF POINTS AND AUTHORITIES;
DECLARATIONS OF DAN ESCAMILLA AND D. EDWARD HAYS IN SUPPORT will be served or was served (a) on the
judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On April 16,
2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On April 16, 2020, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

DEBTOR                                                 PRESIDING JUDGE’S COPY                           U.S. TRUSTEE
ORANGE COUNTY BAIL BONDS, INC.                         [Courtesy Copy via Mail per General              UNITED STATES TRUSTEE (SA)
ATTENTION ROBERT MILLER                                Order 20-02]                                     411 W FOURTH ST., SUITE 7160
P.O. BOX 4423                                          BANKRUPTCY JUDGE                                 SANTA ANA, CA 92701-4500
SANTA ANA, CA 92702-4423                               HONORABLE ERITHE A. SMITH.
                                                       U. S. BANKRUPTCY COURT –
                                                       CENTRAL DISTRICT
                                                       411 W. FOURTH STREET, SUITE
                                                       5040 / COURTROOM 5A
                                                       SANTA ANA, CA 92701


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on April 16, 2020, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 April 16, 2020                           Layla Buchanan                                        /s/ Layla Buchanan
 Date                                     Printed Name                                          Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
4841-4571-5386, v. 1
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF) (continued):
     ATTORNEY FOR CREDITOR LEGAL SERVICE BUREAU INC. DBA GLOBAL FUGITIVE RECOVERY: Timothy
        C Aires tca@arlawyers.com, gperez@arlawyers.com
     ATTORNEY FOR CREDITOR AMERICAN EXPRESS NATIONAL BANK: Larry Butler notices@becket-lee.com
     ATTORNEY FOR UNITED STATES TRUSTEE (SA): Frank Cadigan frank.cadigan@usdoj.gov
     ATTORNEY FOR DEBTOR ORANGE COUNTY BAIL BONDS, INC.: Marc C Forsythe kmurphy@goeforlaw.com,
        mforsythe@goeforlaw.com; goeforecf@gmail.com
     ATTORNEY FOR CREDITOR LEGAL SERVICE BUREAU INC. DBA GLOBAL FUGITIVE RECOVERY: D Edward
        Hays ehays@marshackhays.com, 8649808420@filings.docketbird.com
     INTERESTED PARTY COURTESY NEF: Laila Masud lmasud@marshackhays.com,
        8649808420@filings.docketbird.com
     ATTORNEY FOR UNITED STATES TRUSTEE (SA): Queenie K Ng queenie.k.ng@usdoj.gov
     DEBTOR ORANGE COUNTY BAIL BONDS, INC.: Ryan S Riddles rriddles@goeforlaw.com,
        kmurphy@goeforlaw.com
     TRUSTEE MARK M SHARF (TR): Mark M Sharf (TR) mark@sharflaw.com, C188@ecfcbis.com;
        sharf1000@gmail.com
     UNITED STATES TRUSTEE (SA): United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
4841-4571-5386, v. 1
